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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF CONNECTICUT

 WELLS FARGO BANK, N.A. as Trustee for
 the registered holders of Morgan Stanley
 Capital I Inc., Commercial Mortgage Pass-
 Through Certificates, Series 2012-C4,
                                                          Civil Action No. 3-21-cv-00864-JAM
                   Plaintiff,

 vs.

 SHOPPES AT BUCKLAND HILLS, LLC

                   Defendant.
                     THIRTY SEVENTH STATUS REPORT OF RECEIVER

          Carmen Spinoso of Spinoso Real Estate Group, DLS, LLC and Spinoso Management

Group, LLC the court-appointed Receiver in this case, by and through counsel, submits this

Report.

          The Court’s Order Granting Motion to Appoint Receiver and Adopting the proposed Order

set forth the duties and obligations of the Receiver. The Receiver has inspected, inventoried and

taken control of all real and personal Property constituting the receivership estate. An inventory

of the Property was properly and timely filed.

          Attached hereto as are the financial statements that have been provided to the parties setting

forth the operational and financial performance of the Property since the Receiver’s appointment

on June 25, 2021.

Dated: New York, New York
       December 17, 2024

                                                        /s/ Roy W. Breitenbach
                                                        Roy W. Breitenbach (CT28949)
                                                        HARRIS BEACH PLLC
                                                        333 Earle Ovington Blvd., Suite 901
                                                        Uniondale, New York 11553
                                                        Telephone: (516) 880-8484
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                                                        rbreitenbach@harrisbeach.com
                                                        Attorneys for Receiver
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                 THE SHOPPES AT BUCKLAND HILLS November 30 , 2024
                               MANCHESTER, CT
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                                 The Shoppes At Buckland Hills
                               Monthly Court Financial Reporting Package
                                           November 30, 2024


       Contents:

III.    Financial Statements
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                                                                                                    The Shoppes at Buckland Hills (BUC)
                                                                                                    Shoppes at Buckland Hills, LLC * Manchester, CT 06042


                                                                                                                  Budget Comparison
                                                                                                                             11/2024

Account   Description                          MTD Actual      MTD Budget      Variance           %        Comment                                         YTD Actual      YTD Budget       Variance          %        Comment                                          Annual Budget


          REVENUES
           Rental Revenue
            Base Minimum Rent
410-200      Base/Minimum Rent                      632,445         689,043        (56,598)        -8.2%                                                      7,111,182        7,480,409       (369,226)       -4.9%                                                            8,178,029
410-400      Base Rent - Prior Year                     -               -              -            0.0%                                                       (334,683)             -         (334,683)     -100.0%                                                                  -
             Total Base Minimum Rent                632,445         689,043        (56,598)        -8.2%                                                      6,776,500        7,480,409       (703,909)       -9.4%                                                            8,178,029

           Percentage Rent
411-100     Pct in Lieu of Base                      47,751          37,057         10,694         28.9%                                                        439,572         381,252          58,320       15.3%                                                               439,351
411-200     Prior Yr Percent in Lieu                    -               -              -            0.0%                                                        168,947             -           168,947      100.0%                                                                   -
411-300     Prcntge Rent-On Account                 (40,450)         83,143       (123,593)      -148.7% Adjustments made in prior period as a result of        190,199         226,095         (35,897)     -15.9%                                                               454,040
                                                                                                         actuals being billed.
411-600     Percentage Rent-Prior Y                     -               -              -            0.0%                                                         (6,152)            -            (6,152)     -100.0%                                                                  -
            Total Percentage Rent                     7,301         120,200       (112,898)       -93.9%                                                        792,566         607,347         185,219        30.5%                                                              893,391

           Spec Lease Income
412-050     Spec Lease Income-RMU                     9,167          16,240         (7,073)       -43.6%                                                         73,716           81,277         (7,561)       -9.3%                                                               95,807
412-075     Spec Lease Income-TILS                   68,850          75,167         (6,317)        -8.4%                                                        676,882          748,310        (71,428)       -9.5%                                                              839,897
412-100     Temp Tenant Contracted services             -             6,037         (6,037)      -100.0%                                                             45           66,407        (66,362)      -99.9%                                                               72,444
412-125     Spec Lease Income-Kiosk                   7,400          14,932         (7,532)       -50.4%                                                        102,184          164,909        (62,725)      -38.0%                                                              181,091
412-175     Spec Lease Income-Pct R                   1,442             -            1,442        100.0%                                                         29,496              -           29,496       100.0%                                                                  -
412-250     Spec Lease-CAM Reimb                        416             -              416        100.0%                                                          4,576              -            4,576       100.0%                                                                  -
412-425     Spec Lease-Other Reimb                    5,994             -            5,994        100.0%                                                         68,370              -           68,370       100.0%                                                                  -
412-450     Spec Lease-Vending Inco                   8,383           6,107          2,276         37.3%                                                        114,178           67,993         46,185        67.9%                                                               75,077
412-475     Spec Leas Inc-Prior Yea                     -               -              -            0.0%                                                          6,813              -            6,813       100.0%                                                                  -
412-550     Spec Lease-Storage Inco                   9,281           6,164          3,117         50.6%                                                         69,869           90,217        (20,349)      -22.6%                                                               95,986
412-600     Spec Lease Income-Misc                    4,622           4,530              92         2.0%                                                         72,485           49,867         22,618        45.4%                                                               54,397
412-610     Spec Lease Income-Unapplied                 250             -              250        100.0%                                                         (7,479)             -           (7,479)     -100.0%                                                                  -
412-625     Spec Leasing -Late Fee                      -               -              -            0.0%                                                             75              -               75       100.0%                                                                  -
412-700     Alt Rev - Adv/Sponsors                    1,125             525            600        114.3%                                                        148,825           34,276        114,549       334.2%                                                               34,801
412-800     Alt Rev - Promo Income                      -               -              -            0.0%                                                          7,800          150,500       (142,700)      -94.8%                                                              150,500
            Total Spec Lease Income                 116,931         129,702        (12,771)        -9.8%                                                      1,367,834        1,453,756        (85,922)       -5.9%                                                            1,600,000

          Total Rental Revenue                      756,677         938,945       (182,268)       -19.4% Variance due to lower than budget base rent          8,936,900        9,541,512       (604,612)       -6.3% Variance due to lower than budget base rent [-            10,671,420
                                                                                                         [-56K], percentage rent on account because                                                                  369K], Not budgeting Base rent for PY [-334K]
                                                                                                         adjustments were made in prior period as a                                                                  This partially offset by higher than budgeted PY
                                                                                                         result of actuals being billed [-123K].                                                                     Pct in lieu, pct in lien base and Alt rev Adv/
                                                                                                                                                                                                                     sponsors [+341K].

          Expense Reimbursement
           Real Estate Taxes Reimb
421-100     R/E Tax Income-On Accou                  47,618          46,789               830       1.8%                                                        562,734         514,675          48,059         9.3%                                                              550,407
421-500     R/E Tax Income-Prior Ye                     -               -                 -         0.0%                                                        (96,247)         40,268        (136,516)     -339.0%                                                               40,268
            Total Real Estate Taxes Reimb            47,618          46,789               830       1.8%                                                        466,487         554,943         (88,456)      -15.9%                                                              590,675

           Electric Income Reimb
423-700     Utility Consolidated                       382          (33,045)        33,427       -101.2%                                                        (43,878)         (29,293)       (14,585)      49.8%                                                               (28,918)
            Total Electric Income Reimb                382          (33,045)        33,427       -101.2%                                                        (43,878)         (29,293)       (14,585)      49.8%                                                               (28,918)

           Water/Sewer Inc Reimb
424-100    Water/Sewer Inc                            4,697           4,790               (93)     -1.9%                                                         54,566          52,690           1,876        3.6%                                                                57,480
424-300    Prior Yr Water Inc                           -               -                 -         0.0%                                                            296             -               296      100.0%                                                                   -
           Total Water/Sewer Inc Reimb                4,697           4,790               (93)     -1.9%                                                         54,862          52,690           2,172        4.1%                                                                57,480

           HVAC Income Reimb
425-100     HVAC Income-On Acct                      41,671          47,976         (6,305)       -13.1%                                                        482,096         527,978         (45,882)       -8.7%                                                              575,954
425-400     HVAC Income-Prior Yr                        -               -              -            0.0%                                                        (24,983)            -           (24,983)     -100.0%                                                                  -
            Total HVAC Income Reimb                  41,671          47,976         (6,305)       -13.1%                                                        457,112         527,978         (70,865)      -13.4%                                                              575,954

           Miscellaneous Income Reimb
426-300     Trash Removal Income                       174             174                -         0.0%                                                          1,916           1,916                -       0.0%                                                                 2,090
            Total Miscellaneous Income Reimb           174             174                -         0.0%                                                          1,916           1,916                -       0.0%                                                                 2,090




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                                                                                                   Shoppes at Buckland Hills, LLC * Manchester, CT 06042


                                                                                                                Budget Comparison
                                                                                                                         11/2024

Account   Description                         MTD Actual      MTD Budget      Variance            %        Comment                                  YTD Actual          YTD Budget      Variance          %        Comment                                        Annual Budget


           CAM Reimb Income
429-010     CAM Interior                             3,817           3,817            -            0.0%                                                       41,991          41,991            -           0.0%                                                             45,809
429-015     CAM Exterior                             4,588           4,588            -            0.0%                                                       55,746          55,746            -           0.0%                                                             60,334
429-025     CAM Inc OpExp-On Accoun                 79,386          78,247          1,138          1.5%                                                      861,435         860,383          1,052         0.1%                                                            938,630
429-275     CAM Inc Op Exp-Prior Ye                    -               -              -            0.0%                                                      (76,452)            -          (76,452)     -100.0%                                                                -
            Total CAM Reimb Income                  87,791          86,653          1,138          1.3%                                                      882,720         958,120        (75,400)       -7.9%                                                          1,044,773

           F/C CAM Reimb Income
431-100     F/C CAM Inc-On Account                    619              619               -         0.0%                                                        6,805           6,805               -       0.0%                                                               7,423
            Total F/C CAM Reimb Income                619              619               -         0.0%                                                        6,805           6,805               -       0.0%                                                               7,423

           Marketing Income
432-050     Marketing Fund Income                    2,336           2,124               212      10.0%                                                       23,161          22,970               191     0.8%                                                              25,097
            Total Marketing Income                   2,336           2,124               212      10.0%                                                       23,161          22,970               191     0.8%                                                              25,097

          Total Expense Reimbursement              185,288         156,079         29,209         18.7%                                                     1,849,185       2,096,129      (246,944)      -11.8%                                                          2,274,575

           Miscellaneous Income
433-525     Misc Operating Income                     108               -                108      100.0%                                                       9,809              -           9,809       100.0%                                                                  -
433-530     Cleanup Tool                                (0)             -                  (0)   -100.0%                                                         (57)             -             (57)     -100.0%                                                                  -
433-640     Unapplied Cash                            -                 -                -          0.0%                                                       8,436              -           8,436       100.0%                                                                  -
433-650     Late Fee Income                           -                 -                -          0.0%                                                       2,994              -           2,994       100.0%                                                                  -
            Total Miscellaneous Income                108               -                108     -100.0%                                                      21,182              -          21,182      -100.0%                                                                  -

499-990   Total Revenues                           942,073        1,095,024      (152,951)        -14.0%                                                   10,807,267      11,637,641      (830,374)       -7.1%                                                         12,945,995

          OPERATING EXPENSES
          RECOVERABLE EXPENSES
           Common Area Maintenance
            Administration
             Interior Administration
516-010       Admin-Pay/Wages                       11,971          12,489            518           4.1%                                                     153,537         156,206          2,669         1.7%                                                            169,111
516-020       Admin-Pay/Fringe Benefits              2,689           1,580         (1,108)        -70.1%                                                      16,872          22,150          5,278        23.8%                                                             23,839
516-050       Admin-Contracted Servic                6,074           6,103              29          0.5%                                                      67,280          67,137           (143)       -0.2%                                                             73,240
516-080       Admin-Office Supplies                    109             150              41         27.4%                                                       1,527           1,850            323        17.4%                                                              2,000
516-130       Admin-Temporary Service                  -               -              -             0.0%                                                         475             -             (475)     -100.0%                                                                -
516-140       Admin-Equipment                          -               250            250         100.0%                                                       2,497           3,100            603        19.4%                                                              3,100
516-150       Admin-Equipment Rent                     -               -              -             0.0%                                                         981             -             (981)     -100.0%                                                                -
516-180       Admin-Mgmt Expenses                      165             -             (165)       -100.0%                                                         593             -             (593)     -100.0%                                                                -
516-210       Admin-Telephone                        1,455           1,590            135           8.5%                                                      20,337          24,000          3,663        15.3%                                                             25,590
516-220       Admin-Postage                            136             415            279          67.2%                                                       2,776           4,565          1,789        39.2%                                                              4,980
516-230       Admin-Travel Costs                       -               -              -             0.0%                                                         -             2,500          2,500       100.0%                                                              2,500
516-240       Admin-Meals/Entertain                    -               -              -             0.0%                                                         742             -             (742)     -100.0%                                                              1,000
516-290       Admin-Music/Communicati                  158               55          (103)       -186.5%                                                       2,385             605         (1,780)     -294.3%                                                                660
516-330       Admin-Computer Equip/Su                3,179           2,745           (434)        -15.8%                                                      47,247          23,756        (23,492)      -98.9%                                                             24,256
516-340       Admin-Dues Memb & Subs                   -               -              -             0.0%                                                         445             650            205        31.5%                                                                650
              Total Interior Administration         25,936          25,378           (558)         -2.2%                                                     317,696         306,518        (11,177)       -3.6%                                                            330,926

            Total Administration                    25,936          25,378           (558)         -2.2%                                                     317,696         306,518        (11,177)       -3.6% Variance due to higher spending than budgeted              330,926
                                                                                                                                                                                                                 in Admin-computer Equipment [-23K]. This is
                                                                                                                                                                                                                 partial offset by lower than budget spent in
                                                                                                                                                                                                                 Admin Pay and wage, Fringe Benefits and Admin-
                                                                                                                                                                                                                 mgmt expenses [11K].




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                                                                                                       The Shoppes at Buckland Hills (BUC)
                                                                                                       Shoppes at Buckland Hills, LLC * Manchester, CT 06042


                                                                                                                    Budget Comparison
                                                                                                                              11/2024

Account   Description                               MTD Actual     MTD Budget     Variance           %        Comment                                     YTD Actual      YTD Budget     Variance          %        Comment                                            Annual Budget


           Repairs & Maintenance
            Interior Repairs & Maintenance
512-010      R&M-Pay/Wages                                 7,746         17,419         9,673         55.5%                                                    155,471         201,630        46,159        22.9%                                                                219,629
512-020      R&M-Pay/Fringe Benefits                       2,895          4,529         1,634         36.1%                                                     23,505          52,424        28,918        55.2%                                                                 57,104
512-070      R&M-Supplies                                    543          1,500           957         63.8%                                                      6,653          17,300        10,647        61.5%                                                                 18,800
512-140      R&M-Plumbing Supplies                           -              250           250        100.0%                                                      1,309           1,000          (309)      -30.9%                                                                  1,000
512-190      R&M-Mgmt Expense                                -              -             -            0.0%                                                        166             -            (166)     -100.0%                                                                    -
512-280      R&M-HVAC Service                              1,187         10,000         8,813         88.1%                                                    134,553          96,000       (38,553)      -40.2%                                                                 96,000
512-290      R&M-Elev&Escalator                            6,562          7,000           438          6.3%                                                     95,502          84,850       (10,652)      -12.6%                                                                 94,350
512-300      R&M-Fire Supp/Sprinkler                       8,536          1,000        (7,536)      -753.6%                                                     56,677          65,230         8,553        13.1%                                                                 70,230
512-320      R&M-Lighting                                    -              -             -            0.0%                                                      1,174           4,000         2,826        70.6%                                                                  4,000
512-330      R&M-Plumbing                                  2,111            -          (2,111)      -100.0%                                                     52,495           8,700       (43,795)     -503.4%                                                                 11,600
512-340      R&M-Electric                                    -              -             -            0.0%                                                      2,606           5,000         2,394        47.9%                                                                  5,000
512-360      R&M-Building                                    -              225           225        100.0%                                                      1,282           5,125         3,843        75.0%                                                                  5,125
512-380      R&M-Doors/Glazing/Glass                         -              -             -            0.0%                                                        947          10,000         9,053        90.5%                                                                 10,000
512-390      R&M-Tiles & Flooring                            -              -             -            0.0%                                                        -             2,000         2,000       100.0%                                                                  2,000
512-410      R&M-Dues Memb & Subs                            -              -             -            0.0%                                                        319             -            (319)     -100.0%                                                                    -
512-420      R&M-Holiday Decor                            15,857            -         (15,857)      -100.0%                                                     15,857             -         (15,857)     -100.0%                                                                 16,000
             Total Interior Repairs & Maintenance         45,437         41,923        (3,514)        -8.4%                                                    548,515         553,258         4,743         0.9%                                                                610,838

            Exterior Repairs & Maintenance
521-118      R&M-Vehicles                                    -              -             -            0.0%                                                          90            600           510        85.0%                                                                    600
521-129      R&M-Roof                                        -              -             -            0.0%                                                      9,210           2,500        (6,710)     -268.4%                                                                  5,000
521-132      R&M-Parking lights                              -              -             -            0.0%                                                      6,326           5,000        (1,326)      -26.5%                                                                  5,000
521-133      R&M-Parking Lot                                 -              -             -            0.0%                                                     18,812          30,500        11,688        38.3%                                                                 30,500
521-136      R&M-Sweeping                                  4,079          2,000        (2,079)      -103.9%                                                     16,314          16,000          (314)       -2.0%                                                                 18,000
521-137      R&M-Building                                    239            -            (239)      -100.0%                                                        886           6,000         5,114        85.2%                                                                  6,000
521-139      R&M-Sidewalks & Curbs                           -              -             -            0.0%                                                        -             6,000         6,000       100.0%                                                                  6,000
             Total Exterior Repairs & Maintenance          4,318          2,000        (2,318)      -115.9%                                                     51,638          66,600        14,962        22.5% The favorable variance is due to scheduling of                  71,100
                                                                                                                                                                                                                  linestriping and parking stall refresh [+11K], no
                                                                                                                                                                                                                  parking lot lights needing repair at this time, no
                                                                                                                                                                                                                  exterior building work scheduled for sidewalks or
                                                                                                                                                                                                                  curb work [+11K]


            Snow Removal
521-134      R&M-Snow - Parking Lot (Fixed)               72,820         73,000              180       0.2%                                                    291,280         292,000              720      0.2%                                                                365,000
             TOTAL Snow Removal                           72,820         73,000              180       0.2%                                                    291,280         292,000              720      0.2%                                                                365,000

            Total Repairs & Maintenance                  122,575        116,923        (5,652)        -4.8%                                                    891,433         911,858        20,425         2.2%                                                              1,046,938

           Cleaning
            Interior Cleaning
511-225      Cleaning-Contracted Ser                      41,192         35,351        (5,841)       -16.5%                                                    455,859         402,015       (53,844)      -13.4%                                                                445,104
511-250      Cleaning-Supplies                             6,772          4,000        (2,772)       -69.3%                                                     58,852          44,000       (14,852)      -33.8%                                                                 48,000
511-375      Cleaning-Equiprnent                             683            800           117         14.6%                                                      5,725          10,800         5,075        47.0%                                                                 13,600
511-525      Clean-Pest Control                           11,061            360       (10,701)     -2972.6%                                                     21,035           3,960       (17,075)     -431.2%                                                                  4,320
             Total Interior Cleaning                      59,708         40,511       (19,197)       -47.4% Variance due adding vancat TT spaces to the        541,472         460,775       (80,697)      -17.5% Variance due to higher than anticipated cleaning               511,024
                                                                                                            scope of work and to emergency pest                                                                   hours and increase on costs for cleaning
                                                                                                            treatments due to an investation and non                                                              supplies [-68K]
                                                                                                            compliant TT's. several reports from other
                                                                                                            TT's and customers of cockroach sightings.
                                                                                                            6 week aggressive treatment plan. Partnered
                                                                                                            with the municipalites Health Department [-
                                                                                                            16K].

            Total Cleaning                                59,708         40,511       (19,197)       -47.4%                                                    541,472         460,775       (80,697)      -17.5%                                                                511,024

           Security
            Interior Security
514-125      Security-Contract Servi                      64,638         58,172        (6,466)      -11.1%                                                     647,339         668,039        20,700         3.1%                                                                741,809
514-150      Security-Other Services                         -            2,500         2,500       100.0%                                                        (767)          2,500         3,267       130.7%                                                                 11,500
514-175      Security-Supplies                               -              -             -           0.0%                                                       4,391           1,000        (3,391)     -339.1%                                                                  2,000
             Total Interior Security                      64,638         60,672        (3,966)       -6.5%                                                     650,964         671,539        20,575         3.1%                                                                755,309




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                                                                                              The Shoppes at Buckland Hills (BUC)
                                                                                              Shoppes at Buckland Hills, LLC * Manchester, CT 06042


                                                                                                           Budget Comparison
                                                                                                                      11/2024

Account   Description                         MTD Actual      MTD Budget     Variance       %        Comment                                       YTD Actual     YTD Budget      Variance        %        Comment                                          Annual Budget


            Exterior Security
523-050      Security-Contract Servi                 7,182           6,464          (718)   -11.1%                                                       71,927         74,227          2,300      3.1%                                                                82,423
523-160      Security-Vehicles                         -             2,800         2,800    100.0%                                                          -           15,800         15,800    100.0%                                                                18,600
             Total Exterior Security                 7,182           9,264         2,082     22.5%                                                       71,927         90,027         18,100     20.1%                                                               101,023

            Total Security                          71,820          69,935        (1,884)    -2.7%                                                      722,890        761,566         38,675      5.1% Favorable variance due to staffing call outs.                 856,332

           Utilities
            Interior Utilities
515-150      Utilities-Electricity                  23,968          46,000        22,032     47.9%                                                      508,076        563,200         55,124       9.8%                                                              606,700
515-300      Utilities-Water & Sewer                (1,892)          9,500        11,392    119.9%                                                      142,850        136,000         (6,850)     -5.0%                                                              149,000
             Total Interior Utilities               22,076          55,500        33,424     60.2%                                                      650,927        699,200         48,273       6.9%                                                              755,700

            Total Utilities                         22,076          55,500        33,424    60.2% favorable variance is due to late billing from        650,927        699,200         48,273      6.9% Favorable variance due electric bills being lower             755,700
                                                                                                  our electic supplier.                                                                                 in the winter than summer.

           Landscaping
            Interior Landscaping
513-250      Landscape-Contr Service                  726              800            74      9.3%                                                        7,984          8,800            816      9.3%                                                                 9,600
513-550      Landscape-Seasonal                       -              2,500         2,500    100.0%                                                          -            3,500          3,500    100.0%                                                                 3,500
             Total Interior Landscaping               726            3,300         2,574     78.0%                                                        7,984         12,300          4,316     35.1%                                                                13,100

            Exterior Landscaping
522-250      Landscape-Contr Service                13,230           9,700        (3,530)   -36.4%                                                      102,050         77,600        (24,450)    -31.5%                                                               77,600
522-550      Landscape-Misc                            -               -             -        0.0%                                                          915         12,000         11,085      92.4%                                                               12,000
             Total Exterior Landscaping             13,230           9,700        (3,530)   -36.4%                                                      102,965         89,600        (13,365)    -14.9% Variance is due to unbugted tree work for low                 89,600
                                                                                                                                                                                                         hanging limbs causing potential vehicle damage
                                                                                                                                                                                                         claim and a Outparcel TT not maintaining there
                                                                                                                                                                                                         lawn.

            Total Landscaping                       13,956          13,000          (956)    -7.4%                                                      110,949        101,900         (9,049)     -8.9%                                                              102,700

          Total Common Area Maintenance            316,070         321,247         5,177     1.6%                                                     3,235,367       3,241,817         6,450      0.2%                                                             3,603,620



           Taxes
            Real Estate Taxes
594-200      Real Estate Taxes                     260,366         260,366              -    0.0%                                                     2,686,799       2,818,523       131,724       4.7%                                                            3,078,889
594-400      Real Estate Tax Consultant Fee            -               -                -    0.0%                                                        18,842             -         (18,842)   -100.0%                                                                  -
             Total Real Estate Taxes               260,366         260,366              -    0.0%                                                     2,705,641       2,818,523       112,882       4.0%                                                            3,078,889

            Total Taxes                            260,366         260,366              -    0.0%                                                     2,705,641       2,818,523       112,882      4.0% Variance due to non budgeted Real Estate Tax                3,078,889
                                                                                                                                                                                                        consultant fees [-18K]. This is offset by lower
                                                                                                                                                                                                        than anticipated Real Estate Taxes [+131].



           Insurance
518-100     Other Oper-Liability Insurance           8,636          14,092         5,456    38.7%                                                       161,404        151,734         (9,671)     -6.4%                                                              165,826
518-500     Other Oper-Property Insurance           17,534          28,612        11,078    38.7%                                                       327,700        308,065        (19,634)     -6.4%                                                              336,677
            Total Insurance                         26,170          42,704        16,534    38.7% Adjustment made for new year accruals                 489,104        459,799        (29,305)     -6.4%                                                              502,503




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                                                                                                    The Shoppes at Buckland Hills (BUC)
                                                                                                   Shoppes at Buckland Hills, LLC * Manchester, CT 06042


                                                                                                                 Budget Comparison
                                                                                                                            11/2024

Account   Description                             MTD Actual      MTD Budget      Variance        %        Comment                                      YTD Actual      YTD Budget      Variance        %        Comment                                          Annual Budget


           Promotional Services
            Marketing
571-001      Marketing-Pay/Wages                         5,492           5,910            418       7.1%                                                      71,554          76,149          4,595       6.0%                                                               82,256
571-002      Marketing-Pay/Fringe Benefits               1,222           1,537            314      20.5%                                                       7,646          19,799         12,153      61.4%                                                               21,387
571-005      Marketing-Contract Serv                     9,275             -           (9,275)   -100.0%                                                      24,101             -          (24,101)   -100.0%                                                                  -
571-006      Marketing-Supplies                            -             1,000          1,000     100.0%                                                       8,648           7,500         (1,148)    -15.3%                                                                7,500
571-009      Marketing-Seasonal                            549             -             (549)   -100.0%                                                       5,554          10,000          4,446      44.5%                                                               10,000
571-010      Marketing-Mgmt Expenses                       -               100            100     100.0%                                                         -             4,600          4,600     100.0%                                                                4,700
571-017      Marketing-Dues&Subscrip                         15              20             5      25.0%                                                       1,733           1,780             47       2.6%                                                                3,930
571-018      Marketing-Tenant Promotions                 3,160           1,510         (1,650)   -109.3%                                                       4,572           4,410           (162)     -3.7%                                                                9,720
571-019      Marketing - Display                           -               -              -         0.0%                                                           25         10,000          9,975      99.8%                                                               10,000
571-021      Marketing-Merchant Comm                       -               -              -         0.0%                                                         -               500            500     100.0%                                                                  500
571-022      Marketing-Print Production                    759             -             (759)   -100.0%                                                       2,870           1,000         (1,870)   -187.0%                                                                1,000
571-026      Marketing-Special Event                       -             6,000          6,000     100.0%                                                        (321)         40,640         40,961     100.8%                                                               60,140
571-028      Marketing-Leasing Suppo                       -               -              -         0.0%                                                         557           1,000            443      44.3%                                                                1,000
             Total Marketing                            20,473          16,076         (4,396)    -27.3%                                                     126,939         177,378         50,438      28.4% Favorable vairance due to special holiday                    212,132
                                                                                                                                                                                                               events not taken place yet or received [+50K]

            Advertising
572-003      Advertising - Web/Digital                     750             805             55      6.8%                                                        8,257          13,855          5,598     40.4%                                                                14,660
572-004      Advertising-Radio                             -             5,000          5,000    100.0%                                                        3,983          10,000          6,017     60.2%                                                                15,000
572-009      Advertising-Social Media                      -             2,200          2,200    100.0%                                                        2,200           8,650          6,450     74.6%                                                                11,850
             Total Advertising                             750           8,005          7,255     90.6%                                                       14,440          32,505         18,065     55.6%                                                                41,510

            Total Promotional Services                  21,223          24,081          2,859     11.9%                                                      141,379         209,883         68,504     32.6%                                                               253,642

           Specialty Leasing Expenses
561-001     Spec Lease-Pay/Wages                        10,747          16,421          5,674     34.6%                                                      106,829         118,788         11,959      10.1%                                                              129,192
561-002     Spec Lease-Pay/Fringe Benefits               3,133           4,270          1,137     26.6%                                                       32,290          30,885         (1,405)     -4.6%                                                               33,590
561-005     Spec Lease-Equip                             1,437           1,000           (437)   -43.7%                                                       13,875          11,000         (2,875)    -26.1%                                                               12,000
561-006     Spec Lease-Mgmt Expense                        452             500             48      9.6%                                                        1,728           8,000          6,272      78.4%                                                                8,500
561-007     Spec Lease-Office Expen                        -               100            100    100.0%                                                          178           1,100            922      83.8%                                                                1,200
561-008     Spec Lease-Merchandisin                        -               500            500    100.0%                                                          -             1,500          1,500     100.0%                                                                1,500
561-009     Spec Leasing-Promo Exp.                        -               500            500    100.0%                                                       19,143           2,500        (16,643)   -665.7%                                                                2,500
            Total Specialty Leasing Expenses            15,769          23,291          7,522     32.3% Variance due to SPL TT spaces needing more           174,044         173,773           (271)     -0.2%                                                              188,483
                                                                                                        emergency lights and plumbing repiars.



          Food Court Maintenance
           F/C Cleaning
531-050     F/C CAM-Clean-Cont Serv                     24,252          20,762         (3,490)    -16.8%                                                     267,468         236,104        (31,363)   -13.3%                                                               261,410
531-100     F/C CAM-Clean-Supplies                         -               -              -         0.0%                                                      (1,430)            -            1,430    100.0%                                                                   -
531-150     F/C CAM-Small Equipment                        -               -              -         0.0%                                                         (96)            -               96    100.0%                                                                   -
            Total FC Cleaning                           24,252          20,762         (3,490)    -16.8%                                                     265,941         236,104        (29,837)   -12.6%                                                               261,410

            Total Food Court Maintenance                24,252          20,762         (3,490)    -16.8%                                                     265,941         236,104        (29,837)    -12.6% Variance due to higher than anticipated cleaning             261,410
                                                                                                                                                                                                               hours [-31K]

           Reimbursable Tenant Utilities
           Reimbursable HVAC
541-005     HVAC Util-Cont Serv                            -             5,000          5,000    100.0%                                                       21,387          20,000         (1,387)     -6.9%                                                               20,000
541-019     HVAC Util-Prof Fees                            990           1,000             10      1.0%                                                       10,893          11,000            107       1.0%                                                               12,000
541-023     HVAC Util-Plant Elect                       29,416          56,000         26,584     47.5%                                                      623,548         673,000         49,452       7.3%                                                              728,000
            Total Reimbursable HVAC                     30,406          62,000         31,594     51.0% Variance due to repiars needing to be made           655,828         704,000         48,172       6.8%                                                              760,000
                                                                                                        prior to the timing of expnses in the budget.



           Reimbursable Electric
551-009     Elect-Util-Misc                              1,089           2,400          1,311     54.6%                                                       23,094          27,500          4,406     16.0%                                                                30,000
551-011     Water-Utilities Exp                           (562)          5,000          5,562    111.2%                                                       85,500          78,900         (6,600)    -8.4%                                                                86,000
            Total Reimbursable Electric                    528           7,400          6,872     92.9%                                                      108,594         106,400         (2,194)    -2.1%                                                               116,000

            Total Reimbursable Tenant Utilities         30,934          69,400         38,466     55.4%                                                      764,423         810,400         45,977       5.7%                                                              876,000

          TOTAL RECOVERABLE EXPENSES                   694,783         761,851         67,068      8.8%                                                    7,775,898        7,950,299       174,400       2.2%                                                            8,764,547




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                                                                                                       The Shoppes at Buckland Hills (BUC)
                                                                                                       Shoppes at Buckland Hills, LLC * Manchester, CT 06042


                                                                                                                     Budget Comparison
                                                                                                                                11/2024

Account   Description                                 MTD Actual      MTD Budget     Variance        %        Comment                                     YTD Actual        YTD Budget      Variance        %        Comment                                            Annual Budget


          NON-RECOVERABLE EXPENSES
           Property Management
681-100     Management Fees                                 23,602          25,988         2,385       9.2%                                                     275,144          276,391          1,247       0.5%                                                                307,791
            Total Property Management                       23,602          25,988         2,385       9.2%                                                     275,144          276,391          1,247       0.5%                                                                307,791

           Professional Fees
671-500     Legal Collection Fees                              -               -             -         0.0%                                                       5,000              -           (5,000)   -100.0%                                                                      -
673-500     Legal-Collection/Litigation Fees                 2,202             -          (2,202)   -100.0%                                                      21,278              -          (21,278)   -100.0%                                                                      -
675-000     Prof Fees-Other                                    -               -             -         0.0%                                                         -                190            190     100.0%                                                                      190
675-500     Arch/Eng Fees                                      -               -             -         0.0%                                                         525              -             (525)   -100.0%                                                                      -
            Total Professional Fees                          2,202             -          (2,202)   -100.0%                                                      26,803              190        (26,613) -14007.0%                                                                      190

           Owner's Repairs & Maintenance
611-013     Owner's R&M-Temp Servic                            -               -                -      0.0%                                                         -              1,050          1,050     100.0%                                                                  1,400
611-017     Owner's R&M-Roof                                   -               -                -      0.0%                                                      23,896           15,000         (8,896)    -59.3%                                                                 33,000
611-022     Owner's R&M-Mechanical                             -               -                -      0.0%                                                         -                -              -         0.0%                                                                  5,000
611-024     Owner's R&M-Tenant Spac                            -               -                -      0.0%                                                      16,542              -          (16,542)   -100.0%                                                                  8,000
            Total Owner's Repairs & Maintenance                -               -                -      0.0%                                                      40,439           16,050        (24,389)   -152.0% Variance due to unanticiapted repairs to Bobs,                  47,400
                                                                                                                                                                                                                   Maggie McFlys and Mall roofs [-8K]. In addition to
                                                                                                                                                                                                                   unanticiapted defciencies and repair costs from
                                                                                                                                                                                                                   Toro Azteca vacancie [-16K]

           Owner's Utilities
630-002     Owner's Util-Electric                           15,479          10,000        (5,479)   -54.8%                                                      166,239          118,000        (48,239)    -40.9%                                                                129,000
630-004     Owner's Util-Gas                                   -             2,000         2,000    100.0%                                                       17,011           11,350         (5,661)    -49.9%                                                                 13,850
630-005     Owner's Util-Water/Sewe                              72             65            (7)   -10.0%                                                        4,420              715         (3,705)   -518.1%                                                                    780
            Total Owner's Utilities                         15,551          12,065        (3,486)   -28.9%                                                      187,670          130,065        (57,605)    -44.3% Variance due to higher than anticiapted Bobs                   143,630
                                                                                                                                                                                                                   Utilitiy bills and the deal falling through [-48K]

           Owner's Administrative Expenses
650-013     Owner's Adm-Mgmt Exp                               -               -             -         0.0%                                                          683             -             (683)   -100.0%                                                                    -
650-017     Owner's AdmTravel Costs                            -               -             -         0.0%                                                          -             4,500          4,500     100.0%                                                                  6,000
650-020     Owner's AdmBad Debt Exp                         11,149             -         (11,149)   -100.0% JE was made to reserve for bad debts of any         (268,823)            -          268,823    -100.0%                                                                    -
                                                                                                            tenants with AR of over 90 days
650-021     Owner's Adm-Bank Fees                              478             750           272      36.2%                                                        4,106           8,250          4,144      50.2%                                                                  9,000
650-025     Owner's Adm-Barricade                              -               -             -         0.0%                                                        1,558             -           (1,558)   -100.0%                                                                    -
650-032     Personal Property Tax                            6,796           6,796           -         0.0%                                                       77,717          73,566         (4,152)     -5.6%                                                                 80,361
            Total Owner's Administrative Expenses           18,423           7,546       (10,878)   -144.2%                                                     (184,759)         86,316        271,075     314.1%                                                                 95,361

          TOTAL NON-RECOVERABLE EXPENSES                    59,778          45,598       (14,180)    -31.1%                                                     345,297          509,012        163,715      32.2%                                                                594,372

699-998   TOTAL OPERATING EXPENSES                         754,562         807,450        52,888       6.5%                                                    8,121,196        8,459,311       338,115       4.0%                                                              9,358,919

699-999   NET OPERATING INCOME                             187,512         287,575      (100,063)    -34.8%                                                    2,686,072        3,178,330      (492,259)    -15.5%                                                              3,587,076

           Leasing/Legal/Other Expenses
701-200     Leasing Commissions                             45,535             -         (45,535)   -100.0%                                                     159,358          261,676        102,318      39.1%                                                                268,876
701-300     Leasing Commissions - Specialty Leasing          8,804          10,376         1,572      15.1%                                                     102,817          116,300         13,484      11.6%                                                                128,000
701-550     Lease Commision - Broker Fees                      -               -             -         0.0%                                                       1,173              -           (1,173)   -100.0%                                                                    -
701-625     Leasing Exp-Misc                                   318             -            (318)   -100.0%                                                       4,987              -           (4,987)   -100.0%                                                                    -
701-675     Lease Exp-ICSC Conventi                            -               -             -         0.0%                                                      22,810           28,130          5,320      18.9%                                                                 28,130
701-700     Legal Leasing                                   17,780             -         (17,780)   -100.0%                                                     109,915           76,000        (33,915)    -44.6%                                                                 79,000
701-725     Rent ConcsnFree/Step Rn                            941          12,500        11,559      92.5%                                                      69,032          122,500         53,468      43.6%                                                                135,000
            Total Leasing/Legal/Other Expenses              73,379          22,876       (50,503)   -220.8%                                                     470,092          604,607        134,515      22.2%                                                                639,006

           Receivership Expense
702-200     Receivership - Legal Fees                      (44,859)            -          44,859    100.0%                                                         3,561              -          (3,561)   -100.0%                                                                      -
            Total Receivership Expense                     (44,859)            -          44,859    100.0%                                                         3,561              -          (3,561)   -100.0%                                                                      -



          NET INCOME                                       158,992         264,698      (105,707)    -39.9%                                                    2,212,419        2,573,723      (361,305)    -14.0%                                                              2,948,069




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                                                                                            The Shoppes at Buckland Hills (BUC)
                                                                                           Shoppes at Buckland Hills, LLC * Manchester, CT 06042


                                                                                                        Budget Comparison
                                                                                                                 11/2024

Account   Description                      MTD Actual      MTD Budget     Variance        %        Comment                                  YTD Actual         YTD Budget      Variance          %        Comment   Annual Budget


          CAPITAL EXPENDITURES
           Building & Improvements
            Building Improvements
152-003     WIP                                   8,351             -          (8,351)   -100.0%                                                    412,964              -        (412,964)     -100.0%                             -
152-450     Fire Sprinklers                         -               -             -         0.0%                                                     35,140              -         (35,140)     -100.0%                             -
            TOTAL Building Improvements           8,351             -          (8,351)   -100.0%                                                    448,104              -        (448,104)     -100.0%                             -

           TOTAL Building & Improvements          8,351             -          (8,351)   -100.0%                                                    448,104              -        (448,104)     -100.0%                             -

           Furniture
161-200    Security Equipment                       -               -                -     0.0%                                                         241              -            (241)     -100.0%                             -
           TOTAL Furniture                          -               -                -     0.0%                                                         241              -            (241)     -100.0%                             -

           Tenant Improvements
162-101    Tenant Allowance - 1                     -               -                -     0.0%                                                     140,000              -        (140,000)     -100.0%                             -
           TOTAL Tenant Improvements                -               -                -     0.0%                                                     140,000              -        (140,000)     -100.0%                             -

           Deferred Leasing Cost
181-165    Const Mgmt Fees                       (8,351)            -           8,351    100.0%                                                          -               -                -       0.0%                              -
           TOTAL Deferred Leasing Cost           (8,351)            -           8,351    100.0%                                                          -               -                -       0.0%                              -

          Total CAPITAL EXPENDITURES                -               -                -     0.0%                                                     588,345              -        (588,345)     -100.0%                             -

          NET CASH FLOW AFTER CAPITAL           158,992         264,698      (105,707)    -39.9%                                                   1,624,074       2,573,723      (949,650)      -36.9%                     2,948,069




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                                             BALANCE SHEET
                                                      11/2024
                                                                          11/2024              12/2023
Account   Description                                                      Balance             Balance
100-000   ASSETS
101-000   Current Assets
102-000    Cash And Cash Equivalents

102-001     Property Level Cash
102-100     Property Level Cash - Operations                                1,034,225.51          323,882.75
102-300     Property Level Cash - Lockbox                                     139,189.06          168,273.52
102-500     Property Level Cash - Operations 2                                    250.00              250.00
102-600     Property Level Cash - Lockbox 2                                         0.00          136,872.97
102-800     Property Level Cash - Prior Mgmt Lender                            61,073.74        4,275,999.48
102-990     Total Property Level Cash                                       1,234,738.31        4,905,278.72

104-000     Restricted Cash
104-300     Tax Escrow                                                       (499,774.54)        (499,774.54)
104-400     Deferred/Env/Other Escrow                                      11,431,268.67        7,075,670.23
104-510     Immediate Repairs Escrow                                           50,606.14           50,606.14
104-520     Tenant Allowance Escrow                                         1,304,434.29        1,304,434.29
104-800     Repair and Replacement Escrow                                      80,280.00           80,280.00
104-900     Total Restricted Cash                                          12,366,814.56        8,011,216.12

109-900    Total Cash And Cash Equivalents                                 13,601,552.87       12,916,494.84

111-000    Tenant Receivable
111-025     A/R - Base Rent                                                 1,586,825.84        2,081,361.70
111-030     A/R - Straight Line Rent Receivable                             1,673,038.69        1,673,038.69
111-035     A/R - Holdover Contra Account                                    (100,728.05)         (76,484.55)
111-040     A/R - COVID                                                        48,711.24           51,711.24
111-045     AR – Deferred Rent                                                (21,445.00)           4,810.40
111-050     A/R-Percentage Rent                                               118,214.70          118,214.70
111-075     A/R-Tenant Other                                                  178,164.63          178,164.63
111-080   A/R - Bankruptcy PrePetition                                        (21,362.50)         (21,362.50)
111-125     A/R - Unapplied Receipts                                         (264,442.32)        (318,428.31)
111-150     A/R - Specialty Leasing                                           120,000.00          120,000.00
111-225     A/R - Real Estate Taxes                                            68,382.00           68,382.00
111-275     A/R Clearing-General                                               60,800.89           60,800.89
111-450     A/R - Promotions Expens                                            (3,575.15)          (3,575.15)
111-475     Allow for Bad Debts-Ten                                        (1,076,438.91)      (1,466,252.24)
111-900    Total Tenant Receivable                                          2,366,146.06        2,470,381.50

112-000    Accrued Revenues - Tenant Receivable
112-025    Accrued % in Lieu                                                   49,873.07           52,520.95
112-075    Accrued Overage Rent                                                77,930.56          302,789.32
112-225    Accrued R/E Taxes                                                 (382,126.00)        (382,126.00)
112-250    Accrued Utilities                                                   36,500.00           36,500.00
112-275    Accrued HVAC                                                      (115,760.00)        (115,760.00)
112-900    Total Accrued Revenues - Tenant Receivable                        (333,582.37)        (106,075.73)



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                            The Shoppes at Buckland Hills (BUC)
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                                           BALANCE SHEET
                                                 11/2024
                                                                        11/2024              12/2023
Account   Description                                                    Balance             Balance

120-000    Prepaid Expenses
120-700    Prepaid P-Card                                                     2,911.67           3,082.68
121-000    Prepaid Insurance                                                 25,273.53         256,279.03

121-500    Other Prepaid Expenses
123-000    Misc Prepaid Exp                                                  (5,500.00)         (5,500.00)
128-900    Total Other Prepaid Expenses                                      (5,500.00)         (5,500.00)
129-900    Total Prepaid Expenses                                            22,685.20         253,861.71

130-000    Other Assets
136-000    Deposits Paid                                                     12,376.64          12,376.64
137-560    Leasing Fees - Prior owner                                       157,304.20         157,304.20
137-900    Total Other Assets                                               169,680.84         169,680.84

138-900   Total Current Assets                                           15,826,482.60       15,704,343.16
140-500    Land Held for Developme                                       17,787,561.74       17,787,561.74
141-000    Land Improve                                                  54,867,353.31       54,867,353.31
141-050    Parking Lot Repairs                                              104,573.71          104,573.71
142-100    Capitalized Period Interest                                        7,168.32            7,168.32
149-900    Total Land                                                    72,766,657.08       72,766,657.08

150-000    Building & Improvements

152-000    Building Improvements
152-002    HVAC Replacement                                                 531,748.94          531,748.94
152-003    WIP                                                              491,553.49           78,589.50
152-007    Roof Replacement                                                 626,263.01          626,263.01
152-025    Bldg Improvements                                                 66,097.20           66,097.20
152-250    Exterior Signage & Grap                                           40,754.75           40,754.75
152-285    Interior Lighting                                                 66,908.92           66,908.92
152-450    Fire Sprinklers                                                   35,140.17                0.00
152-625    Interior Other                                                   189,405.91          189,405.91
152-900    Total Building Improvements                                    2,047,872.39        1,599,768.23

159-900    Total Building & Improvements                                  2,047,872.39        1,599,768.23




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                            The Shoppes at Buckland Hills (BUC)
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                                            BALANCE SHEET
                                                  11/2024
                                                                        11/2024              12/2023
Account   Description                                                    Balance             Balance

160-000    Other Real Estate Assets

161-000    Furniture, Fixt & Equip
161-050    Furniture, Fixt & Equip                                           80,430.37           80,430.37
161-200    Security Equipment                                                 1,068.73              827.86
161-350    Mall Office Improvement                                          326,383.17          326,383.17
161-450    HVAC Retrofit                                                    947,852.03          947,852.03
161-500    Maint Equipment                                                  441,025.58          441,025.58
161-700    Vehicles                                                           4,104.20            4,104.20
161-750    Other Property & Equip                                           206,138.56          206,138.56
161-900    Total Furniture, Fixt & Equip                                  2,007,002.64        2,006,761.77

162-000    Tenant Improvements
162-100    Tenant Allowance                                               2,637,974.66        2,637,974.66
162-101    Tenant Allowance - 1                                             140,000.00                0.00
162-300    Tenant Improvement LLW                                           417,829.03          417,829.03

162-900    Total Tenant Improvements                                      3,195,803.69        3,055,803.69
169-900    Total Other Real Estate Assets                                 5,202,806.33        5,062,565.46

170-000    Real Estate Assets-Accumulated Depreciation
170-500    Accum Deprec-Land Impro                                         (147,989.68)        (147,989.68)
170-600    Accum Deprec - Interest Prior Owner                                 (211.05)            (211.05)
171-000    Accum Deprec-Building                                         (1,470,817.70)      (1,470,817.70)
172-000    Accum Deprec-Bldg Impro                                          (92,526.80)         (92,526.80)
173-000    Accum Deprec-Environ Re                                             (987.43)            (987.43)
173-500    Accum Deprec-FF&E                                                (47,801.13)         (47,801.13)
174-000    Accum Dep-Mall Office I                                          (42,531.81)         (42,531.81)
175-000    Accum Dep-HVAC Retrofit                                          (61,591.36)         (61,591.36)
175-500    Accum Dep Equip                                                  (51,841.75)         (51,841.75)
176-500    Accum Deprec-Vehicles                                             (4,050.75)          (4,050.75)
178-000    Accum Dep-Tenant Imp In                                         (372,874.94)        (372,874.94)
179-990    Total Real Estate Assets-Accumulated Depreciation             (2,293,224.40)      (2,293,224.40)
181-100    Deferred Leasing Cost
181-160    Cap Legal Fees-Other                                                 463.26              463.26
181-165    Const Mgmt Fees                                                   74,223.33           74,223.33
181-187    Other Leasing Costs                                               89,668.11           89,668.11
181-190    Total Deferred Leasing Cost                                      164,354.70          164,354.70
181-275    Misc Deferred Charges                                            468,255.59          468,255.59
181-325    Acc Amort - Cap. Intere                                          (63,885.42)         (63,885.42)
181-350    Accum Amort-Rent Conces                                         (332,667.59)        (332,667.59)
181-360    Accum Amort - PV Legal (SFAS 1)                                     (140.14)            (140.14)
181-400    Accum Amort-Other Leasi                                           (9,788.73)          (9,788.73)
181-500    Impairment-Accum Amort-In Place Leases                            (3,741.63)          (3,741.63)
181-990    Total Deferred Leasing & Finance                                  58,032.08           58,032.08



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                                              BALANCE SHEET
                                                  11/2024
                                                                         11/2024              12/2023
Account   Description                                                     Balance             Balance
192-025    Above market leases                                                 1,838.83            1,838.83
192-100    Lease In Place value                                               10,530.18           10,530.18

192-990   Total Non-Current Assets                                        77,958,867.19       77,370,522.16

199-999   Total Assets                                                    93,785,349.79       93,074,865.32

201-000   LIABILITIES

210-000   Current Liabilities

211-000    Accounts Payables
211-100    A/P - Trade                                                       399,599.58         353,662.71
211-190    A/P Other                                                           3,318.00           3,318.00
211-900    Total Accounts Payables                                           402,917.58         356,980.71

212-000    Accrued Expenses
212-025    Accrued Payroll                                                    20,358.74           21,210.67
212-125    Accrued Insurance                                                 (23,760.41)         (23,760.41)
212-150    Accrued Utilities                                                 771,870.00          771,870.00
212-175    Accrued R/E Taxes                                               5,544,141.72        2,812,298.61
212-275    Accrued Operating Exp.                                            316,721.02          356,105.29
212-900    Total Accrued Expenses                                          6,629,331.07        3,937,724.16

213-000    Accrued Interest
213-050    Accd Int Payable-1st Mo                                         7,701,870.05        7,701,870.05
213-900    Total Accrued Interest                                          7,701,870.05        7,701,870.05

213-993    Accrued Expense-Misc                                                  120.22             120.22
213-996    Intercompany Payable                                              593,759.14         593,759.14
214-500    Unearned Rental Income                                            413,007.29         493,320.14
214-750    Unapplied Cash Receipts                                            72,649.16          72,649.16
214-900    Total Unearned Revenue                                             72,649.16          72,649.16

214-992    Deferred Income                                                    32,224.00           32,224.00

215-000    Security Deposits
215-100    Security Deposits - Held                                          235,875.55         263,092.21
215-300    Security Deposits - Temp Tenants                                   86,653.32          86,653.32
215-400    Misc Sec Deposits                                                  32,750.00          27,500.00
215-900    Total Security Deposits                                           355,278.87         377,245.53




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                                             BALANCE SHEET
                                                     11/2024
                                                                           11/2024              12/2023
Account   Description                                                       Balance             Balance

216-000    Other Liabilities
216-100    Other Liabilities                                                    77,586.44          77,586.44
216-101    Due to / from SMG                                                   (56,000.03)        (49,500.00)
216-200    Sales Tax Payable                                                    10,899.00          10,899.00
216-600    Def'd Liabilities                                                    53,067.22          53,067.22
216-750    Due To Prior Owner                                                   43,612.36          43,612.36
216-900    Total Other Liabilities                                             129,164.99         135,665.02

219-900    Total Current Liabilities                                        16,330,322.37       13,701,558.13

220-000    Non-Current Liabilities
220-100    Mort Loans
220-500     Mtg Loans Repy/amt                                             109,679,178.21      109,679,178.21
229-900    Total Mort Loans                                                109,679,178.21      109,679,178.21

230-000    Construction Loans
231-500    Cons Loans Payable                                                   20,966.51           20,966.51
239-900    Total Construction Loans                                             20,966.51           20,966.51

240-000    Other Loans Payable
241-020   Reserve Payable - Cap Ex                                             547,300.00          547,300.00
241-040     Deferred Financing Costs                                          (324,817.23)        (324,817.23)
249-900    Total Other Loans Payable                                           222,482.77          222,482.77

290-900    Total Non-Current Liabilities                                   109,922,627.49      109,922,627.49

299-999   Total LIABILITIES                                                126,252,949.86      123,624,185.62

300-000   EQUITY
300-500    Retained Earnings                                               (56,814,476.39)     (59,026,190.20)
301-500    Owner's Equity                                                   26,448,345.05       26,448,345.05
303-000    Distributions from Owner/NonCash                                  1,967,774.64        1,967,774.64
303-500    Distributions from Owner/Cash                                    12,843,791.77       12,843,791.77
305-500    Distributions to Owner-Noncash                                      (12,242.68)         (12,242.68)
306-000    Distributions to Owner-Cash                                     (19,167,405.57)     (15,049,655.60)
306-100    Distributions to Owner-Cash/Prior Owner                          (7,703,348.77)      (7,703,348.77)
306-500    Other Equity                                                      9,969,961.88        9,982,205.49
309-900   Total EQUITY                                                     (32,467,600.07)     (30,549,320.30)
399-999   Total Liablities and Equity                                       93,785,349.79       93,074,865.32




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                                                                                              12 Month Annual Budget Detail
                                                                                                                11/2024

Account   Description                          January       February       March             April            May            June                July         August       September       October        November      December        Total


          REVENUES
           Rental Revenue
            Base Minimum Rent
410-200      Base/Minimum Rent                    655,790       664,995       672,509           672,578         687,050         687,050            687,050       687,648        688,211        688,484        689,043       697,620       8,178,029
410-400      Base Rent - Prior Year                   -             -             -                 -               -               -                  -             -              -              -              -             -               -
             Total Base Minimum Rent              655,790       664,995       672,509           672,578         687,050         687,050            687,050       687,648        688,211        688,484        689,043       697,620       8,178,029

           Percentage Rent
411-100     Pct in Lieu of Base                    29,361        31,490        39,396            30,558          32,107          37,738             25,674        41,559         41,362         34,949         37,057        58,099        439,351
411-200     Prior Yr Percent in Lieu                  -             -             -                 -               -               -                  -             -              -              -              -             -              -
411-300     Prcntge Rent-On Account                41,031           -             -                 -               -             1,930             13,255        23,704         19,916         43,117         83,143       227,945        454,040
411-600     Percentage Rent-Prior Y                   -             -             -                 -               -               -                  -             -              -              -              -             -              -
            Total Percentage Rent                  70,393        31,490        39,396            30,558          32,107          39,667             38,929        65,263         61,278         78,066        120,200       286,044        893,391

            Spec Lease Income
412-050      Spec Lease Income-RMU                  5,053         5,638         4,638             4,638           4,645           7,645              8,195         8,195          8,195          8,195         16,240        14,530          95,807
412-075      Spec Lease Income-TILS                98,718       101,363        46,414            59,082          66,717          53,241             60,272        62,292         61,977         63,067         75,167        91,587         839,897
412-100      Temp Tenant Contracted services        6,037         6,037         6,037             6,037           6,037           6,037              6,037         6,037          6,037          6,037          6,037         6,037          72,444
412-125      Spec Lease Income-Kiosk               27,997        10,899        16,182            12,682          14,557          13,682             14,182        12,682         12,682         14,432         14,932        16,182         181,091
412-175      Spec Lease Income-Pct R                  -             -             -                 -               -               -                  -             -              -              -              -             -               -
412-250      Spec Lease-CAM Reimb                     -             -             -                 -               -               -                  -             -              -              -              -             -               -
412-425      Spec Lease-Other Reimb                   -             -             -                 -               -               -                  -             -              -              -              -             -               -
412-450      Spec Lease-Vending Inco               14,647         5,686         6,113             4,470           1,636           4,946              6,087         6,087          6,107          6,107          6,107         7,084          75,077
412-475      Spec Leas Inc-Prior Yea                  -             -             -                 -               -               -                  -             -              -              -              -             -               -
412-550      Spec Lease-Storage Inco               22,285        17,677         4,907             4,832           4,683           8,098              5,190         5,236          5,376          5,769          6,164         5,769          95,986
412-600      Spec Lease Income-Misc                 4,530         4,530         4,530             4,567           4,530           4,530              4,530         4,530          4,530          4,530          4,530         4,530          54,397
412-610      Spec Lease Income-Unapplied              -             -             -                 -               -               -                  -             -              -              -              -             -               -
412-700      Alt Rev - Adv/Sponsors                11,641         4,754           502               502           6,752             -                  525         3,025            525          5,525            525           525          34,801
412-800      Alt Rev - Promo Income                   -          21,750        26,000            26,000          33,250             -               21,750           -              -           21,750            -             -           150,500
             Total Spec Lease Income              190,908       178,334       115,323           122,810         142,807          98,179            126,768       108,084        105,429        135,412        129,702       146,244       1,600,000

          Total Rental Revenue                    917,090       874,819       827,229           825,946         861,964         824,897            852,747       860,995        854,918        901,962        938,945      1,129,908     10,671,420

          Expense Reimbursement
           Real Estate Taxes Reimb
421-100     R/E Tax Income-On Accou                46,789        46,789        46,789            46,789          46,789          46,789             46,789        46,789         46,789         46,789         46,789        35,732        550,407
421-500     R/E Tax Income-Prior Ye                   -             -             -                 -               -            40,268                -             -              -              -              -             -           40,268
            Total Real Estate Taxes Reimb          46,789        46,789        46,789            46,789          46,789          87,057             46,789        46,789         46,789         46,789         46,789        35,732        590,675

            Electric Income Reimb
423-700      Utility Consolidated                    375            375             375               375            375             375                 375        375            375            375         (33,045)          375         (28,918)
             Total Electric Income Reimb             375            375             375               375            375             375                 375        375            375            375         (33,045)          375         (28,918)

           Water/Sewer Inc Reimb
424-100     Water/Sewer Inc                         4,790         4,790         4,790             4,790            4,790           4,790             4,790         4,790          4,790          4,790          4,790         4,790         57,480
424-300     Prior Yr Water Inc                        -             -             -                 -                -               -                 -             -              -              -              -             -              -
            Total Water/Sewer Inc Reimb             4,790         4,790         4,790             4,790            4,790           4,790             4,790         4,790          4,790          4,790          4,790         4,790         57,480




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                                                          1               2               3                4                                6                    7                8               9              10               11               12
                                                                                                  12 Month Annual Budget Detail
                                                                                                                    11/2024

Account   Description                          January        February        March               April            May            June                July           August           September       October         November         December         Total


           HVAC Income Reimb
425-100     HVAC Income-On Acct                    48,215         47,976         47,976              47,976          47,976          47,976             47,976          47,976             47,976         47,976          47,976           47,976         575,954
425-400     HVAC Income-Prior Yr                      -              -              -                   -               -               -                  -               -                  -              -               -                -               -
            Total HVAC Income Reimb                48,215         47,976         47,976              47,976          47,976          47,976             47,976          47,976             47,976         47,976          47,976           47,976         575,954

           Miscellaneous Income Reimb
426-300     Trash Removal Income                     174             174              174                 174            174             174                 174           174               174            174              174              174            2,090
            Total Miscellaneous Income Reimb         174             174              174                 174            174             174                 174           174               174            174              174              174            2,090

           CAM Reimb Income
429-010     CAM Interior                            3,817          3,817          3,817               3,817           3,817           3,817              3,817           3,817              3,817          3,817           3,817            3,817           45,809
429-015     CAM Exterior                            4,559          9,895          4,588               4,588           4,588           4,588              4,588           4,588              4,588          4,588           4,588            4,588           60,334
429-025     CAM Inc OpExp-On Accoun                78,086         78,226         78,226              78,226          78,226          78,226             78,226          78,226             78,226         78,245          78,247           78,247          938,630
429-275     CAM Inc Op Exp-Prior Ye                   -              -              -                   -               -               -                  -               -                  -              -               -                -                -
            Total CAM Reimb Income                 86,463         91,938         86,631              86,631          86,631          86,631             86,631          86,631             86,631         86,650          86,653           86,653        1,044,773

           F/C CAM Reimb Income
431-100     F/C CAM Inc-On Account                   619             619              619                 619            619             619                 619           619               619            619              619              619            7,423
            Total F/C CAM Reimb Income               619             619              619                 619            619             619                 619           619               619            619              619              619            7,423

           Marketing Income
432-050     Marketing Fund Income                   2,070          2,070          2,070               2,070            2,070           2,070             2,070           2,118              2,118          2,123           2,124            2,127          25,097
            Total Marketing Income                  2,070          2,070          2,070               2,070            2,070           2,070             2,070           2,118              2,118          2,123           2,124            2,127          25,097

          Total Expense Reimbursement             189,494        194,730        189,423             189,423         189,423         229,692            189,423         189,472            189,472        189,496         156,079          178,446        2,274,575

           Miscellaneous Income
433-525     Misc Operating Income                     -               -               -                   -              -               -                   -                -               -              -                -                -                -
433-530     Cleanup Tool                              -               -               -                   -              -               -                   -                -               -              -                -                -                -
433-630     Unearned Rental Income                    -               -               -                   -              -               -                   -                -               -              -                -                -                -
433-640     Unapplied Cash                            -               -               -                   -              -               -                   -                -               -              -                -                -                -
            Total Miscellaneous Income                -               -               -                   -              -               -                   -                -               -              -                -                -                -

499-990   Total Revenues                        1,106,584       1,069,549     1,016,652            1,015,369       1,051,388       1,054,588          1,042,171       1,050,467         1,044,390      1,091,458        1,095,024        1,308,354      12,945,995




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                                                               1              2            3                4                                6                 7            8               9             10           11               12
                                                                                                   12 Month Annual Budget Detail
                                                                                                                     11/2024

Account   Description                                January       February       March            April            May            June                July        August       September       October        November      December        Total


          OPERATING EXPENSES
          RECOVERABLE EXPENSES
           Common Area Maintenance
            Administration
             Interior Administration
516-010       Admin-Pay/Wages                            12,451        11,648        30,531           12,489          12,905          12,489             12,905       12,905         12,489         12,905         12,489        12,905        169,111
516-020       Admin-Pay/Fringe Benefits                   1,571         1,362         6,141            1,580           1,689           1,580              1,689        1,689          1,580          1,689          1,580         1,689         23,839
516-050       Admin-Contracted Servic                     6,103         6,103         6,103            6,103           6,103           6,103              6,103        6,103          6,103          6,103          6,103         6,103         73,240
516-080       Admin-Office Supplies                         250           150           150              150             150             150                150          150            250            150            150           150          2,000
516-140       Admin-Equipment                               250         2,100           -                250             -               -                  250          -              -              -              250           -            3,100
516-190       Admin-Employee Recruiti                       -             -             -                -               -               -                  -            -              -              -              -             -              -
516-210       Admin-Telephone                             3,000         1,590         1,590            3,870           1,590           1,590              3,000        1,590          1,590          3,000          1,590         1,590         25,590
516-220       Admin-Postage                                 415           415           415              415             415             415                415          415            415            415            415           415          4,980
516-230       Admin-Travel Costs                            -             -             -                -               -               -                  -            -            2,500            -              -             -            2,500
516-240       Admin-Meals/Entertain                         -             -             -                -               -               -                  -            -              -              -              -           1,000          1,000
516-290       Admin-Music/Communicati                         55            55            55               55              55              55                 55           55             55             55             55            55           660
516-330       Admin-Computer Equip/Su                       -          13,745           -                -             2,745             500              1,275        2,745            -              -            2,745           500         24,256
516-340       Admin-Dues Memb & Subs                        400           -             250              -               -               -                  -            -              -              -              -             -              650
              Total Interior Administration              24,495        37,168        45,236           24,913          25,652          22,883             25,842       25,652         24,983         24,317         25,378        24,407        330,926

             Total Administration                        24,495        37,168        45,236           24,913          25,652          22,883             25,842       25,652         24,983         24,317         25,378        24,407        330,926

            Repairs & Maintenance
             Interior Repairs & Maintenance
512-010       R&M-Pay/Wages                              17,736        16,592        25,625           17,419          18,000          17,419             18,000       18,000         17,419         18,000         17,419        18,000        219,629
512-020       R&M-Pay/Fringe Benefits                     4,611         4,314         6,663            4,529           4,680           4,529              4,680        4,680          4,529          4,680          4,529         4,680         57,104
512-070       R&M-Supplies                                1,500         1,500         1,500            1,500           1,900           1,500              1,500        1,500          1,900          1,500          1,500         1,500         18,800
512-140       R&M-Plumbing Supplies                         -             250           -                -               250             -                  -            250            -              -              250           -            1,000
512-280       R&M-HVAC Service                              -           4,000           -                -            34,000          10,000                -            -            4,000         34,000         10,000           -           96,000
512-290       R&M-Elev&Escalator                          7,350         7,000         9,500            7,000           7,000           9,500              7,000        7,000          9,500          7,000          7,000         9,500         94,350
512-300       R&M-Fire Supp/Sprinkler                    17,200           -           8,990              -             8,000           5,000              1,000          -           16,290          7,750          1,000         5,000         70,230
512-320       R&M-Lighting                                  -             -           2,000              -               -               -                  -          2,000            -              -              -             -            4,000
512-330       R&M-Plumbing                                  -             400         2,500              -               400           2,500                -            -            2,500            400            -           2,900         11,600
512-340       R&M-Electric                                  -           2,500           -                -               -               -                  -          2,500            -              -              -             -            5,000
512-360       R&M-Building                                1,200           -             100            1,100             100             -                1,200          -              200          1,000            225           -            5,125
512-380       R&M-Doors/Glazing/Glass                     2,500           -             -              2,500             -               -                2,500          -              -            2,500            -             -           10,000
512-390       R&M-Tiles & Flooring                          -             -             -                -               -               -                  -          2,000            -              -              -             -            2,000
512-420       R&M-Holiday Decor                             -             -             -                -               -               -                  -            -              -              -              -          16,000         16,000
              Total Interior Repairs & Maintenance       52,098        36,556        56,878           34,048          74,330          50,448             35,880       37,930         56,338         76,830         41,923        57,580        610,838

             Exterior Repairs & Maintenance
521-118       R&M-Vehicles                                  100           -             -                -               250              -                 -            -              -              250            -             -              600
521-129       R&M-Roof                                      -             -             -                -             2,500              -                 -            -              -              -              -           2,500          5,000
521-132       R&M-Parking lights                            -             -             -              2,500             -                -                 -            -              -            2,500            -             -            5,000
521-133       R&M-Parking Lot                               -           3,000         3,000            3,000             500              500               500          -           20,000            -              -             -           30,500
521-136       R&M-Sweeping                                  -             -             -              2,000           2,000            2,000             2,000        2,000          2,000          2,000          2,000         2,000         18,000
521-137       R&M-Building                                  -             -             -                -             6,000              -                 -            -              -              -              -             -            6,000
521-139       R&M-Sidewalks & Curbs                         -             -             -                -               -                -                 -          6,000            -              -              -             -            6,000
              Total Exterior Repairs & Maintenance          100         3,000         3,000            7,500          11,250            2,500             2,500        8,000         22,000          4,750          2,000         4,500         71,100




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                                                                                             Shoppes at Buckland Hills, LLC * Manchester, CT 06042
                                                          1              2               3                4                                6                    7                8               9              10           11              12
                                                                                                 12 Month Annual Budget Detail
                                                                                                                   11/2024

Account   Description                          January        February       March               April            May            June                July           August           September       October         November     December        Total


             Snow Removal
521-134       R&M-Snow - Parking Lot (Fixed)       73,000         73,000        73,000                   -              -               -                   -                -               -              -            73,000       73,000        365,000
              TOTAL Snow Removal                   73,000         73,000        73,000                   -              -               -                   -                -               -              -            73,000       73,000        365,000

             Total Repairs & Maintenance          125,198        112,556       132,878              41,548          85,580          52,948             38,380          45,930             78,338         81,580         116,923      135,080      1,046,938

           Cleaning
            Interior Cleaning
511-225      Cleaning-Contracted Ser               33,803         33,803        41,541              33,803          33,803          41,541             34,190          35,351             43,476         35,351          35,351       43,089        445,104
511-250      Cleaning-Supplies                      4,000          4,000         4,000               4,000           4,000           4,000              4,000           4,000              4,000          4,000           4,000        4,000         48,000
511-375      Cleaning-Equiprnent                      800            800           800                 800             800           2,800                800             800                800            800             800        2,800         13,600
511-525      Clean-Pest Control                       360            360           360                 360             360             360                360             360                360            360             360          360          4,320
             Total Interior Cleaning               38,963         38,963        46,701              38,963          38,963          48,701             39,350          40,511             48,636         40,511          40,511       50,249        511,024

             Total Cleaning                        38,963         38,963        46,701              38,963          38,963          48,701             39,350          40,511             48,636         40,511          40,511       50,249        511,024

           Security
            Interior Security
514-125      Security-Contract Servi               56,689         56,689        70,804              56,689          56,900          71,016             56,689          56,900             70,804         56,689          58,172       73,770        741,809
514-150      Security-Other Services                  -              -             -                   -               -               -                  -               -                  -              -             2,500        9,000         11,500
514-175      Security-Supplies                        -              -             -                   -               -             1,000                -               -                  -              -               -          1,000          2,000
             Total Interior Security               56,689         56,689        70,804              56,689          56,900          72,016             56,689          56,900             70,804         56,689          60,672       83,770        755,309

             Exterior Security
523-050       Security-Contract Servi               6,299          6,299         7,867                6,299           6,322           7,891             6,299           6,322              7,867          6,299           6,464        8,197         82,423
523-160       Security-Vehicles                     1,300          1,300         1,300                1,300           1,300           1,300             1,300           1,300              1,300          1,300           2,800        2,800         18,600
              Total Exterior Security               7,599          7,599         9,167                7,599           7,622           9,191             7,599           7,622              9,167          7,599           9,264       10,997        101,023

             Total Security                        64,287         64,287        79,971              64,287          64,523           81,206            64,287          64,523             79,971         64,287          69,935       94,767        856,332

            Utilities
             Interior Utilities
515-150       Utilities-Electricity                49,000         51,300        51,800              50,500          47,000          48,900             56,500          56,300             52,600         53,300          46,000       43,500        606,700
515-300       Utilities-Water & Sewer              11,000          9,500        12,500              12,000          12,000          14,500             16,000          17,000             12,000         10,000           9,500       13,000        149,000
              Total Interior Utilities             60,000         60,800        64,300              62,500          59,000          63,400             72,500          73,300             64,600         63,300          55,500       56,500        755,700

             Total Utilities                       60,000         60,800        64,300              62,500          59,000          63,400             72,500          73,300             64,600         63,300          55,500       56,500        755,700

           Landscaping
            Interior Landscaping
513-250      Landscape-Contr Service                 800             800             800                 800            800             800                 800          800                 800           800              800         800           9,600
513-550      Landscape-Seasonal                      -               -               -                   -              500             -                   -            -                   500           -              2,500         -             3,500
             Total Interior Landscaping              800             800             800                 800          1,300             800                 800          800               1,300           800            3,300         800          13,100

             Exterior Landscaping
522-250       Landscape-Contr Service                 -              -               -               9,700           9,700            9,700             9,700           9,700              9,700          9,700           9,700          -           77,600
522-550       Landscape-Misc                          -              -               -                 -             6,000              -                 -               -                  -            6,000             -            -           12,000
              Total Exterior Landscaping              -              -               -               9,700          15,700            9,700             9,700           9,700              9,700         15,700           9,700          -           89,600




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                                                                                        Shoppes at Buckland Hills, LLC * Manchester, CT 06042
                                                       1              2             3                4                                6                 7            8               9             10           11               12
                                                                                            12 Month Annual Budget Detail
                                                                                                              11/2024

Account   Description                        January       February       March             April            May            June                July        August       September       October        November      December        Total


            Total Landscaping                       800           800             800          10,500          17,000          10,500             10,500       10,500         11,000         16,500         13,000          800         102,700

          Total Common Area Maintenance         313,744       314,575       369,886           242,711         290,718         279,639            250,859      260,416        307,528        290,495        321,247       361,802      3,603,620



           Taxes
            Real Estate Taxes
594-200      Real Estate Taxes                  252,782       252,782       252,782           252,782         252,782         252,782            260,366      260,366        260,366        260,366        260,366       260,366      3,078,889
             Total Real Estate Taxes            252,782       252,782       252,782           252,782         252,782         252,782            260,366      260,366        260,366        260,366        260,366       260,366      3,078,889

            Total Taxes                         252,782       252,782       252,782           252,782         252,782         252,782            260,366      260,366        260,366        260,366        260,366       260,366      3,078,889



           Insurance
518-100     Other Oper-Liability Insurance       13,682        13,682        13,682            13,682          13,682          13,682             13,682       13,682         14,092         14,092         14,092        14,092        165,826
518-500     Other Oper-Property Insurance        27,779        27,779        27,779            27,779          27,779          27,779             27,779       27,779         28,612         28,612         28,612        28,612        336,677
            Total Insurance                      41,461        41,461        41,461            41,461          41,461          41,461             41,461       41,461         42,704         42,704         42,704        42,704        502,503

           Promotional Services
            Marketing
571-001      Marketing-Pay/Wages                  5,929         5,546        16,607             5,910           6,107           5,910              6,107        6,107          5,910          6,107          5,910         6,107         82,256
571-002      Marketing-Pay/Fringe Benefits        1,542         1,442         4,318             1,537           1,588           1,537              1,588        1,588          1,537          1,588          1,537         1,588         21,387
571-006      Marketing-Supplies                     500           -             -                 500             -               500              1,000          -            1,000          3,000          1,000           -            7,500
571-009      Marketing-Seasonal                     -             -             -                 -               -            10,000                -            -              -              -              -             -           10,000
571-010      Marketing-Mgmt Expenses                100           100           100               100             100             100                100          100          3,600            100            100           100          4,700
571-017      Marketing-Dues&Subscrip                -             -             500               -               -               500                -            220            520              20             20        2,150          3,930
571-018      Marketing-Tenant Promotions              10          510           510                 10            510               10                 10       1,010              10           310          1,510         5,310          9,720
571-019      Marketing - Display                    -             -           1,500               500           5,000             -                  500          -            2,000            500            -             -           10,000
571-021      Marketing-Merchant Comm                -             -             250               -               -               -                  -            -              -              250            -             -              500
571-022      Marketing-Print Production             -             200           300               -               100             -                  100          -              -              300            -             -            1,000
571-026      Marketing-Special Event              1,150         3,650         2,650             7,500             150           1,500              1,650        8,000          3,000          5,390          6,000        19,500         60,140
571-028      Marketing-Leasing Suppo              1,000           -             -                 -               -               -                  -            -              -              -              -             -            1,000
             Total Marketing                     10,231        11,449        26,735            16,056          13,555          20,056             11,055       17,025         17,576         17,565         16,076        34,755        212,132

            Advertising
572-003      Advertising - Web/Digital              805           805           805             5,805              805             805               805          805            805            805            805           805         14,660
572-004      Advertising-Radio                      -             -             -                 -                -               -                 -            -              -            5,000          5,000         5,000         15,000
572-009      Advertising-Social Media               250           700           400               900              400           1,600               400          700            400            700          2,200         3,200         11,850
             Total Advertising                    1,055         1,505         1,205             6,705            1,205           2,405             1,205        1,505          1,205          6,505          8,005         9,005         41,510

            Total Promotional Services           11,286        12,954        27,940            22,761          14,760          22,461             12,260       18,530         18,781         24,070         24,081        43,760        253,642




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                                                              1              2               3                4                                6                    7                8               9              10              11              12
                                                                                                     12 Month Annual Budget Detail
                                                                                                                       11/2024

Account   Description                              January        February       March               April            May            June                July           August           September       October         November        December        Total


           Specialty Leasing Expenses
561-001     Spec Lease-Pay/Wages                       10,404          9,733        10,404              10,069          10,404          10,069             10,404          10,404             10,069         10,404          16,421          10,404        129,192
561-002     Spec Lease-Pay/Fringe Benefits              2,705          2,531         2,705               2,618           2,705           2,618              2,705           2,705              2,618          2,705           4,270           2,705         33,590
561-005     Spec Lease-Equip                            1,000          1,000         1,000               1,000           1,000           1,000              1,000           1,000              1,000          1,000           1,000           1,000         12,000
561-006     Spec Lease-Mgmt Expense                       500            500         1,500                 500             500           2,000                500             500                500            500             500             500          8,500
561-007     Spec Lease-Office Expen                       100            100           100                 100             100             100                100             100                100            100             100             100          1,200
561-008     Spec Lease-Merchandisin                       -              200           -                   200             -               200                -               200                -              200             500             -            1,500
561-009     Spec Leasing-Promo Exp.                       -              500           -                   -               500             -                  -               500                -              500             500             -            2,500
            Total Specialty Leasing Expenses           14,710         14,564        15,710              14,487          15,210          15,987             14,710          15,410             14,287         15,410          23,291          14,710        188,483

          Food Court Maintenance
           F/C Cleaning
531-050     F/C CAM-Clean-Cont Serv                    19,853         19,853        24,397              19,853          19,853          24,397             20,080          20,762             25,533         20,762          20,762          25,306        261,410
            Total FC Cleaning                          19,853         19,853        24,397              19,853          19,853          24,397             20,080          20,762             25,533         20,762          20,762          25,306        261,410

             Total Food Court Maintenance              19,853         19,853        24,397              19,853          19,853          24,397             20,080          20,762             25,533         20,762          20,762          25,306        261,410

            Reimbursable Tenant Utilities
            Reimbursable HVAC
541-005      HVAC Util-Cont Serv                          -            5,000           -                   -               -             5,000                -               -                5,000            -             5,000             -           20,000
541-019      HVAC Util-Prof Fees                        1,000          1,000         1,000               1,000           1,000           1,000              1,000           1,000              1,000          1,000           1,000           1,000         12,000
541-023      HVAC Util-Plant Elect                     58,000         63,000        65,000              63,500          57,500          59,000             57,000          65,000             64,500         64,500          56,000          55,000        728,000
             Total Reimbursable HVAC                   59,000         69,000        66,000              64,500          58,500          65,000             58,000          66,000             70,500         65,500          62,000          56,000        760,000

           Reimbursable Electric
551-009     Elect-Util-Misc                             2,550          2,550         2,600               2,500            2,450          2,350              2,550           2,500              2,500          2,550           2,400           2,500         30,000
551-011     Water-Utilities Exp                         6,500          5,400         7,500               8,000            7,000          8,500              9,500           9,500              7,000          5,000           5,000           7,100         86,000
            Total Reimbursable Electric                 9,050          7,950        10,100              10,500            9,450         10,850             12,050          12,000              9,500          7,550           7,400           9,600        116,000

             Total Reimbursable Tenant Utilities       68,050         76,950        76,100              75,000          67,950          75,850             70,050          78,000             80,000         73,050          69,400          65,600        876,000

          TOTAL RECOVERABLE EXPENSES                  721,885        733,138       808,275             669,055         702,733         712,577            669,785         694,943            749,200        726,856         761,851         814,248      8,764,547

          NON-RECOVERABLE EXPENSES
           Property Management
681-100     Management Fees                            25,021         24,384        24,656              24,373          24,466          25,869             24,803          25,747             25,542         25,543          25,988          31,399        307,791
            Total Property Management                  25,021         24,384        24,656              24,373          24,466          25,869             24,803          25,747             25,542         25,543          25,988          31,399        307,791

           Professional Fees
673-500     Legal-Collection/Litigation Fees              -              -               -                   -              -               -                   -                -               -              -               -               -                -
675-000     Prof Fees-Other                               -              -               -                   -              -               190                 -                -               -              -               -               -                190
            Total Professional Fees                       -              -               -                   -              -               190                 -                -               -              -               -               -                190




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                                                                 1              2           3                4                                6                    7                8               9              10              11              12
                                                                                                    12 Month Annual Budget Detail
                                                                                                                      11/2024

Account   Description                                 January        February       March           April            May            June                July           August           September       October         November        December        Total


           Owner's Repairs & Maintenance
611-013     Owner's R&M-Temp Servic                          -              -             350               -              -               350                 -                -               350            -               -               350          1,400
611-017     Owner's R&M-Roof                                 -              -           5,000               -              -             5,000                 -                -             5,000            -               -            18,000         33,000
611-022     Owner's R&M-Mechanical                           -              -             -                 -              -               -                   -                -               -              -               -             5,000          5,000
611-024     Owner's R&M-Tenant Spac                          -              -             -                 -              -               -                   -                -               -              -               -             8,000          8,000
            Total Owner's Repairs & Maintenance              -              -           5,350               -              -             5,350                 -                -             5,350            -               -            31,350         47,400

           Owner's Utilities
630-002     Owner's Util-Electric                          9,500         10,500         9,500          11,500          10,500          11,500             11,500          11,500             11,500         10,500          10,000          11,000        129,000
630-004     Owner's Util-Gas                               2,500          2,000         1,500             350             200             200                200             200                200          2,000           2,000           2,500         13,850
630-005     Owner's Util-Water/Sewe                           65             65            65              65              65              65                 65              65                 65             65              65              65            780
            Total Owner's Utilities                       12,065         12,565        11,065          11,915          10,765          11,765             11,765          11,765             11,765         12,565          12,065          13,565        143,630

           Owner's Administrative Expenses
650-013     Owner's Adm-Mgmt Exp                             -              -             -               -                -               -                 -               -                  -              -               -               -              -
650-017     Owner's AdmTravel Costs                          -              -           1,500             -                -             1,500               -               -                1,500            -               -             1,500          6,000
650-020     Owner's AdmBad Debt Exp                          -              -             -               -                -               -                 -               -                  -              -               -               -              -
650-021     Owner's Adm-Bank Fees                            750            750           750             750              750             750               750             750                750            750             750             750          9,000
650-032     Personal Property Tax                          6,598          6,598         6,598           6,598            6,598           6,598             6,796           6,796              6,796          6,796           6,796           6,796         80,361
            Total Owner's Administrative Expenses          7,348          7,348         8,848           7,348            7,348           8,848             7,546           7,546              9,046          7,546           7,546           9,046         95,361

          TOTAL NON-RECOVERABLE EXPENSES                  44,434         44,297        49,919          43,636          42,578          52,022             44,113          45,058             51,703         45,653          45,598          85,360        594,372

699-998   TOTAL OPERATING EXPENSES                       766,318        777,435       858,194         712,691         745,312         764,599            713,899         740,001            800,903        772,510         807,450         899,608      9,358,919

699-999   NET OPERATING INCOME                           340,266        292,114       158,458         302,678         306,076         289,990            328,272         310,466            243,487        318,949         287,575         408,745      3,587,076

           Leasing/Legal/Other Expenses
701-200     Leasing Commissions                           19,314         54,833        21,920           4,788          80,411             -                  -            80,411                -              -               -             7,200        268,876
701-300     Leasing Commissions - Specialty Leasing       15,273         14,267         9,226           9,825          11,425           7,854             10,141           8,647              8,434         10,833          10,376          11,700        128,000
701-625     Leasing Exp-Misc                                 -              -             -               -               -               -                  -               -                  -              -               -               -              -
701-675     Lease Exp-ICSC Conventi                          -              -          14,480             -               -               -                  -               -                  -           13,650             -               -           28,130
701-700     Legal Leasing                                 20,000         27,000        15,000             -            14,000             -                  -               -                  -              -               -             3,000         79,000
701-725     Rent ConcsnFree/Step Rn                        5,833          5,833         5,833           5,833          18,333          18,333             12,500          12,500             12,500         12,500          12,500          12,500        135,000
            Total Leasing/Legal/Other Expenses            60,420        101,933        66,460          20,446         124,169          26,188             22,641         101,557             20,934         36,983          22,876          34,400        639,006



          NET INCOME                                     279,846        190,181        91,998         282,232         181,907         263,802            305,631         208,909            222,553        281,966         264,698         374,346      2,948,069

          NET CASH FLOW AFTER CAPITAL                    279,846        190,181        91,998         282,232         181,907         263,802            305,631         208,909            222,553        281,966         264,698         374,346      2,948,069




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                                                              TRIAL BALANCE
                                                                     11/2024

Account   Description                                                 Forward Balance          Debit            Credit         Ending Balance
102-100   Property Level Cash - Operations                                   668,607.53          365,617.98              -         1,034,225.51
102-300   Property Level Cash - Lockbox                                      177,710.55                 -          38,521.49         139,189.06
102-500   Property Level Cash - Operations 2                                     250.00                 -                -               250.00
102-800   Property Level Cash - Prior Mgmt Lender                             61,073.74                 -                -            61,073.74
104-300   Tax Escrow                                                        (499,774.54)                -                -          (499,774.54)
104-400   Deferred/Env/Other Escrow                                       11,431,268.67                 -                -        11,431,268.67
104-510   Immediate Repairs Escrow                                            50,606.14                 -                -            50,606.14
104-520   Tenant Allowance Escrow                                          1,304,434.29                 -                -         1,304,434.29
104-800   Repair and Replacement Escrow                                       80,280.00                 -                -            80,280.00
111-025   A/R - Base Rent                                                  1,485,678.92          101,146.92              -         1,586,825.84
111-030   A/R - Straight Line Rent Receivable                              1,673,038.69                 -                -         1,673,038.69
111-035   A/R - Holdover Contra Account                                     (100,728.05)                -                -          (100,728.05)
111-040   A/R - COVID                                                         48,711.24                 -                -            48,711.24
111-045   AR – Deferred Rent                                                 (21,445.00)                -                -           (21,445.00)
111-050   A/R-Percentage Rent                                                118,214.70                 -                -           118,214.70
111-075   A/R-Tenant Other                                                   178,164.63                 -                -           178,164.63
111-080   A/R - Bankruptcy PrePetition                                       (21,362.50)                -                -           (21,362.50)
111-125   A/R - Unapplied Receipts                                          (214,406.10)                -          50,036.22        (264,442.32)
111-150   A/R - Specialty Leasing                                            120,000.00                 -                -           120,000.00
111-225   A/R - Real Estate Taxes                                             68,382.00                 -                -            68,382.00
111-275   A/R Clearing-General                                                60,800.89                 -                -            60,800.89
111-450   A/R - Promotions Expens                                             (3,575.15)                -                -            (3,575.15)
111-475   Allow for Bad Debts-Ten                                         (1,065,289.68)                -          11,149.23      (1,076,438.91)
112-025   Accrued % in Lieu                                                   35,337.94           14,535.13              -            49,873.07
112-075   Accrued Overage Rent                                               136,684.31                 -          58,753.75          77,930.56
112-225   Accrued R/E Taxes                                                 (382,126.00)                -                -          (382,126.00)
112-250   Accrued Utilities                                                   36,500.00                 -                -            36,500.00
112-275   Accrued HVAC                                                      (115,760.00)                -                -          (115,760.00)
120-500   Prepaid R/E Taxes                                                         -                   -                -                  -
120-700   Prepaid P-Card                                                         818.74            2,092.93              -             2,911.67
121-000   Prepaid Insurance                                                    6,585.00           18,688.53              -            25,273.53
123-000   Misc Prepaid Exp                                                    (5,500.00)                -                -            (5,500.00)
136-000   Deposits Paid                                                       12,376.64                 -                -            12,376.64
137-560   Leasing Fees - Prior owner                                         157,304.20                 -                -           157,304.20
140-500   Land Held for Developme                                         17,787,561.74                 -                -        17,787,561.74
141-000   Land Improve                                                    54,867,353.31                 -                -        54,867,353.31
141-050   Parking Lot Repairs                                                104,573.71                 -                -           104,573.71
142-100   Capitalized Period Interest                                          7,168.32                 -                -             7,168.32
152-002   HVAC Replacement                                                   531,748.94                 -                -           531,748.94
152-003   WIP                                                                483,202.32            8,351.17              -           491,553.49
152-007   Roof Replacement                                                   626,263.01                 -                -           626,263.01
152-025   Bldg Improvements                                                   66,097.20                 -                -            66,097.20
152-250   Exterior Signage & Grap                                             40,754.75                 -                -            40,754.75
152-285   Interior Lighting                                                   66,908.92                 -                -            66,908.92
152-450   Fire Sprinklers                                                     35,140.17                 -                -            35,140.17
152-625   Interior Other                                                     189,405.91                 -                -           189,405.91
161-050   Furniture, Fixt & Equip                                             80,430.37                 -                -            80,430.37
161-200   Security Equipment                                                   1,068.73                 -                -             1,068.73
161-350   Mall Office Improvement                                            326,383.17                 -                -           326,383.17
161-450   HVAC Retrofit                                                      947,852.03                 -                -           947,852.03
161-500   Maint Equipment                                                    441,025.58                 -                -           441,025.58
161-700   Vehicles                                                             4,104.20                 -                -             4,104.20
161-750   Other Property & Equip                                             206,138.56                 -                -           206,138.56
162-100   Tenant Allowance                                                 2,637,974.66                 -                -         2,637,974.66
162-101   Tenant Allowance - 1                                               140,000.00                 -                -           140,000.00




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                                                            TRIAL BALANCE
                                                                   11/2024

Account   Description                                               Forward Balance          Debit            Credit         Ending Balance
162-300   Tenant Improvement LLW                                            417,829.03                -                -           417,829.03
170-500   Accum Deprec-Land Impro                                          (147,989.68)               -                -          (147,989.68)
170-600   Accum Deprec - Interest Prior Owner                                  (211.05)               -                -              (211.05)
171-000   Accum Deprec-Building                                          (1,470,817.70)               -                -        (1,470,817.70)
172-000   Accum Deprec-Bldg Impro                                           (92,526.80)               -                -           (92,526.80)
173-000   Accum Deprec-Environ Re                                              (987.43)               -                -              (987.43)
173-500   Accum Deprec-FF&E                                                 (47,801.13)               -                -           (47,801.13)
174-000   Accum Dep-Mall Office I                                           (42,531.81)               -                -           (42,531.81)
175-000   Accum Dep-HVAC Retrofit                                           (61,591.36)               -                -           (61,591.36)
175-500   Accum Dep Equip                                                   (51,841.75)               -                -           (51,841.75)
176-500   Accum Deprec-Vehicles                                              (4,050.75)               -                -            (4,050.75)
178-000   Accum Dep-Tenant Imp In                                          (372,874.94)               -                -          (372,874.94)
181-160   Cap Legal Fees-Other                                                  463.26                -                -               463.26
181-165   Const Mgmt Fees                                                    82,574.50                -           8,351.17          74,223.33
181-187   Other Leasing Costs                                                89,668.11                -                -            89,668.11
181-275   Misc Deferred Charges                                             468,255.59                -                -           468,255.59
181-325   Acc Amort - Cap. Intere                                           (63,885.42)               -                -           (63,885.42)
181-350   Accum Amort-Rent Conces                                          (332,667.59)               -                -          (332,667.59)
181-360   Accum Amort - PV Legal (SFAS 1)                                      (140.14)               -                -              (140.14)
181-400   Accum Amort-Other Leasi                                            (9,788.73)               -                -            (9,788.73)
181-500   Impairment-Accum Amort-In Place Leases                             (3,741.63)               -                -            (3,741.63)
192-025   Above market leases                                                 1,838.83                -                -             1,838.83
192-100   Lease In Place value                                               10,530.18                -                -            10,530.18
211-100   A/P - Trade                                                      (367,012.05)               -          32,587.53        (399,599.58)
211-190   A/P Other                                                          (3,318.00)               -                -            (3,318.00)
212-025   Accrued Payroll                                                   (22,422.02)          2,063.28              -           (20,358.74)
212-125   Accrued Insurance                                                  23,760.41                -                -            23,760.41
212-150   Accrued Utilities                                                (771,870.00)               -                -          (771,870.00)
212-175   Accrued R/E Taxes                                              (5,276,980.16)               -         267,161.56      (5,544,141.72)
212-275   Accrued Operating Exp.                                           (327,404.94)         10,683.92              -          (316,721.02)
213-050   Accd Int Payable-1st Mo                                        (7,701,870.05)               -                -        (7,701,870.05)
213-993   Accrued Expense-Misc                                                 (120.22)               -                -              (120.22)
213-996   Intercompany Payable                                             (593,759.14)               -                -          (593,759.14)
214-500   Unearned Rental Income                                           (377,229.57)               -          35,777.72        (413,007.29)
214-750   Unapplied Cash Receipts                                           (72,649.16)               -                -           (72,649.16)
214-992   Deferred Income                                                   (32,224.00)               -                -           (32,224.00)
215-100   Security Deposits - Held                                         (229,208.88)               -           6,666.67        (235,875.55)
215-300   Security Deposits - Temp Tenants                                  (86,653.32)               -                -           (86,653.32)
215-400   Misc Sec Deposits                                                 (31,250.00)               -           1,500.00         (32,750.00)
216-100   Other Liabilities                                                 (77,586.44)               -                -           (77,586.44)
216-101   Due to / from SMG                                                  56,000.03                -                -            56,000.03
216-200   Sales Tax Payable                                                 (10,899.00)               -                -           (10,899.00)
216-600   Def'd Liabilities                                                 (53,067.22)               -                -           (53,067.22)
216-750   Due To Prior Owner                                                (43,612.36)               -                -           (43,612.36)
216-810   Due To Management (IC)                                                   -                  -                -                  -
216-815   Due To/From Suspense (IC)                                                -                  -                -                  -
220-500   Mtg Loans Repy/amt                                           (109,679,178.21)               -                -      (109,679,178.21)
231-500   Cons Loans Payable                                                (20,966.51)               -                -           (20,966.51)
241-020   Reserve Payable - Cap Ex                                         (547,300.00)               -                -          (547,300.00)
241-040   Deferred Financing Costs                                          324,817.23                -                -           324,817.23
300-500   Retained Earnings                                              59,026,190.20                -                -        59,026,190.20
301-500   Owner's Equity                                                (26,448,345.05)               -                -       (26,448,345.05)
303-000   Distributions from Owner/NonCash                               (1,967,774.64)               -                -        (1,967,774.64)
303-500   Distributions from Owner/Cash                                 (12,843,791.77)               -                -       (12,843,791.77)
305-500   Distributions to Owner-Noncash                                     12,242.68                -                -            12,242.68




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                                                             TRIAL BALANCE
                                                                    11/2024

Account   Description                                                Forward Balance          Debit            Credit         Ending Balance
306-000   Distributions to Owner-Cash                                    19,021,088.57          146,317.00              -        19,167,405.57
306-100   Distributions to Owner-Cash/Prior Owner                         7,703,348.77                 -                -         7,703,348.77
306-500   Other Equity                                                   (9,969,961.88)                -                -        (9,969,961.88)
410-200   Base/Minimum Rent                                              (6,478,737.31)                -         632,445.12      (7,111,182.43)
410-400   Base Rent - Prior Year                                            334,682.79                 -                -           334,682.79
411-100   Pct in Lieu of Base                                              (391,820.93)                -          47,751.47        (439,572.40)
411-200   Prior Yr Percent in Lieu                                         (168,946.84)                -                -          (168,946.84)
411-300   Prcntge Rent-On Account                                          (230,648.88)          40,450.03              -          (190,198.85)
411-600   Percentage Rent-Prior Y                                             6,152.06                 -                -             6,152.06
412-050   Spec Lease Income-RMU                                             (64,549.01)                -           9,167.00         (73,716.01)
412-075   Spec Lease Income-TILS                                           (608,031.60)                -          68,850.25        (676,881.85)
412-100   Temp Tenant Contracted services                                       (45.00)                -                -               (45.00)
412-125   Spec Lease Income-Kiosk                                           (94,783.87)                -           7,400.00        (102,183.87)
412-175   Spec Lease Income-Pct R                                           (28,054.58)                -           1,441.91         (29,496.49)
412-250   Spec Lease Income-CAM Reimb                                        (4,160.00)                -             416.00          (4,576.00)
412-425   Spec Lease Income-Other Reimb                                     (62,376.19)                -           5,994.28         (68,370.47)
412-450   Spec Lease Income-Vending Inco                                   (105,794.91)                -           8,383.00        (114,177.91)
412-475   Spec Lease Income-Prior Yea                                        (6,813.26)                -                -            (6,813.26)
412-550   Spec Lease Income-Storage Inco                                    (60,587.04)                -           9,281.46         (69,868.50)
412-600   Spec Lease Income-Misc                                            (67,862.60)                -           4,622.00         (72,484.60)
412-610   Spec Lease Income-Unapplied                                         7,729.49                 -             250.00           7,479.49
412-625   Spec Lease Income–Late Fee                                            (75.00)                -                -               (75.00)
412-700   Alt Rev - Adv/Sponsors                                           (147,700.00)                -           1,125.00        (148,825.00)
412-800   Alt Rev - Promo Income                                             (7,800.00)                -                -            (7,800.00)
421-100   R/E Tax Income-On Accou                                          (515,116.17)                -          47,618.23        (562,734.40)
421-500   R/E Tax Income-Prior Ye                                            96,247.47                 -                -            96,247.47
423-700   Utility Consolidated                                               44,259.81                 -             381.89          43,877.92
424-100   Water/Sewer Inc                                                   (49,869.00)                -           4,697.00         (54,566.00)
424-300   Prior Yr Water Inc                                                   (296.00)                -                -              (296.00)
425-100   HVAC Income-On Acct                                              (440,424.63)                -          41,671.21        (482,095.84)
425-400   HVAC Income-Prior Yr                                               24,983.36                 -                -            24,983.36
426-300   Trash Removal Income                                               (1,741.70)                -             174.17          (1,915.87)
429-010   CAM Interior                                                      (38,173.80)                -           3,817.38         (41,991.18)
429-015   CAM Exterior                                                      (51,158.35)                -           4,588.04         (55,746.39)
429-025   CAM Inc OpExp-On Accoun                                          (782,049.07)                -          79,385.54        (861,434.61)
429-275   CAM Inc Op Exp-Prior Ye                                            76,452.19                 -                -            76,452.19
431-100   F/C CAM Inc-On Account                                             (6,186.00)                -             618.60          (6,804.60)
432-050   Marketing Fund Income                                             (20,824.69)                -           2,336.18         (23,160.87)
433-525   Misc Operating Income                                              (9,701.13)                -             107.80          (9,808.93)
433-530   Cleanup Tool                                                           56.87                0.02              -                56.89
433-640   Unapplied Cash                                                     (8,436.17)                -                -            (8,436.17)
433-650   Late Fee Income                                                    (2,994.10)                -                -            (2,994.10)
511-225   Cleaning-Contracted Ser                                           414,666.93           41,192.31              -           455,859.24
511-250   Cleaning-Supplies                                                  52,080.08            6,771.68              -            58,851.76
511-375   Cleaning-Equiprnent                                                 5,042.54              682.85              -             5,725.39
511-525   Clean-Pest Control                                                  9,973.84           11,061.48              -            21,035.32
512-010   R&M-Pay/Wages                                                     147,724.24            7,746.36              -           155,470.60
512-020   R&M-Pay/Taxes                                                      11,527.14              581.12              -            12,108.26
512-030   R&M-Pay/Benefits                                                    5,863.85            1,991.71              -             7,855.56
512-040   R&M-Work Comp                                                       3,219.26              322.30              -             3,541.56
512-070   R&M-Supplies                                                        6,110.30              542.78              -             6,653.08
512-140   R&M-Plumbing Supplies                                               1,309.01                 -                -             1,309.01
512-190   R&M-Mgmt Expense                                                      166.00                 -                -               166.00
512-280   R&M-HVAC Service                                                  133,365.85            1,186.76              -           134,552.61
512-290   R&M-Elev&Escalator                                                 88,939.45            6,562.19              -            95,501.64




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                                                          TRIAL BALANCE
                                                                 11/2024

Account   Description                                             Forward Balance          Debit            Credit         Ending Balance
512-300   R&M-Fire Supp/Sprinkler                                         48,141.26            8,535.66              -            56,676.92
512-320   R&M-Lighting                                                     1,174.02                 -                -             1,174.02
512-330   R&M-Plumbing                                                    50,383.56            2,111.30              -            52,494.86
512-340   R&M-Electric                                                     2,606.03                 -                -             2,606.03
512-360   R&M-Building                                                     1,282.04                 -                -             1,282.04
512-380   R&M-Doors/Glazing/Glass                                            947.25                 -                -               947.25
512-410   R&M-Dues, Memb & Subs                                              319.05                 -                -               319.05
512-420   R&M-Holiday Decor                                                     -             15,856.79              -            15,856.79
513-250   Landscape-Contr Service                                          7,258.40              725.84              -             7,984.24
514-125   Security-Contract Servi                                        582,701.61           64,637.56              -           647,339.17
514-150   Security-Other Services                                           (766.54)                -                -              (766.54)
514-175   Security-Supplies                                                4,390.93                 -                -             4,390.93
515-150   Utilities-Electricity                                          484,107.89           23,968.42              -           508,076.31
515-300   Utilities-Water & Sewer                                        144,742.54                 -           1,892.33         142,850.21
516-010   Admin-Pay/Wages                                                141,565.78           11,971.25              -           153,537.03
516-020   Admin-Pay/Taxes                                                 10,962.23              898.06              -            11,860.29
516-030   Admin-Pay/Benefits                                               1,934.47            1,401.89              -             3,336.36
516-040   Admin-Work Comp                                                  1,286.94              388.71              -             1,675.65
516-050   Admin-Contracted Servic                                          2,871.99              240.94              -             3,112.93
516-051   Admin-Contracted Service SRG                                    58,333.40            5,833.34              -            64,166.74
516-080   Admin-Office Supplies                                            1,418.44              108.91              -             1,527.35
516-130   Admin-Temporary Service                                            475.31                 -                -               475.31
516-140   Admin-Equipment                                                  2,497.30                 -                -             2,497.30
516-150   Admin-Equipment Rent                                               980.65                 -                -               980.65
516-180   Admin-Mgmt Expenses                                                427.80              165.44              -               593.24
516-210   Admin-Telephone                                                 18,882.53            1,454.71              -            20,337.24
516-220   Admin-Postage                                                    2,639.60              135.98              -             2,775.58
516-240   Admin-Meals/Entertain                                              742.32                 -                -               742.32
516-290   Admin-Music/Communicati                                          2,227.77              157.59              -             2,385.36
516-330   Admin-Computer Equip/Su                                         44,068.59            3,178.78              -            47,247.37
516-340   Admin-Dues, Memb & Subs                                            445.00                 -                -               445.00
518-100   Other Oper-Liability Insurance                                 152,768.16            8,636.22              -           161,404.38
518-500   Other Oper-Property Insurance                                  310,165.57           17,534.15              -           327,699.72
521-118   R&M-Vehicles                                                        90.02                 -                -                90.02
521-129   R&M-Roof                                                         9,209.85                 -                -             9,209.85
521-132   R&M-Parking lights                                               6,325.99                 -                -             6,325.99
521-133   R&M-Parking Lot                                                 18,812.38                 -                -            18,812.38
521-134   R&M-Snow - Parking Lot (Fixed)                                 218,459.91           72,819.97              -           291,279.88
521-136   R&M-Sweeping                                                    12,235.56            4,078.52              -            16,314.08
521-137   R&M-Building                                                       646.71              239.29              -               886.00
522-250   Landscape-Contr Service                                         88,820.35           13,229.94              -           102,050.29
522-550   Landscape-Misc                                                     914.60                 -                -               914.60
523-050   Security-Contract Servi                                         64,744.63            7,181.95              -            71,926.58
531-050   F/C CAM-Clean-Cont Serv                                        243,215.96           24,251.61              -           267,467.57
531-100   F/C CAM-Clean-Supplies                                          (1,429.96)                -                -            (1,429.96)
531-150   F/C CAM-Small Equipment                                            (96.16)                -                -               (96.16)
541-005   HVAC Util-Cont Serv                                             21,386.99                 -                -            21,386.99
541-019   HVAC Util-Prof Fees                                              9,902.82              990.45              -            10,893.27
541-023   HVAC Util-Plant Elect                                          594,132.46           29,415.77              -           623,548.23
551-009   Elect-Util-Misc                                                 22,004.92            1,089.47              -            23,094.39
551-011   Water-Utilities Exp                                             86,061.54                 -             561.62          85,499.92
561-001   Spec Lease-Pay/Wages                                            96,081.94           10,746.83              -           106,828.77
561-002   Spec Lease-Pay/Taxes                                             7,904.05              806.22              -             8,710.27
561-003   Spec Lease-Pay/Benefits                                         20,565.48            1,975.24              -            22,540.72
561-004   Spec Lease-Work Comp                                               688.13              351.18              -             1,039.31




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                                                               TRIAL BALANCE
                                                                      11/2024

Account   Description                                                  Forward Balance          Debit            Credit          Ending Balance
561-005   Spec Lease-Equip                                                     12,438.47            1,437.01              -             13,875.48
561-006   Spec Lease-Mgmt Expense                                               1,275.69              452.13              -              1,727.82
561-007   Spec Lease-Office Expen                                                 178.24                 -                -                178.24
561-009   Spec Leasing-Promo Exp.                                              19,143.00                 -                -             19,143.00
571-001   Marketing-Pay/Wages                                                  66,061.65            5,492.32              -             71,553.97
571-002   Marketing-Pay/Taxes                                                   5,269.99              412.03              -              5,682.02
571-003   Marketing-Pay/Benefits                                                  534.50              630.14              -              1,164.64
571-004   Marketing-Work Comp                                                     618.95              180.15              -                799.10
571-005   Marketing-Contract Serv                                              14,825.54            9,275.00              -             24,100.54
571-006   Marketing-Supplies                                                    8,648.25                 -                -              8,648.25
571-009   Marketing-Seasonal                                                    5,005.48              548.87              -              5,554.35
571-017   Marketing-Dues&Subscrip                                               1,718.25               15.00              -              1,733.25
571-018   Marketing- Tenant Promotions                                          1,411.71            3,160.00              -              4,571.71
571-019   Marketing - Display                                                      25.00                 -                -                 25.00
571-022   Marketing-Print Production                                            2,110.37              759.38              -              2,869.75
571-026   Marketing-Special Event                                                (320.50)                -                -               (320.50)
571-028   Marketing-Leasing Suppo                                                 557.26                 -                -                557.26
572-003   Advertising - Web/Digital                                             7,507.30              750.00              -              8,257.30
572-004   Advertising-Radio                                                     3,982.93                 -                -              3,982.93
572-009   Advertising-Social Media                                              2,199.58                 -                -              2,199.58
594-200   Real Estate Taxes                                                 2,426,432.88          260,365.80              -          2,686,798.68
594-400   Real Estate Tax Consultant Fee                                       18,842.00                 -                -             18,842.00
602-215   Payroll - Fees                                                           42.90                 -                -                 42.90
604-105   Legal - Other                                                           347.50                 -                -                347.50
604-120   Software - Adobe                                                         30.59                 -                -                 30.59
604-130   Software - Other                                                          5.41                 -                -                  5.41
604-150   Postage Meter- Postage                                                  123.71                 -                -                123.71
604-165   Outside Services - HR Services                                           26.25                 -                -                 26.25
604-175   Outside Services - Background Checks                                     81.14                 -                -                 81.14
604-200   Marketing - Printing                                                     47.58                 -                -                 47.58
611-017   Owner's R&M-Roof                                                     23,896.42                 -                -             23,896.42
611-024   Owner's R&M-Tenant Spac                                              16,542.36                 -                -             16,542.36
630-002   Owner's Util-Electric                                               150,759.97           15,479.32              -            166,239.29
630-004   Owner's Util-Gas                                                     17,010.79                 -                -             17,010.79
630-005   Owner's Util-Water/Sewe                                               4,348.02               71.51              -              4,419.53
650-013   Owner's Adm-Mgmt Exp                                                    682.50                 -                -                682.50
650-020   Owner's AdmBad Debt Exp                                            (279,972.26)          11,149.23              -           (268,823.03)
650-021   Owner's Adm-Bank Fees                                                 3,628.09              478.32              -              4,106.41
650-025   Owner's Adm-Barricade                                                 1,558.03                 -                -              1,558.03
650-032   Personal Property Tax                                                70,921.49            6,795.76              -             77,717.25
671-500   Legal Collection Fees                                                 5,000.00                 -                -              5,000.00
673-500   Legal-Collection/Litigation Fees                                     19,076.31            2,202.00              -             21,278.31
675-500   Arch/Eng Fees                                                           525.00                 -                -                525.00
681-100   Management Fees                                                     251,541.94           23,602.23              -            275,144.17
701-200   Leasing Commissions                                                 113,822.99           45,535.41              -            159,358.40
701-300   Leasing Commissions - Specialty Leasing                              94,012.27            8,804.43              -            102,816.70
701-550   Lease Commission – Broker Fee.                                        1,173.19                 -                -              1,173.19
701-625   Leasing Exp-Misc                                                      4,668.73              318.13              -              4,986.86
701-675   Lease Exp-ICSC Conventi                                              22,810.26                 -                -             22,810.26
701-700   Legal - Leasing                                                      92,134.54           17,780.29              -            109,914.83
701-725   Rent ConcsnFree/Step Rn                                              68,090.79              940.83              -             69,031.62
702-200   Receivership - Legal Fees                                            48,419.90                 -          44,858.90            3,561.00

          Total                                                                     0.00        1,540,341.72      1,540,341.72               0.00




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                                                                                PROPERTY RENT ROLL
                                                                                             11/2024

                                                                                                             GROSS RENT                                                           TENANT DETAILS
TENANT                       SPACE   TYPE      SF       PERM/TEMP      TCD         EXP         ANNUAL         MONTHLY     PSF                                          CODE        FROM       ANNUAL       MONTHLY        PSF          % PAY    TYP

Sears                                                     Dark       7/1/2021     HOLD            77,807          6,484          -     Base Rent                                                                 -               -        -
                                                                                                  77,807          6,484          -     Cost Recovery                  camp        7/1/2021       77,807        6,484             -        -
                                                                                                  77,807          6,484          -     Percentage Rent Terms          None                                       -               -
                                                                                                  77,807          6,484          -     Future Base Increases                                                     -               -        -

Aeropostale                  1138     Inline    4,000     Perm      9/15/2016   01/31/2026             120          10          0.03   Base Rent                                                                 -               -        -
                                                                                                       120          10          0.03   Cost Recovery                  tuwsw       2/1/2024          120              10         0.03      -
                                                                                                       120          10          0.03   Percentage Rent Terms            PIL       2/1/2024          -            -               -       9.00   UN
                                                                                                       120          10          0.03   Future Base Increases                                                     -               -        -

Against All Odds             2108     Inline    8,687     Perm       1/1/2017   04/30/2027       179,033         14,919     20.61      Base Rent                       brm        5/1/2024      156,060       13,005        17.96         -
                                                                                                 179,033         14,919     20.61      Cost Recovery                  hvafixed    5/1/2022       22,673        1,889         2.61         -
                                                                                                 179,033         14,919     20.61                                     tuwsw       5/1/2022          300           25         0.03         -
                                                                                                 179,033         14,919     20.61      Percentage Rent Terms         Breakpoint   5/1/2024    1,560,600      130,050       179.65       10.00   UN
                                                                                                 179,033         14,919     20.61      Future Base Increases           brm        5/1/2025      159,181       13,265        18.32         -
                                                                                                 179,033         14,919     20.61                                      brm        5/1/2026      162,365       13,530        18.69         -

All in Adventures            2004     Inline    3,986     Perm       6/1/2019   07/31/2026        24,444          2,037         6.13   Base Rent                       brm        8/1/2023       18,000        1,500         4.52         -
                                                                                                  24,444          2,037         6.13   Cost Recovery                  tuhvac      8/1/2023        6,000          500         1.51         -
                                                                                                  24,444          2,037         6.13                                  tuwsw       8/1/2023          444            37        0.11         -
                                                                                                  24,444          2,037         6.13   Percentage Rent Terms         Breakpoint   8/1/2023      100,000        8,333        25.09       18.00   UN
                                                                                                  24,444          2,037         6.13   Future Base Increases                                                     -            -           -

AT&T Mobility                2082     Inline    2,980     Perm       2/1/2016   01/31/2025       376,624         31,385    126.38      Base Rent                       brm        2/1/2024      132,074       11,006        44.32         -
                                                                                                 376,624         31,385    126.38      Cost Recovery                   camf       1/1/2024      172,348       14,362        57.83         -
                                                                                                 376,624         31,385    126.38                                     hvafixed    1/1/2024        8,361          697         2.81         -
                                                                                                 376,624         31,385    126.38                                       ret       2/1/2016       51,962        4,330        17.44         -
                                                                                                 376,624         31,385    126.38                                     tuhvac      2/1/2016       11,760          980         3.95         -
                                                                                                 376,624         31,385    126.38                                     tuwsw       2/1/2016          120            10        0.04         -
                                                                                                 376,624         31,385    126.38      Percentage Rent Terms           None       2/1/2016          -            -            -           -
                                                                                                 376,624         31,385    126.38      Future Base Increases                                                     -            -           -

Barnes & Noble Booksellers    NS      Inline   24,836     Perm       6/2/2003   01/31/2028       375,000         31,250     15.10      Base Rent                      brm         2/1/2024      375,000       31,250        15.10         -
                                                                                                 375,000         31,250     15.10      Cost Recovery                                                             -            -           -
                                                                                                 375,000         31,250     15.10      Percentage Rent Terms         Breakpoint   2/1/2024    5,000,000      416,667       201.32        5.00   UN
                                                                                                 375,000         31,250     15.10      Future Base Increases                                                     -            -           -

Bath & Body Works            2156     Inline    3,746     Perm      11/1/2019   01/31/2030             12            1          0.00   Base Rent                       brm        11/1/2022         -            -            -           -
                                                                                                       12            1          0.00                                  cotenpil    11/1/2022           12           1         0.00         -
                                                                                                       12            1          0.00   Cost Recovery                   camf       11/1/2022         -            -            -           -
                                                                                                       12            1          0.00                                  hvafixed    11/1/2022         -            -            -           -
                                                                                                       12            1          0.00                                    ret       11/1/2022         -            -            -           -
                                                                                                       12            1          0.00                                   tutrsh     11/1/2022         -            -            -           -
                                                                                                       12            1          0.00                                  tuwsw       11/1/2022         -            -            -           -
                                                                                                       12            1          0.00   Percentage Rent Terms         Breakpoint   1/1/2023      263,843       21,987        70.43         -     UN
                                                                                                       12            1          0.00   Future Base Increases                                                     -            -           -

Box Lunch                    2096     Inline    4,180     Perm      7/20/2023   07/31/2029        77,540          6,462     18.55      Base Rent                       brm        7/20/2023      65,000        5,417        15.55         -
                                                                                                  77,540          6,462     18.55      Cost Recovery                  hvafixed    7/20/2023      10,450          871         2.50         -
                                                                                                  77,540          6,462     18.55                                      tutrsh     7/20/2023       2,090          174         0.50         -
                                                                                                  77,540          6,462     18.55      Percentage Rent Terms         Breakpoint   7/20/2023     850,000       70,833       203.35        6.00   UN
                                                                                                  77,540          6,462     18.55      Future Base Increases           brm        8/1/2026       66,300        5,525        15.86         -
                                                                                                  77,540          6,462     18.55                                      brm        8/1/2027       67,626        5,636        16.18         -
                                                                                                  77,540          6,462     18.55                                      brm        8/1/2028       68,979        5,748        16.50         -
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                                                                                                                 GROSS RENT                                                         TENANT DETAILS
TENANT                    SPACE     TYPE           SF         PERM/TEMP      TCD         EXP         ANNUAL       MONTHLY      PSF                                       CODE        FROM       ANNUAL      MONTHLY      PSF        % PAY    TYP

Brixmor Manchester III   430BLD1,   Not Property        -       Perm      10/6/1995   12/31/2099             -          -            -   Base Rent                                                                -            -       -
                         430BLD2    Owned, Not
                                    Property
                                    Owned

                                                                                                             -          -            -   Cost Recovery                                                            -            -       -
                                                                                                             -          -            -   Percentage Rent Terms          None        10/6/1995         -           -            -       -
                                                                                                             -          -            -   Future Base Increases                                                    -            -       -

Buckland Hills Dental     1076      Inline          2,066       Perm       9/1/2017   08/31/2027       149,324       12,444      72.28   Base Rent                       brm        9/1/2024      133,190      11,099      64.47       -
                                                                                                       149,324       12,444      72.28   Cost Recovery                  hvafixed    1/1/2024       10,494         875       5.08       -
                                                                                                       149,324       12,444      72.28                                  tuhvac      9/1/2017        4,440         370       2.15       -
                                                                                                       149,324       12,444      72.28                                  tuwsw       9/1/2017        1,200         100       0.58       -
                                                                                                       149,324       12,444      72.28   Percentage Rent Terms           None       9/1/2017          -           -          -         -
                                                                                                       149,324       12,444      72.28   Future Base Increases           brm        9/1/2025      138,517      11,543      67.05       -
                                                                                                       149,324       12,444      72.28                                   brm        9/1/2026      144,058      12,005      69.73       -

Build-A-Bear Workshop     1086      Inline          3,000       Perm      6/28/2016   01/31/2026        36,859        3,072      12.29   Base Rent                       brm        2/1/2023       30,000       2,500      10.00       -
                                                                                                        36,859        3,072      12.29   Cost Recovery                  tuhvac      1/1/2024        6,739         562       2.25       -
                                                                                                        36,859        3,072      12.29                                  tuwsw       2/1/2023          120           10      0.04       -
                                                                                                        36,859        3,072      12.29   Percentage Rent Terms         Breakpoint   2/1/2023      500,000      41,667     166.67      8.00   UN
                                                                                                        36,859        3,072      12.29   Future Base Increases                                                    -          -         -

Cajun Café & Grill        2062      Food Court          558     Perm       1/1/2017     HOLD            45,906        3,825      82.27   Base Rent                       brm        7/1/2022       44,946       3,745      80.55       -
                                                                                                        45,906        3,825      82.27   Cost Recovery                  tuwsw       1/1/2017          960           80      1.72       -
                                                                                                        45,906        3,825      82.27   Percentage Rent Terms         Breakpoint   7/1/2022      353,736      29,478     633.93      8.00   UN
                                                                                                        45,906        3,825      82.27   Future Base Increases                                                    -          -         -

Cell Phone World          1072      Inline          1,258       Perm       5/1/2017   04/30/2028        66,184        5,515      52.61   Base Rent                       brm        5/1/2024       54,934       4,578      43.67       -
                                                                                                        66,184        5,515      52.61   Cost Recovery                  hvafixed    1/1/2024        6,390         533       5.08       -
                                                                                                        66,184        5,515      52.61                                  tuhvac      5/1/2023        4,560         380       3.62       -
                                                                                                        66,184        5,515      52.61                                  tuwsw       5/1/2023          300          25       0.24       -
                                                                                                        66,184        5,515      52.61   Percentage Rent Terms         Breakpoint   5/1/2023      300,000      25,000     238.47     15.00   UN
                                                                                                        66,184        5,515      52.61   Future Base Increases           brm        5/1/2025       56,582       4,715      44.98       -
                                                                                                        66,184        5,515      52.61                                   brm        5/1/2026       58,279       4,857      46.33       -
                                                                                                        66,184        5,515      52.61                                   brm        5/1/2027       60,028       5,002      47.72       -

CellFix                   5528      Kiosk               150     Perm      3/13/2023   03/11/2028        61,812        5,151     412.08   Base Rent                       brm        1/1/2024       61,800       5,150      412.00      -
                                                                                                        61,812        5,151     412.08   Cost Recovery                   ret        9/1/2023           12           1        0.08      -
                                                                                                        61,812        5,151     412.08   Percentage Rent Terms         Breakpoint   3/13/2023     300,000      25,000    2,000.00    15.00   UN
                                                                                                        61,812        5,151     412.08   Future Base Increases           brm        1/1/2025       63,654       5,305      424.36      -
                                                                                                        61,812        5,151     412.08                                   brm        1/1/2026       65,564       5,464      437.09      -
                                                                                                        61,812        5,151     412.08                                   brm        1/1/2027       67,531       5,628      450.21      -

Champs Sports             1110      Inline          4,863       Perm       2/1/2013   01/31/2025       272,691       22,724      56.07   Base Rent                       brm        2/1/2023      250,000      20,833      51.41       -
                                                                                                       272,691       22,724      56.07   Cost Recovery                  hvafixed    2/1/2024        6,732         561       1.38       -
                                                                                                       272,691       22,724      56.07                                  tuhvac      2/1/2023       15,780       1,315       3.24       -
                                                                                                       272,691       22,724      56.07                                  tuwsw       2/1/2023          180           15      0.04       -
                                                                                                       272,691       22,724      56.07   Percentage Rent Terms         Breakpoint   2/1/2023    2,500,000     208,333     514.09     10.00   UN
                                                                                                       272,691       22,724      56.07   Future Base Increases                                                    -          -         -
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                                                                                  PROPERTY RENT ROLL
                                                                                               11/2024

                                                                                                             GROSS RENT                                                        TENANT DETAILS
TENANT                   SPACE   TYPE          SF         PERM/TEMP      TCD         EXP         ANNUAL       MONTHLY     PSF                                       CODE        FROM       ANNUAL       MONTHLY      PSF        % PAY    TYP

Charleys Philly Steaks   2058     Food Court        597     Perm       1/1/2017   10/31/2027       222,082       18,507    372.00   Base Rent                       brm        11/1/2024      116,663       9,722      195.42      -
                                                                                                   222,082       18,507    372.00   Cost Recovery                   camf       1/1/2024        88,204       7,350      147.75      -
                                                                                                   222,082       18,507    372.00                                  hvafixed    1/1/2024         3,032         253        5.08      -
                                                                                                   222,082       18,507    372.00                                    ret       1/1/2017         8,782         732       14.71      -
                                                                                                   222,082       18,507    372.00                                  tuhvac      1/1/2017         4,500         375        7.54      -
                                                                                                   222,082       18,507    372.00                                  tuwsw       1/1/2017           900          75        1.51      -
                                                                                                   222,082       18,507    372.00   Percentage Rent Terms         Breakpoint   11/1/2024    1,283,029     106,919    2,149.13     8.00   UN
                                                                                                   222,082       18,507    372.00   Future Base Increases           brm        11/1/2024      116,663       9,722      195.42      -
                                                                                                   222,082       18,507    372.00                                   brm        11/1/2025      121,330      10,111      203.23      -
                                                                                                   222,082       18,507    372.00                                   brm        11/1/2026      126,183      10,515      211.36      -

Charlotte Russe          2088     Inline        6,780       Perm       8/2/2019   01/31/2027       111,620        9,302     16.46   Base Rent                       brm        2/1/2024       80,000        6,667      11.80       -
                                                                                                   111,620        9,302     16.46   Cost Recovery                  tuhvac      2/1/2024       31,380        2,615       4.63       -
                                                                                                   111,620        9,302     16.46                                  tuwsw       2/1/2024          240            20      0.04       -
                                                                                                   111,620        9,302     16.46   Percentage Rent Terms         Breakpoint   2/1/2024      800,000       66,667     117.99     10.00   UN
                                                                                                   111,620        9,302     16.46   Future Base Increases                                                     -          -         -

China Wok                2070     Food Court        955     Perm      1/27/2021   03/31/2026        67,784        5,649     70.98   Base Rent                       brm        4/1/2024       28,239        2,353      29.57       -
                                                                                                    67,784        5,649     70.98   Cost Recovery                   camf       1/1/2024       39,545        3,295      41.41       -
                                                                                                    67,784        5,649     70.98   Percentage Rent Terms         Breakpoint   4/1/2024      445,707       37,142     466.71     12.00   UN
                                                                                                    67,784        5,649     70.98   Future Base Increases           brm        4/1/2025       29,086        2,424      30.46       -

Cinnabon/Carvel          2186     Inline            900     Perm       9/1/2019   08/31/2029        78,484        6,540     87.20   Base Rent                       brm        9/1/2024       56,017        4,668      62.24       -
                                                                                                    78,484        6,540     87.20   Cost Recovery                  hvafixed    1/1/2024        4,227          352       4.70       -
                                                                                                    78,484        6,540     87.20                                   ret        9/1/2019       13,680        1,140      15.20       -
                                                                                                    78,484        6,540     87.20                                  tuhvac      9/1/2019        3,360          280       3.73       -
                                                                                                    78,484        6,540     87.20                                  tuwsw       9/1/2019        1,200          100       1.33       -
                                                                                                    78,484        6,540     87.20   Percentage Rent Terms         Breakpoint   9/1/2024      633,612       52,801     704.01     10.00   UN
                                                                                                    78,484        6,540     87.20   Future Base Increases           brm        9/1/2025       57,698        4,808      64.11       -
                                                                                                    78,484        6,540     87.20                                   brm        9/1/2026       59,429        4,952      66.03       -
                                                                                                    78,484        6,540     87.20                                   brm        9/1/2027       61,212        5,101      68.01       -
                                                                                                    78,484        6,540     87.20                                   brm        9/1/2028       63,048        5,254      70.05       -

Claire's                 1162     Inline        1,243       Perm      5/17/2013   06/30/2028        89,653        7,471     72.13   Base Rent                       brm        7/1/2023       20,000        1,667      16.09       -
                                                                                                    89,653        7,471     72.13   Cost Recovery                   camf       1/1/2024       38,012        3,168      30.58       -
                                                                                                    89,653        7,471     72.13                                  hvafixed    1/1/2024        7,099          592       5.71       -
                                                                                                    89,653        7,471     72.13                                    ret       7/1/2023       20,174        1,681      16.23       -
                                                                                                    89,653        7,471     72.13                                  tuhvac      7/1/2023        4,128          344       3.32       -
                                                                                                    89,653        7,471     72.13                                  tuwsw       7/1/2023          240            20      0.19       -
                                                                                                    89,653        7,471     72.13   Percentage Rent Terms         Breakpoint   7/1/2023      600,000       50,000     482.70     10.00   UN
                                                                                                    89,653        7,471     72.13   Future Base Increases                                                     -          -         -

Dave & Busters           PAD6    Outparcel     26,000       Perm      9/22/2014   09/30/2029       763,534       63,628     29.37   Base Rent                      brm         9/22/2014     636,480       53,040      24.48       -
                                 Owned
                                                                                                   763,534       63,628     29.37   Cost Recovery                   camf       1/1/2024       127,054       10,588      4.89       -
                                                                                                   763,534       63,628     29.37   Percentage Rent Terms         Breakpoint   9/22/2014   15,400,000    1,283,333    592.31      4.00   UN
                                                                                                   763,534       63,628     29.37   Future Base Increases           brm        2/1/2025       700,180       58,348     26.93       -
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                                                                                               PROPERTY RENT ROLL
                                                                                                            11/2024

                                                                                                                          GROSS RENT                                                            TENANT DETAILS
TENANT                                SPACE   TYPE          SF         PERM/TEMP      TCD         EXP         ANNUAL       MONTHLY      PSF                                          CODE        FROM       ANNUAL       MONTHLY      PSF          % PAY    TYP

EA Teriyaki Japanese Grill            2056     Food Court        816     Perm      4/15/2023   05/14/2033       260,996       21,750     319.85      Base Rent                       brm        5/1/2024      225,368       18,781      276.19        -
                                                                                                                260,996       21,750     319.85      Cost Recovery                  camp        1/1/2024       16,810        1,401       20.60        -
                                                                                                                260,996       21,750     319.85                                      mkfd       1/1/2024        1,681          140        2.06        -
                                                                                                                260,996       21,750     319.85                                      ret        1/1/2024       13,641        1,137       16.72        -
                                                                                                                260,996       21,750     319.85                                     tuhvac      4/15/2023       3,484          290        4.27        -
                                                                                                                260,996       21,750     319.85                                     tuwsw       4/15/2023          12            1        0.01        -
                                                                                                                260,996       21,750     319.85      Percentage Rent Terms         Breakpoint   1/1/2024    1,236,000      103,000    1,514.71      10.00   UN
                                                                                                                260,996       21,750     319.85      Future Base Increases           brm        5/1/2025      232,129       19,344      284.47        -
                                                                                                                260,996       21,750     319.85                                      brm        5/1/2026      239,093       19,924      293.01        -
                                                                                                                260,996       21,750     319.85                                      brm        5/1/2027      246,266       20,522      301.80        -
                                                                                                                260,996       21,750     319.85                                      brm        5/1/2028      253,654       21,138      310.85        -
                                                                                                                260,996       21,750     319.85                                      brm        5/1/2029      261,263       21,772      320.18        -
                                                                                                                260,996       21,750     319.85                                      brm        5/1/2030      269,101       22,425      329.78        -
                                                                                                                260,996       21,750     319.85                                      brm        5/1/2031      277,174       23,098      339.67        -
                                                                                                                260,996       21,750     319.85                                      brm        5/1/2032      285,490       23,791      349.86        -

Fairfield Inn & Suites                PAR12   Outparcel     50,000       Perm       8/1/2000   12/31/2045       112,693        9,391          2.25   Base Rent                      brm         8/1/2000      106,838        8,903          2.14      -
                                              Owned
                                                                                                                112,693        9,391          2.25   Cost Recovery                  came        8/1/2000        5,855          488          0.12      -
                                                                                                                112,693        9,391          2.25   Percentage Rent Terms          None        6/19/2014         -            -             -        -
                                                                                                                112,693        9,391          2.25   Future Base Increases                                                     -             -        -

Finish Line                           2134     Inline        4,516       Perm      6/25/2005     HOLD           200,240       16,687      44.34      Base Rent                       brm        3/1/2022      200,000       16,667      44.29         -
                                                                                                                200,240       16,687      44.34      Cost Recovery                  tuwsw       3/1/2022          240            20      0.05         -
                                                                                                                200,240       16,687      44.34      Percentage Rent Terms         Breakpoint   3/1/2022    2,000,000      166,667     442.87       10.00   UN
                                                                                                                200,240       16,687      44.34      Future Base Increases                                                     -          -           -

Foot Locker                           2202     Inline        3,957       Perm       3/1/2016   05/31/2026        30,669        2,556          7.75   Base Rent                       brm        1/1/2023          -            -          -           -
                                                                                                                 30,669        2,556          7.75                                  cotenCap    1/1/2023            12            1      0.00         -
                                                                                                                 30,669        2,556          7.75   Cost Recovery                    ret       1/1/2023       30,537        2,545       7.72         -
                                                                                                                 30,669        2,556          7.75                                  tuwsw       3/1/2016          120            10      0.03         -
                                                                                                                 30,669        2,556          7.75   Percentage Rent Terms         Breakpoint   6/1/2024      299,358       24,947      75.65         -     UN
                                                                                                                 30,669        2,556          7.75   Future Base Increases           brm        3/1/2025      215,538       17,961      54.47         -
                                                                                                                 30,669        2,556          7.75                                   brm        6/1/2025      222,027       18,502      56.11         -

Forever 21                            1038     Inline       16,240       Perm       1/1/2017   01/31/2025             -          -             -     Base Rent                                                                 -             -        -
                                                                                                                      -          -             -     Cost Recovery                                                             -             -        -
                                                                                                                      -          -             -     Percentage Rent Terms            PIL       2/1/2023          -            -             -       5.00   UN
                                                                                                                      -          -             -     Future Base Increases                                                     -             -        -

Funny Bone Comedy Club & Restaurant   1054     Inline        7,003       Perm       2/1/2007   02/28/2027       210,560       17,547      30.07      Base Rent                       brm        3/1/2022      206,000       17,167      29.42         -
                                                                                                                210,560       17,547      30.07      Cost Recovery                  tuwsw       2/1/2007        4,560          380       0.65         -
                                                                                                                210,560       17,547      30.07      Percentage Rent Terms         Breakpoint   3/1/2022    2,929,002      244,083     418.25        7.00   UN
                                                                                                                210,560       17,547      30.07      Future Base Increases                                                     -          -           -

Georgie's Kitchen                     2068     Food Court        673     Perm       1/7/2024   01/31/2031        70,000        5,833     104.01      Base Rent                       brm        1/7/2024       59,831        4,986      88.90         -
                                                                                                                 70,000        5,833     104.01      Cost Recovery                  camp        1/7/2024        5,377          448       7.99         -
                                                                                                                 70,000        5,833     104.01                                     mkfd        1/7/2024        1,346          112       2.00         -
                                                                                                                 70,000        5,833     104.01                                      ret        1/7/2024        3,446          287       5.12         -
                                                                                                                 70,000        5,833     104.01      Percentage Rent Terms         Breakpoint   1/7/2024      475,000       39,583     705.79       15.00   UN
                                                                                                                 70,000        5,833     104.01      Future Base Increases           brm        2/1/2025       61,626        5,135      91.57         -
                                                                                                                 70,000        5,833     104.01                                      brm        2/1/2026       63,475        5,290      94.32         -
                                                                                                                 70,000        5,833     104.01                                      brm        2/1/2027       65,379        5,448      97.15         -
                                                                                                                 70,000        5,833     104.01                                      brm        2/1/2028       67,340        5,612     100.06         -
                                                                                                                 70,000        5,833     104.01                                      brm        2/1/2029       69,360        5,780     103.06         -
                                                                                                                 70,000        5,833     104.01                                      brm        2/1/2030       71,441        5,953     106.15         -
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                                                                                              PROPERTY RENT ROLL
                                                                                                           11/2024

                                                                                                                         GROSS RENT                                                        TENANT DETAILS
TENANT                               SPACE   TYPE         SF         PERM/TEMP      TCD          EXP         ANNUAL       MONTHLY     PSF                                       CODE        FROM        ANNUAL      MONTHLY      PSF        % PAY    TYP

GNC Live Well                        2212     Inline       1,575       Perm       1/1/1999    01/31/2027        35,972        2,998     22.84   Base Rent                       brm         2/1/2024       30,000       2,500      19.05       -
                                                                                                                35,972        2,998     22.84   Cost Recovery                  hvafixed     2/1/2024        5,852         488       3.72       -
                                                                                                                35,972        2,998     22.84                                  tuwsw        2/1/2024          120           10      0.08       -
                                                                                                                35,972        2,998     22.84   Percentage Rent Terms         Breakpoint    2/1/2024      400,000      33,333     253.97      8.00   UN
                                                                                                                35,972        2,998     22.84   Future Base Increases                                                     -          -         -

Gong cha Bubble Tea                  5536     Kiosk            201     Perm      10/30/2023   10/31/2028        40,779        3,398    202.88   Base Rent                       brm         11/1/2024      37,702       3,142      187.57      -
                                                                                                                40,779        3,398    202.88   Cost Recovery                  camp         11/1/2024       1,638         137        8.15      -
                                                                                                                40,779        3,398    202.88                                  mkfd         11/1/2024         410          34        2.04      -
                                                                                                                40,779        3,398    202.88                                   ret        10/30/2023       1,029          86        5.12      -
                                                                                                                40,779        3,398    202.88   Percentage Rent Terms         Breakpoint    11/1/2024     408,000      34,000    2,029.85    10.00   UN
                                                                                                                40,779        3,398    202.88   Future Base Increases           brm         11/1/2024      37,702       3,142      187.57      -
                                                                                                                40,779        3,398    202.88                                   brm         11/1/2025      38,456       3,205      191.32      -
                                                                                                                40,779        3,398    202.88                                   brm         11/1/2026      39,225       3,269      195.15      -
                                                                                                                40,779        3,398    202.88                                   brm         11/1/2027      40,010       3,334      199.05      -

H&M                                  1156     Inline      19,729       Perm      11/26/2014   01/31/2028       479,992       39,999     24.33   Base Rent                       brm         1/1/2024      424,404      35,367      21.51       -
                                                                                                               479,992       39,999     24.33   Cost Recovery                  hvafixed     1/1/2024       55,408       4,617       2.81       -
                                                                                                               479,992       39,999     24.33                                  tuwsw       11/26/2014         180          15       0.01       -
                                                                                                               479,992       39,999     24.33   Percentage Rent Terms         Breakpoint    1/1/2024    4,182,824     348,569     212.01      8.00   UN
                                                                                                               479,992       39,999     24.33   Future Base Increases           brm         1/1/2025      432,892      36,074      21.94       -

Homewood Suites by Hilton Hartford   8000     Outparcel        -       Perm      12/31/2016   12/31/2099        13,506        1,126         -   Base Rent                                                                 -            -       -
                                                                                                                13,506        1,126         -   Cost Recovery                  came        12/31/2016      13,506       1,126          -       -
                                                                                                                13,506        1,126         -   Percentage Rent Terms          None        12/31/2016         -           -            -       -
                                                                                                                13,506        1,126         -   Future Base Increases                                                     -            -       -

Hot Topic                            2200     Inline       2,000       Perm       2/1/2016    01/31/2026       144,246       12,020     72.12   Base Rent                       brm         2/1/2024       56,240       4,687      28.12       -
                                                                                                               144,246       12,020     72.12   Cost Recovery                   camf        2/1/2024       43,466       3,622      21.73       -
                                                                                                               144,246       12,020     72.12                                  hvafixed     1/1/2024        4,106         342       2.05       -
                                                                                                               144,246       12,020     72.12                                    ret        2/1/2016       29,274       2,440      14.64       -
                                                                                                               144,246       12,020     72.12                                  tuhvac       2/1/2016       11,040         920       5.52       -
                                                                                                               144,246       12,020     72.12                                  tuwsw        2/1/2016          120          10       0.06       -
                                                                                                               144,246       12,020     72.12   Percentage Rent Terms         Breakpoint    2/1/2024      937,327      78,111     468.66      6.00   UN
                                                                                                               144,246       12,020     72.12   Future Base Increases           brm         2/1/2025       57,364       4,780      28.68       -

Hungry Pot Korean BBQ & Hot Pot      1050     Inline       5,860       Perm      6/30/2023    07/31/2033       231,004       19,250     39.42   Base Rent                       brm        8/1/2024       185,179      15,432      31.60       -
                                                                                                               231,004       19,250     39.42   Cost Recovery                  mkfd        8/1/2024        12,306       1,026       2.10       -
                                                                                                               231,004       19,250     39.42                                   ret        6/30/2023       33,519       2,793       5.72       -
                                                                                                               231,004       19,250     39.42   Percentage Rent Terms         Breakpoint   6/30/2023    2,500,000     208,333     426.62     10.00   UN
                                                                                                               231,004       19,250     39.42   Future Base Increases           brm        8/1/2025       190,734      15,895      32.55       -
                                                                                                               231,004       19,250     39.42                                   brm        8/1/2026       196,456      16,371      33.52       -
                                                                                                               231,004       19,250     39.42                                   brm        8/1/2027       202,350      16,862      34.53       -
                                                                                                               231,004       19,250     39.42                                   brm        8/1/2028       208,421      17,368      35.57       -
                                                                                                               231,004       19,250     39.42                                   brm        8/1/2029       214,674      17,889      36.63       -
                                                                                                               231,004       19,250     39.42                                   brm        8/1/2030       221,114      18,426      37.73       -
                                                                                                               231,004       19,250     39.42                                   brm        8/1/2031       227,747      18,979      38.86       -
                                                                                                               231,004       19,250     39.42                                   brm        8/1/2032       234,579      19,548      40.03       -

Icing                                2168     Inline       1,131       Perm      6/15/1996    12/31/2025        66,873        5,573     59.13   Base Rent                       brm         1/1/2024       36,884       3,074      32.61       -
                                                                                                                66,873        5,573     59.13   Cost Recovery                   ret         1/1/2023       18,885       1,574      16.70       -
                                                                                                                66,873        5,573     59.13                                  tuhvac       1/1/2023       10,924         910       9.66       -
                                                                                                                66,873        5,573     59.13                                  tuwsw        1/1/2023          180          15       0.16       -
                                                                                                                66,873        5,573     59.13   Percentage Rent Terms         Breakpoint    1/1/2023      508,625      42,385     449.71     10.00   UN
                                                                                                                66,873        5,573     59.13                                 Breakpoint    1/1/2024      523,884      43,657     463.20     10.00   UN
                                                                                                                66,873        5,573     59.13   Future Base Increases           brm         1/1/2025       37,991       3,166      33.59       -
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                                                                                   PROPERTY RENT ROLL
                                                                                                11/2024

                                                                                                              GROSS RENT                                                        TENANT DETAILS
TENANT           SPACE       TYPE           SF            PERM/TEMP      TCD          EXP         ANNUAL       MONTHLY     PSF                                       CODE        FROM        ANNUAL      MONTHLY      PSF        % PAY    TYP

IxpressFix        5508       Kiosk                   72     Perm      12/27/2022   01/26/2028        24,732        2,061    343.50   Base Rent                       brm         1/1/2024       24,720       2,060      343.33      -
                                                                                                     24,732        2,061    343.50   Cost Recovery                   ret         7/1/2023           12           1        0.17      -
                                                                                                     24,732        2,061    343.50   Percentage Rent Terms         Breakpoint    7/1/2023      300,000      25,000    4,166.67    15.00   UN
                                                                                                     24,732        2,061    343.50   Future Base Increases           brm         1/1/2025       25,462       2,122      353.64      -
                                                                                                     24,732        2,061    343.50                                   brm         1/1/2026       26,225       2,185      364.24      -
                                                                                                     24,732        2,061    343.50                                   brm         1/1/2027       27,012       2,251      375.17      -
                                                                                                     24,732        2,061    343.50                                   brm         1/1/2028       27,822       2,319      386.42      -

Jay Jewelers      2184       Inline          1,212          Perm      11/30/2024   11/29/2029        80,000        6,667     66.01   Base Rent                       brm        11/30/2024      44,828       3,736      36.99       -
                                                                                                     80,000        6,667     66.01   Cost Recovery                  camp        11/30/2024      16,241       1,353      13.40       -
                                                                                                     80,000        6,667     66.01                                  mkfd        11/30/2024       2,424         202       2.00       -
                                                                                                     80,000        6,667     66.01                                   ret        11/30/2024      16,507       1,376      13.62       -
                                                                                                     80,000        6,667     66.01   Percentage Rent Terms         Breakpoint   11/30/2024     800,000      66,667     660.07     10.00   UN
                                                                                                     80,000        6,667     66.01   Future Base Increases           brm        11/30/2024      44,828       3,736      36.99       -
                                                                                                     80,000        6,667     66.01                                   brm         12/1/2025      46,173       3,848      38.10       -
                                                                                                     80,000        6,667     66.01                                   brm         12/1/2026      47,558       3,963      39.24       -
                                                                                                     80,000        6,667     66.01                                   brm         12/1/2027      48,984       4,082      40.42       -
                                                                                                     80,000        6,667     66.01                                   brm         12/1/2028      50,454       4,205      41.63       -

JC Penney       7_L1, 7_L2   Not Property        -          Perm       1/4/1992    12/31/2030        74,284        6,190         -   Base Rent                                                                 -            -       -
                             Owned, Not
                             Property
                             Owned

                                                                                                     74,284        6,190         -   Cost Recovery                  came         6/1/2023       28,476       2,373          -       -
                                                                                                     74,284        6,190         -                                  cami         6/1/2023       45,809       3,817          -       -
                                                                                                     74,284        6,190         -   Percentage Rent Terms          None         1/4/1992          -           -            -       -
                                                                                                     74,284        6,190         -   Future Base Increases                                                     -            -       -

Journeys          2190       Inline          1,810          Perm      4/18/2013    05/31/2025       163,641       13,637     90.41   Base Rent                       brm         6/1/2023      145,000      12,083      80.11       -
                                                                                                    163,641       13,637     90.41   Cost Recovery                  hvafixed     1/1/2024       10,338         861       5.71       -
                                                                                                    163,641       13,637     90.41                                  tuhvac       4/1/2023        7,620         635       4.21       -
                                                                                                    163,641       13,637     90.41                                  tuwsw        4/1/2023          684           57      0.38       -
                                                                                                    163,641       13,637     90.41   Percentage Rent Terms         Breakpoint    6/1/2023    1,215,000     101,250     671.27     12.00   UN
                                                                                                    163,641       13,637     90.41   Future Base Increases                                                     -          -         -

Journeys Kidz     2052       Inline          1,650          Perm      4/27/2013    05/31/2026        67,402        5,617     40.85   Base Rent                       brm         6/1/2024       50,000       4,167      30.30       -
                                                                                                     67,402        5,617     40.85   Cost Recovery                  hvafixed     6/1/2024        9,602         800       5.82       -
                                                                                                     67,402        5,617     40.85                                  tuhvac       6/1/2024        7,620         635       4.62       -
                                                                                                     67,402        5,617     40.85                                  tuwsw        6/1/2024          180           15      0.11       -
                                                                                                     67,402        5,617     40.85   Percentage Rent Terms         Breakpoint    6/1/2024      555,556      46,296     336.70      9.00   UN
                                                                                                     67,402        5,617     40.85   Future Base Increases                                                     -          -         -

Kay Jewelers      2048       Inline          2,378          Perm      9/23/2011    01/31/2025       203,001       16,917     85.37   Base Rent                       brm         2/1/2022      180,000      15,000      75.69       -
                                                                                                    203,001       16,917     85.37   Cost Recovery                  hvafixed     1/1/2024       13,581       1,132       5.71       -
                                                                                                    203,001       16,917     85.37                                  tuhvac       2/1/2022        9,120         760       3.84       -
                                                                                                    203,001       16,917     85.37                                  tuwsw        2/1/2022          300           25      0.13       -
                                                                                                    203,001       16,917     85.37   Percentage Rent Terms         Breakpoint    2/1/2022    2,250,000     187,500     946.17      6.00   UN
                                                                                                    203,001       16,917     85.37   Future Base Increases                                                     -          -         -
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                                                                                      PROPERTY RENT ROLL
                                                                                                   11/2024

                                                                                                                 GROSS RENT                                                        TENANT DETAILS
TENANT                 SPACE       TYPE           SF         PERM/TEMP      TCD          EXP         ANNUAL       MONTHLY     PSF                                       CODE        FROM        ANNUAL      MONTHLY     PSF          % PAY     TYP

Kings Jewelers          1056       Inline          1,334       Perm      11/7/2024    10/31/2034        60,000        5,000     44.98   Base Rent                       brm        11/7/2024       32,987       2,749     24.73         -
                                                                                                        60,000        5,000     44.98   Cost Recovery                  camp        11/7/2024       14,180       1,182     10.63         -
                                                                                                        60,000        5,000     44.98                                  mkfd        11/7/2024        2,668         222      2.00         -
                                                                                                        60,000        5,000     44.98                                   ret        11/7/2024       10,165         847      7.62         -
                                                                                                        60,000        5,000     44.98   Percentage Rent Terms         Breakpoint   11/7/2024      750,000      62,500    562.22       10.00    UN
                                                                                                        60,000        5,000     44.98   Future Base Increases           brm        11/7/2024       32,987       2,749     24.73         -
                                                                                                        60,000        5,000     44.98                                   brm        11/1/2025       33,976       2,831     25.47         -
                                                                                                        60,000        5,000     44.98                                   brm        11/1/2026       34,995       2,916     26.23         -
                                                                                                        60,000        5,000     44.98                                   brm        11/1/2027       36,045       3,004     27.02         -
                                                                                                        60,000        5,000     44.98                                   brm        11/1/2028       37,127       3,094     27.83         -
                                                                                                        60,000        5,000     44.98                                   brm        11/1/2029       38,240       3,187     28.67         -
                                                                                                        60,000        5,000     44.98                                   brm        11/1/2030       39,388       3,282     29.53         -
                                                                                                        60,000        5,000     44.98                                   brm        11/1/2031       40,569       3,381     30.41         -
                                                                                                        60,000        5,000     44.98                                   brm        11/1/2032       41,786       3,482     31.32         -
                                                                                                        60,000        5,000     44.98                                   brm        11/1/2033       43,040       3,587     32.26         -

Lids                    1070       Inline          1,072       Perm      10/1/2014    01/31/2025        54,815        4,568     51.13   Base Rent                       brm         2/1/2022       50,000       4,167     46.64         -
                                                                                                        54,815        4,568     51.13   Cost Recovery                  hvafixed     1/1/2024        3,015         251      2.81         -
                                                                                                        54,815        4,568     51.13                                  tuhvac       2/1/2022        1,800         150      1.68         -
                                                                                                        54,815        4,568     51.13   Percentage Rent Terms         Breakpoint    2/1/2022      400,000      33,333    373.13       12.00    UN
                                                                                                        54,815        4,568     51.13   Future Base Increases                                                     -         -           -

Liege and Co.           5537       Kiosk               300     Perm      11/30/2024   11/30/2029        35,000        2,917    116.67   Base Rent                       brm        11/30/2024      28,925       2,410     96.42          -
                                                                                                        35,000        2,917    116.67   Cost Recovery                  camp        11/30/2024       3,189         266     10.63          -
                                                                                                        35,000        2,917    116.67                                  mkfd        11/30/2024         600          50      2.00          -
                                                                                                        35,000        2,917    116.67                                   ret        11/30/2024       2,286         191      7.62          -
                                                                                                        35,000        2,917    116.67   Percentage Rent Terms         Breakpoint   11/30/2024          15           1      0.05      #######   UN
                                                                                                        35,000        2,917    116.67   Future Base Increases           brm        11/30/2024      28,925       2,410     96.42          -
                                                                                                        35,000        2,917    116.67                                   brm         11/1/2025      29,793       2,483     99.31          -
                                                                                                        35,000        2,917    116.67                                   brm         11/1/2026      30,687       2,557    102.29          -
                                                                                                        35,000        2,917    116.67                                   brm         11/1/2027      31,607       2,634    105.36          -
                                                                                                        35,000        2,917    116.67                                   brm         11/1/2028      32,555       2,713    108.52          -

Longhorn Steakhouse      10A       Outparcel       7,577       Perm       6/6/2006    01/31/2026       173,595       14,466     22.91   Base Rent                      brm          6/6/2006      166,375      13,865     21.96         -
                                   Owned
                                                                                                       173,595       14,466     22.91   Cost Recovery                  came         2/1/2024        7,220        602          0.95      -
                                                                                                       173,595       14,466     22.91   Percentage Rent Terms          None         1/1/2014          -          -             -        -
                                                                                                       173,595       14,466     22.91   Future Base Increases                                                    -             -        -

Macy's                2_L1, 2_L2   Not Property        -       Perm      3/14/1990    12/31/2040        50,628        4,219         -   Base Rent                                                                 -            -        -
                                   Owned, Not
                                   Property
                                   Owned

                                                                                                        50,628        4,219         -   Cost Recovery                  camf         3/1/2020       50,628       4,219          -        -
                                                                                                        50,628        4,219         -   Percentage Rent Terms          None         9/1/2022          -           -            -        -
                                                                                                        50,628        4,219         -   Future Base Increases                                                     -            -        -

Macy's Men's & Home   4_L1, 4_L2   Not Property        -       Perm      10/27/1994   12/31/2040        56,478        4,706         -   Base Rent                                                                 -            -        -
                                   Owned, Not
                                   Property
                                   Owned

                                                                                                        56,478        4,706         -   Cost Recovery                  camf        10/27/1994      56,478       4,706          -        -
                                                                                                        56,478        4,706         -   Percentage Rent Terms          None         2/1/2022          -           -            -        -
                                                                                                        56,478        4,706         -   Future Base Increases                                                     -            -        -
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                                                                          The Shoppes at Buckland Hills
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                                                                                 PROPERTY RENT ROLL
                                                                                              11/2024

                                                                                                            GROSS RENT                                                         TENANT DETAILS
TENANT               SPACE   TYPE            SF         PERM/TEMP      TCD          EXP         ANNUAL       MONTHLY      PSF                                       CODE        FROM        ANNUAL      MONTHLY      PSF        % PAY    TYP

Maggie McFly's       1023     Non-Fronting    7,200       Perm      11/3/2014    11/30/2027       357,745       29,812      49.69   Base Rent                      brm         12/1/2023      197,820      16,485      27.47       -

                                                                                                  357,745       29,812      49.69   Cost Recovery                   ret        7/1/2021       132,685      11,057      18.43       -
                                                                                                  357,745       29,812      49.69                                  tuwsw       11/3/2014       27,240       2,270       3.78       -
                                                                                                  357,745       29,812      49.69   Percentage Rent Terms         Breakpoint   12/1/2023    4,683,237     390,270     650.45      6.00   UN
                                                                                                  357,745       29,812      49.69   Future Base Increases                                                     -          -         -

Manchester I-84      8001    Not Property         -       Perm       1/1/1987    12/31/2099             -          -            -   Base Rent                                                                 -            -       -
                             Owned

                                                                                                        -          -            -   Cost Recovery                                                             -            -       -
                                                                                                        -          -            -   Percentage Rent Terms          None                                       -            -
                                                                                                        -          -            -   Future Base Increases                                                     -            -       -

Market Grill         PAD5    Outparcel        6,500       Perm      9/25/2012    08/31/2027       125,557       10,463      19.32   Base Rent                      brm          9/1/2022      118,957       9,913      18.30       -
                             Owned
                                                                                                  125,557       10,463      19.32   Cost Recovery                  tuwsw       9/25/2012        6,600         550       1.02       -
                                                                                                  125,557       10,463      19.32   Percentage Rent Terms         Breakpoint   9/1/2022     4,500,000     375,000     692.31      2.00   UN
                                                                                                  125,557       10,463      19.32   Future Base Increases                                                     -          -         -

Michael's Jewelers   1057     Inline          1,632       Perm      11/1/2014    02/28/2026        64,973        5,414      39.81   Base Rent                       brm         3/1/2024       60,000       5,000      36.76       -
                                                                                                   64,973        5,414      39.81   Cost Recovery                  tuhvac       3/1/2024        4,733         394       2.90       -
                                                                                                   64,973        5,414      39.81                                  tuwsw        3/1/2024          240           20      0.15       -
                                                                                                   64,973        5,414      39.81   Percentage Rent Terms         Breakpoint    3/1/2024    1,318,238     109,853     807.74      6.00   UN
                                                                                                   64,973        5,414      39.81   Future Base Increases                                                     -          -         -

mobileXPRESS         5534     Kiosk               150     Perm      12/27/2022   01/26/2028        63,666        5,306     424.44   Base Rent                       brm         1/1/2024       63,654       5,305      424.36      -
                                                                                                   63,666        5,306     424.44   Cost Recovery                   ret        12/27/2022          12           1        0.08      -
                                                                                                   63,666        5,306     424.44   Percentage Rent Terms         Breakpoint   12/27/2022     300,000      25,000    2,000.00    15.00   UN
                                                                                                   63,666        5,306     424.44   Future Base Increases           brm         1/1/2025       65,564       5,464      437.09      -
                                                                                                   63,666        5,306     424.44                                   brm         1/1/2026       67,531       5,628      450.21      -
                                                                                                   63,666        5,306     424.44                                   brm         1/1/2027       69,557       5,796      463.71      -

New You Foot Spa     1022     Inline          1,205       Perm      4/27/2023    04/26/2033        65,836        5,486      54.64   Base Rent                       brm        5/1/2024        36,069       3,006      29.93       -
                                                                                                   65,836        5,486      54.64   Cost Recovery                  camp        4/27/2023        9,628         802       7.99       -
                                                                                                   65,836        5,486      54.64                                  hvafixed    4/27/2023        5,832         486       4.84       -
                                                                                                   65,836        5,486      54.64                                   mkfd       4/27/2023        2,410         201       2.00       -
                                                                                                   65,836        5,486      54.64                                   ret        4/27/2023        6,893         574       5.72       -
                                                                                                   65,836        5,486      54.64                                  tuhvac      4/27/2023        4,500         375       3.73       -
                                                                                                   65,836        5,486      54.64                                  tuwsw       4/27/2023          504          42       0.42       -
                                                                                                   65,836        5,486      54.64   Percentage Rent Terms         Breakpoint   4/27/2023      300,000      25,000     248.96     10.00   UN
                                                                                                   65,836        5,486      54.64   Future Base Increases           brm        5/1/2025        46,069       3,839      38.23       -
                                                                                                   65,836        5,486      54.64                                   brm        5/1/2026        46,991       3,916      39.00       -
                                                                                                   65,836        5,486      54.64                                   brm        5/1/2027        47,931       3,994      39.78       -
                                                                                                   65,836        5,486      54.64                                   brm        5/1/2028        48,889       4,074      40.57       -
                                                                                                   65,836        5,486      54.64                                   brm        5/1/2029        49,867       4,156      41.38       -
                                                                                                   65,836        5,486      54.64                                   brm        5/1/2030        50,864       4,239      42.21       -
                                                                                                   65,836        5,486      54.64                                   brm        5/1/2031        51,882       4,324      43.06       -
                                                                                                   65,836        5,486      54.64                                   brm        5/1/2032        52,919       4,410      43.92       -

Newbury Comics       1186     Inline          6,288       Perm      10/19/2013   01/31/2027       168,000       14,000      26.72   Base Rent                      brm          2/1/2024      168,000      14,000      26.72       -
                                                                                                  168,000       14,000      26.72   Cost Recovery                                                             -          -         -
                                                                                                  168,000       14,000      26.72   Percentage Rent Terms         Breakpoint    2/1/2024    2,100,000     175,000     333.97      8.00   UN
                                                                                                  168,000       14,000      26.72   Future Base Increases                                                     -          -         -
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                                                                                               PROPERTY RENT ROLL
                                                                                                            11/2024

                                                                                                                          GROSS RENT                                                           TENANT DETAILS
TENANT                                SPACE   TYPE          SF         PERM/TEMP      TCD         EXP         ANNUAL       MONTHLY     PSF                                          CODE        FROM       ANNUAL       MONTHLY      PSF          % PAY    TYP

Perfume Plus                          1132     Inline        1,815       Perm       1/1/2017   01/31/2026       126,800       10,567     69.86      Base Rent                       brm        12/1/2023      98,912        8,243      54.50         -
                                                                                                                126,800       10,567     69.86      Cost Recovery                   ret        1/1/2017       27,588        2,299      15.20         -
                                                                                                                126,800       10,567     69.86                                     tuwsw       1/1/2017          300           25       0.17         -
                                                                                                                126,800       10,567     69.86      Percentage Rent Terms         Breakpoint   12/1/2023     712,088       59,341     392.33       15.00   UN
                                                                                                                126,800       10,567     69.86      Future Base Increases           brm        2/1/2025       98,918        8,243      54.50         -

Piercing Pagoda                       K0001    Kiosk             160     Perm       2/1/2014   01/31/2025        87,331        7,278    545.82      Base Rent                       brm        2/1/2022       85,000        7,083      531.25        -
                                                                                                                 87,331        7,278    545.82      Cost Recovery                    utl       1/1/2024        2,331          194       14.57        -
                                                                                                                 87,331        7,278    545.82      Percentage Rent Terms         Breakpoint   2/1/2022      800,000       66,667    5,000.00       8.00   UN
                                                                                                                 87,331        7,278    545.82      Future Base Increases                                                     -           -          -

Piercing Pagoda                       K0002    Kiosk             160     Perm      2/22/2005   01/31/2025        97,920        8,160    612.00      Base Rent                       brm        2/1/2024       95,668        7,972      597.93        -
                                                                                                                 97,920        8,160    612.00      Cost Recovery                    utl       1/1/2024        2,252          188       14.07        -
                                                                                                                 97,920        8,160    612.00      Percentage Rent Terms         Breakpoint   2/1/2024      956,683       79,724    5,979.27      10.00   UN
                                                                                                                 97,920        8,160    612.00      Future Base Increases                                                     -           -          -

Pretzelmaker                          2182     Inline            709     Perm       5/1/2003     HOLD            80,112        6,676    112.99      Base Rent                       brm        3/1/2024       30,000        2,500      42.31         -
                                                                                                                 80,112        6,676    112.99                                      brm        3/1/2023       35,173        2,931      49.61         -
                                                                                                                 80,112        6,676    112.99      Cost Recovery                  hvafixed    1/1/2024        2,018          168       2.85         -
                                                                                                                 80,112        6,676    112.99                                      ret        5/1/2003       11,840          987      16.70         -
                                                                                                                 80,112        6,676    112.99                                     tuwsw       5/1/2003        1,080           90       1.52         -
                                                                                                                 80,112        6,676    112.99      Percentage Rent Terms         Breakpoint   3/1/2023      208,973       17,414     294.74       12.00   UN
                                                                                                                 80,112        6,676    112.99      Future Base Increases           brm        3/1/2027       30,900        2,575      43.58         -

Rack Room Shoes                       2194     Inline        5,394       Perm      11/7/2009   01/31/2025       226,481       18,873     41.99      Base Rent                       brm        11/7/2009     198,750       16,563      36.85         -
                                                                                                                226,481       18,873     41.99      Cost Recovery                  hvafixed    1/1/2024        3,011          251       0.56         -
                                                                                                                226,481       18,873     41.99                                     tuhvac      11/7/2009      24,600        2,050       4.56         -
                                                                                                                226,481       18,873     41.99                                     tuwsw       11/7/2009         120            10      0.02         -
                                                                                                                226,481       18,873     41.99      Percentage Rent Terms         Breakpoint   11/7/2009   1,457,000      121,417     270.11       12.00   UN
                                                                                                                226,481       18,873     41.99      Future Base Increases                                                     -          -           -

Rainbow                               1148     Inline       10,472       Perm      11/1/2017   01/31/2032         2,739         228          0.26   Base Rent                       brm        11/1/2021         -            -             -        -
                                                                                                                  2,739         228          0.26                                  cotenpil    11/1/2021           12            1         0.00      -
                                                                                                                  2,739         228          0.26   Cost Recovery                  hvafixed    1/1/2024        2,307          192          0.22      -
                                                                                                                  2,739         228          0.26                                  tuwsw       11/1/2017         420            35         0.04      -
                                                                                                                  2,739         228          0.26   Percentage Rent Terms             PIL      11/1/2021         -            -             -       6.00   UN
                                                                                                                  2,739         228          0.26   Future Base Increases                                                     -             -        -

Red Robin Gourmet Burgers and Brews   PAR10   Outparcel      6,350       Perm       3/8/2004   10/31/2028       146,410       12,201     23.06      Base Rent                      brm         11/1/2023     146,410       12,201      23.06         -
                                              Owned
                                                                                                                146,410       12,201     23.06      Cost Recovery                  came        1/1/2024          -            -             -        -
                                                                                                                146,410       12,201     23.06      Percentage Rent Terms          None        3/8/2004          -            -             -        -
                                                                                                                146,410       12,201     23.06      Future Base Increases                                                     -             -        -

Sbarro                                2072     Food Court        938     Perm       3/1/2000   12/31/2028       101,561        8,463    108.27      Base Rent                       brm        1/1/2024       75,000        6,250      79.96         -
                                                                                                                101,561        8,463    108.27      Cost Recovery                  hvafixed    1/1/2024        4,764          397       5.08         -
                                                                                                                101,561        8,463    108.27                                      ret        1/1/2024       14,477        1,206      15.43         -
                                                                                                                101,561        8,463    108.27                                     tuhvac      1/1/2024        4,740          395       5.05         -
                                                                                                                101,561        8,463    108.27                                     tuwsw       1/1/2024        2,580          215       2.75         -
                                                                                                                101,561        8,463    108.27      Percentage Rent Terms         Breakpoint   1/1/2024      650,000       54,167     692.96       15.00   UN
                                                                                                                101,561        8,463    108.27      Future Base Increases           brm        1/1/2025       77,250        6,438      82.36         -
                                                                                                                101,561        8,463    108.27                                      brm        1/1/2026       79,568        6,631      84.83         -
                                                                                                                101,561        8,463    108.27                                      brm        1/1/2027       81,954        6,830      87.37         -
                                                                                                                101,561        8,463    108.27                                      brm        1/1/2028       84,413        7,034      89.99         -
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                                                                              PROPERTY RENT ROLL
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                                                                                                         GROSS RENT                                                           TENANT DETAILS
TENANT              SPACE   TYPE          SF         PERM/TEMP      TCD          EXP         ANNUAL       MONTHLY     PSF                                          CODE        FROM        ANNUAL      MONTHLY      PSF       % PAY    TYP

Shoe Dept. Encore   2218     Inline       11,589       Perm      11/23/2013   11/30/2025       100,360        8,363         8.66   Base Rent                       brm         3/1/2024      100,000       8,333       8.63      -
                                                                                               100,360        8,363         8.66   Cost Recovery                  tuwsw        3/1/2024          360          30       0.03      -
                                                                                               100,360        8,363         8.66   Percentage Rent Terms         Breakpoint    3/1/2024    1,000,000      83,333      86.29    10.00   UN
                                                                                               100,360        8,363         8.66   Future Base Increases           brm         3/1/2025      185,000      15,417      15.96      -

Snipes              1178     Inline        5,949       Perm      5/23/2012    01/31/2027       177,901       14,825     29.90      Base Rent                       brm        10/15/2023     150,000      12,500      25.21      -
                                                                                               177,901       14,825     29.90      Cost Recovery                  tuhvac      10/15/2023      27,901       2,325       4.69      -
                                                                                               177,901       14,825     29.90      Percentage Rent Terms         Breakpoint   10/15/2023   1,920,000     160,000     322.74    10.00   UN
                                                                                               177,901       14,825     29.90      Future Base Increases                                                     -          -        -

Spa Day             1090     Inline        2,298       Perm      4/22/2023    04/21/2033        60,844        5,070     26.48      Base Rent                       brm        5/1/2024        22,570       1,881       9.82      -
                                                                                                60,844        5,070     26.48      Cost Recovery                  camp        4/22/2023       13,972       1,164       6.08      -
                                                                                                60,844        5,070     26.48                                     hvafixed    4/22/2023        5,832         486       2.54      -
                                                                                                60,844        5,070     26.48                                      mkfd       4/22/2023        3,493         291       1.52      -
                                                                                                60,844        5,070     26.48                                      ret        4/22/2023        9,973         831       4.34      -
                                                                                                60,844        5,070     26.48                                     tuhvac      4/22/2023        4,500         375       1.96      -
                                                                                                60,844        5,070     26.48                                     tuwsw       4/22/2023          504          42       0.22      -
                                                                                                60,844        5,070     26.48      Percentage Rent Terms         Breakpoint   4/22/2023      300,000      25,000     130.55    10.00   UN
                                                                                                60,844        5,070     26.48      Future Base Increases           brm        5/1/2025        32,570       2,714      14.17      -
                                                                                                60,844        5,070     26.48                                      brm        5/1/2026        33,222       2,769      14.46      -
                                                                                                60,844        5,070     26.48                                      brm        5/1/2027        33,886       2,824      14.75      -
                                                                                                60,844        5,070     26.48                                      brm        5/1/2028        34,564       2,880      15.04      -
                                                                                                60,844        5,070     26.48                                      brm        5/1/2029        35,255       2,938      15.34      -
                                                                                                60,844        5,070     26.48                                      brm        5/1/2030        35,960       2,997      15.65      -
                                                                                                60,844        5,070     26.48                                      brm        5/1/2031        36,679       3,057      15.96      -
                                                                                                60,844        5,070     26.48                                      brm        5/1/2032        37,413       3,118      16.28      -

Spencer's           2010     Inline        1,800       Perm      3/28/2002    01/31/2026        65,700        5,475     36.50      Base Rent                       brm         2/1/2024       60,000       5,000      33.33      -
                                                                                                65,700        5,475     36.50      Cost Recovery                  tuhvac       2/1/2024        5,400         450       3.00      -
                                                                                                65,700        5,475     36.50                                     tuwsw        2/1/2024          300           25      0.17      -
                                                                                                65,700        5,475     36.50      Percentage Rent Terms         Breakpoint    2/1/2024      600,000      50,000     333.33    10.00   UN
                                                                                                65,700        5,475     36.50      Future Base Increases                                                     -          -        -

Sweet Water         2078     Inline            902     Perm      2/12/2023    02/28/2028        61,645        5,137     68.34      Base Rent                       brm        3/1/2024        47,205       3,934      52.33      -
                                                                                                61,645        5,137     68.34      Cost Recovery                  fccam       1/1/2024         7,423         619       8.23      -
                                                                                                61,645        5,137     68.34                                     mkfd        1/1/2024         1,858         155       2.06      -
                                                                                                61,645        5,137     68.34                                      ret        2/12/2023        5,159         430       5.72      -
                                                                                                61,645        5,137     68.34      Percentage Rent Terms         Breakpoint   3/1/2024       442,900      36,908     491.02    15.00   UN
                                                                                                61,645        5,137     68.34      Future Base Increases           brm        3/1/2025        48,621       4,052      53.90      -
                                                                                                61,645        5,137     68.34                                      brm        3/1/2026        50,079       4,173      55.52      -
                                                                                                61,645        5,137     68.34                                      brm        3/1/2027        51,582       4,298      57.19      -

T-Mobile            1088     Inline        1,300       Perm       1/1/2014    01/31/2025       154,217       12,851    118.63      Base Rent                       brm         1/1/2024       86,994       7,250      66.92      -
                                                                                               154,217       12,851    118.63      Cost Recovery                   camf        1/1/2024       37,572       3,131      28.90      -
                                                                                               154,217       12,851    118.63                                       ret        1/1/2022       22,666       1,889      17.44      -
                                                                                               154,217       12,851    118.63                                     tuhvac       1/1/2024        6,829         569       5.25      -
                                                                                               154,217       12,851    118.63                                     tuwsw        1/1/2022          156           13      0.12      -
                                                                                               154,217       12,851    118.63      Percentage Rent Terms           None        1/1/2022          -           -          -        -
                                                                                               154,217       12,851    118.63      Future Base Increases           brm         1/1/2025       89,604       7,467      68.93      -

Taco Bell           2074     Food Court        806     Perm       1/1/2017    06/30/2030        83,900        6,992    104.09      Base Rent                       brm         1/1/2017       82,100       6,842     101.86      -
                                                                                                83,900        6,992    104.09      Cost Recovery                  tuwsw        1/1/2017        1,800         150       2.23      -
                                                                                                83,900        6,992    104.09      Percentage Rent Terms         Breakpoint    1/1/2017      700,000      58,333     868.49     8.00   UN
                                                                                                83,900        6,992    104.09      Future Base Increases           brm         7/1/2025       90,310       7,526     112.05      -
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                                                                          Shoppes at Buckland Hills, LLC * Manchester, CT 06042
                                                                                      PROPERTY RENT ROLL
                                                                                                   11/2024

                                                                                                                 GROSS RENT                                                         TENANT DETAILS
TENANT                   SPACE   TYPE           SF            PERM/TEMP      TCD         EXP         ANNUAL       MONTHLY      PSF                                       CODE        FROM        ANNUAL      MONTHLY      PSF        % PAY    TYP

The Children's Place     1114     Inline         4,160          Perm       4/1/2010   01/31/2026       139,790       11,649      33.60   Base Rent                      brmflr       2/1/2024      139,790      11,649      33.60       -
                                                                                                       139,790       11,649      33.60   Cost Recovery                                                             -          -         -
                                                                                                       139,790       11,649      33.60   Percentage Rent Terms         Breakpoint    2/1/2024      700,000      58,333     168.27      6.00   UN
                                                                                                       139,790       11,649      33.60   Future Base Increases                                                     -          -         -

Victoria's Secret        2160     Inline        10,658          Perm       6/1/2002   01/31/2025       464,995       38,750      43.63   Base Rent                       brm         2/1/2023      450,000      37,500      42.22       -
                                                                                                       464,995       38,750      43.63   Cost Recovery                  tuhvac       1/1/2024       14,995       1,250       1.41       -
                                                                                                       464,995       38,750      43.63   Percentage Rent Terms         Breakpoint    2/1/2023    4,500,000     375,000     422.22     10.00   UN
                                                                                                       464,995       38,750      43.63   Future Base Increases                                                     -          -         -

Wal-Mart                  420    Not Property        -          Perm      3/31/1992   12/31/2099             -          -            -   Base Rent                                                                 -            -       -
                                 Owned

                                                                                                             -          -            -   Cost Recovery                                                             -            -       -
                                                                                                             -          -            -   Percentage Rent Terms          None        6/10/2019          -           -            -       -
                                                                                                             -          -            -   Future Base Increases                                                     -            -       -

Wetzel's Pretzels 1176   1176     Inline             962        Perm      10/1/2013   09/30/2030        98,243        8,187     102.12   Base Rent                       brm         10/1/2024      74,582       6,215      77.53       -
                                                                                                        98,243        8,187     102.12   Cost Recovery                  camp         10/1/2024       7,917         660       8.23       -
                                                                                                        98,243        8,187     102.12                                   mkfd        10/1/2024       1,982         165       2.06       -
                                                                                                        98,243        8,187     102.12                                   ret         10/1/2023      13,102       1,092      13.62       -
                                                                                                        98,243        8,187     102.12                                  tuwsw        10/1/2023         660          55       0.69       -
                                                                                                        98,243        8,187     102.12   Percentage Rent Terms         Breakpoint   11/21/2023     678,000      56,500     704.78     10.00   UN
                                                                                                        98,243        8,187     102.12   Future Base Increases           brm         10/1/2025      76,820       6,402      79.85       -
                                                                                                        98,243        8,187     102.12                                   brm         10/1/2026      79,124       6,594      82.25       -
                                                                                                        98,243        8,187     102.12                                   brm         10/1/2027      81,498       6,792      84.72       -
                                                                                                        98,243        8,187     102.12                                   brm         10/1/2028      83,943       6,995      87.26       -
                                                                                                        98,243        8,187     102.12                                   brm         10/1/2029      86,461       7,205      89.88       -

Wetzel's Pretzels 5531   5531     Kiosk                  80     Perm      10/1/2013   09/30/2030        38,110        3,176     476.37   Base Rent                      brm         10/1/2024       38,110       3,176      476.37      -
                                                                                                        38,110        3,176     476.37   Cost Recovery                                                             -           -        -
                                                                                                        38,110        3,176     476.37   Percentage Rent Terms         Breakpoint   11/21/2023     300,000      25,000    3,750.00    10.00   UN
                                                                                                        38,110        3,176     476.37   Future Base Increases           brm         10/1/2025      39,253       3,271      490.67      -
                                                                                                        38,110        3,176     476.37                                   brm         10/1/2026      40,431       3,369      505.39      -
                                                                                                        38,110        3,176     476.37                                   brm         10/1/2027      41,644       3,470      520.55      -
                                                                                                        38,110        3,176     476.37                                   brm         10/1/2028      42,893       3,574      536.16      -
                                                                                                        38,110        3,176     476.37                                   brm         10/1/2029      44,180       3,682      552.25      -

Windsor                  1135     Inline         3,036          Perm      6/19/2014   01/31/2025       228,491       19,041      75.26   Base Rent                       brm        11/1/2024       76,298       6,358      25.13       -
                                                                                                       228,491       19,041      75.26   Cost Recovery                   camf       1/1/2024        84,212       7,018      27.74       -
                                                                                                       228,491       19,041      75.26                                  hvafixed    1/1/2024         8,673         723       2.86       -
                                                                                                       228,491       19,041      75.26                                    ret       6/19/2014       48,327       4,027      15.92       -
                                                                                                       228,491       19,041      75.26                                  tuhvac      6/19/2014       10,800         900       3.56       -
                                                                                                       228,491       19,041      75.26                                  tuwsw       6/19/2014          180          15       0.06       -
                                                                                                       228,491       19,041      75.26   Percentage Rent Terms         Breakpoint   11/1/2024    1,271,641     105,970     418.85      6.00   UN
                                                                                                       228,491       19,041      75.26   Future Base Increases           brm        11/1/2024       76,298       6,358      25.13       -

Yankee Candle            2102     Inline         1,550          Perm       8/1/2014   01/31/2025       187,492       15,624     120.96   Base Rent                       brm         8/1/2024       90,693       7,558      58.51       -
                                                                                                       187,492       15,624     120.96   Cost Recovery                   camf        1/1/2024       68,304       5,692      44.07       -
                                                                                                       187,492       15,624     120.96                                    ret        7/1/2021       28,375       2,365      18.31       -
                                                                                                       187,492       15,624     120.96                                  tuwsw        8/1/2014          120           10      0.08       -
                                                                                                       187,492       15,624     120.96   Percentage Rent Terms         Breakpoint    8/1/2024    1,511,553     125,963     975.20      6.00   UN
                                                                                                       187,492       15,624     120.96   Future Base Increases                                                     -          -         -
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                                                                                                                         GROSS RENT                                                           TENANT DETAILS
TENANT                                  SPACE   TYPE       SF         PERM/TEMP      TCD         EXP         ANNUAL       MONTHLY     PSF                                          CODE        FROM       ANNUAL      MONTHLY      PSF          % PAY    TYP

Zales Jewelers                          2098     Inline     1,201       Perm      3/14/1990   01/31/2025       133,992       11,166    111.57      Base Rent                       brm        2/1/2023      103,826       8,652      86.45         -
                                                                                                               133,992       11,166    111.57      Cost Recovery                  hvafixed    2/1/2023        6,591         549       5.49         -
                                                                                                               133,992       11,166    111.57                                      ret        2/1/2023       15,415       1,285      12.84         -
                                                                                                               133,992       11,166    111.57                                     tuhvac      2/1/2023        8,040         670       6.69         -
                                                                                                               133,992       11,166    111.57                                     tuwsw       2/1/2023          120           10      0.10         -
                                                                                                               133,992       11,166    111.57      Percentage Rent Terms         Breakpoint   2/1/2023    1,200,000     100,000     999.17        6.00   UN
                                                                                                               133,992       11,166    111.57      Future Base Increases                                                    -          -           -

Zumiez                                  2208     Inline     2,453       Perm      4/24/2009   04/30/2025       109,563        9,130     44.67      Base Rent                       brm        5/1/2022       91,129       7,594      37.15         -
                                                                                                               109,563        9,130     44.67      Cost Recovery                  hvafixed    1/1/2024       18,374       1,531       7.49         -
                                                                                                               109,563        9,130     44.67                                     tuwsw       5/1/2022           60           5       0.02         -
                                                                                                               109,563        9,130     44.67      Percentage Rent Terms         Breakpoint   5/1/2022      900,000      75,000     366.90       10.00   UN
                                                                                                               109,563        9,130     44.67      Future Base Increases                                                    -          -           -

ACR Trading LLC (Donation Bins)                                         Temp       8/1/2020     HOLD             7,200         600           -     Base Rent                                                                -             -        -
                                                                                                                 7,200         600           -     Cost Recovery                  ttmisinc    1/1/2022        7,200         600           -        -
                                                                                                                 7,200         600           -     Percentage Rent Terms           None                                     -             -
                                                                                                                 7,200         600           -     Future Base Increases                                                    -             -        -

Action Bulk Distributors 5519           5519     Vending        -       Temp       4/1/2021     HOLD             1,800         150           -     Base Rent                      ttven       4/1/2023        1,800         150           -        -
                                                                                                                 1,800         150           -     Cost Recovery                                                            -             -        -
                                                                                                                 1,800         150           -     Percentage Rent Terms         Breakpoint   4/1/2023       12,000       1,000           -      15.00   N
                                                                                                                 1,800         150           -     Future Base Increases                                                    -             -        -

Action Bulk Distributors 5623           5623     Vending        -       Temp       4/1/2021   03/31/2025         5,700         475           -     Base Rent                      ttven       4/1/2024        5,700         475           -        -
                                                                                                                 5,700         475           -     Cost Recovery                                                            -             -        -
                                                                                                                 5,700         475           -     Percentage Rent Terms         Breakpoint   4/1/2024       38,000       3,167           -      15.00   N
                                                                                                                 5,700         475           -     Future Base Increases                                                    -             -        -

Amyahs Nails                            1055     Inline         779     Temp       8/1/2024   08/31/2025        15,600        1,300     20.03      Base Rent                      ttibrn      11/1/2024      15,600       1,300      20.03         -
                                                                                                                15,600        1,300     20.03      Cost Recovery                                                            -          -           -
                                                                                                                15,600        1,300     20.03      Percentage Rent Terms         Breakpoint   8/1/2024      104,000       8,667     133.50       15.00   N
                                                                                                                15,600        1,300     20.03      Future Base Increases           ttibrn     11/1/2024      15,600       1,300      20.03         -
                                                                                                                15,600        1,300     20.03                                      ttibrn     12/1/2024      16,800       1,400      21.57         -
                                                                                                                15,600        1,300     20.03                                      ttibrn     1/1/2025       13,200       1,100      16.94         -

BarQz Beauty Mens Grooming              1122     Inline     1,324       Temp      11/1/2024   11/30/2025        16,800        1,400     12.69      Base Rent                      ttibrn      11/1/2024      16,800       1,400      12.69         -
                                                                                                                16,800        1,400     12.69      Cost Recovery                                                            -          -           -
                                                                                                                16,800        1,400     12.69      Percentage Rent Terms         Breakpoint   11/1/2024      14,000       1,167      10.57       10.00   UN
                                                                                                                16,800        1,400     12.69      Future Base Increases           ttibrn     11/1/2024      16,800       1,400      12.69         -

BarQZ-Beauty                            1004     Inline     1,257       Temp       7/1/2024   03/31/2025        11,400         950          9.07   Base Rent                      ttibrn      7/1/2024       11,400         950          9.07      -
                                                                                                                11,400         950          9.07   Cost Recovery                                                            -             -        -
                                                                                                                11,400         950          9.07   Percentage Rent Terms         Breakpoint   7/1/2024        6,333         528          5.04    15.00   UN
                                                                                                                11,400         950          9.07   Future Base Increases                                                    -             -        -

Bath & Body Works (storage 2)           STR17    Storage        100     Temp      11/1/2021   07/31/2025        22,200        1,850    222.00      Base Rent                                                                -          -           -
                                                                                                                22,200        1,850    222.00      Cost Recovery                  ttsto       7/1/2024       22,200       1,850     222.00         -
                                                                                                                22,200        1,850    222.00      Percentage Rent Terms          None                                      -          -
                                                                                                                22,200        1,850    222.00      Future Base Increases                                                    -          -           -

Bath & Body Works LLC Holiday Storage   2176     Inline     3,008       Temp      9/15/2024   01/31/2025        11,400         950          3.79   Base Rent                                                                -             -        -
                                                                                                                11,400         950          3.79   Cost Recovery                  ttsto       10/1/2024      11,400         950          3.79      -
                                                                                                                11,400         950          3.79   Percentage Rent Terms          None                                      -             -
                                                                                                                11,400         950          3.79   Future Base Increases                                                    -             -        -
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                                                                                                                GROSS RENT                                                            TENANT DETAILS
TENANT                 SPACE   TYPE           SF            PERM/TEMP      TCD          EXP         ANNUAL       MONTHLY      PSF                                          CODE        FROM        ANNUAL      MONTHLY     PSF          % PAY    TYP

Beautifit                                                     Temp      10/1/2023    12/31/2025        21,600        1,800           -     Base Rent                      ttibrn      11/1/2023       21,600       1,800          -        -
                                                                                                       21,600        1,800           -     Cost Recovery                                                             -            -        -
                                                                                                       21,600        1,800           -     Percentage Rent Terms         Breakpoint   11/1/2023      144,000      12,000          -      15.00   N
                                                                                                       21,600        1,800           -     Future Base Increases                                                     -            -        -

Beautifit Outlet       2122     Inline         1,746          Temp      11/26/2024   12/31/2025         1,608         134           0.92   Base Rent                      ttibrn      11/26/2024       1,608        134          0.92      -
                                                                                                        1,608         134           0.92   Cost Recovery                                                            -             -        -
                                                                                                        1,608         134           0.92   Percentage Rent Terms         Breakpoint   11/26/2024       1,340        112          0.77    10.00   UN
                                                                                                        1,608         134           0.92   Future Base Increases           ttibrn     11/26/2024       1,608        134          0.92      -
                                                                                                        1,608         134           0.92                                   ttibrn      12/1/2024       9,600        800          5.50      -

Biberon Studios LLC    5609     RMU                -          Temp      11/29/2024   01/13/2025             -          -             -     Base Rent                                                                 -            -        -
                                                                                                            -          -             -     Cost Recovery                                                             -            -        -
                                                                                                            -          -             -     Percentage Rent Terms          None        11/29/2024         -           -            -        -
                                                                                                            -          -             -     Future Base Increases                                                     -            -        -

Bloodlines Tattooing   2128     Inline         1,975          Temp       6/1/2019    07/31/2025        26,400        2,200      13.37      Base Rent                      ttibrn       7/1/2024       26,400       2,200     13.37         -
                                                                                                       26,400        2,200      13.37      Cost Recovery                                                             -         -           -
                                                                                                       26,400        2,200      13.37      Percentage Rent Terms         Breakpoint    7/1/2024       14,667       1,222      7.43       15.00   UN
                                                                                                       26,400        2,200      13.37      Future Base Increases                                                     -         -           -

Brick Swap USA         1074     Inline         1,161          Temp       4/1/2019    02/28/2025        19,800        1,650      17.05      Base Rent                      ttibrn       3/1/2024       19,800       1,650     17.05         -
                                                                                                       19,800        1,650      17.05      Cost Recovery                                                             -         -           -
                                                                                                       19,800        1,650      17.05      Percentage Rent Terms         Breakpoint   3/1/2024        11,000         917      9.47       15.00   UN
                                                                                                       19,800        1,650      17.05      Future Base Increases           ttibrn     12/1/2024       22,200       1,850     19.12         -
                                                                                                       19,800        1,650      17.05                                      ttibrn     1/1/2025        19,800       1,650     17.05         -

Burger Class           2060     Food Court     1,256          Temp       4/1/2024    03/31/2025        24,000        2,000      19.11      Base Rent                      ttibrn       4/1/2024       24,000       2,000     19.11         -
                                                                                                       24,000        2,000      19.11      Cost Recovery                                                             -         -           -
                                                                                                       24,000        2,000      19.11      Percentage Rent Terms         Breakpoint    4/1/2024       29,167       2,431     23.22        8.00   UN
                                                                                                       24,000        2,000      19.11      Future Base Increases                                                     -         -           -

Caribbean Vacations     2       Advertising            20     Temp       3/1/2024    03/31/2025         4,800         400      240.00      Base Rent                                                                -          -           -
                                                                                                        4,800         400      240.00      Cost Recovery                  ttspn        3/1/2024        4,800        400     240.00         -
                                                                                                        4,800         400      240.00      Percentage Rent Terms          None         3/1/2024          -          -          -           -
                                                                                                        4,800         400      240.00      Future Base Increases                                                    -          -           -

Clip Money             CLP1    Common                  12     Temp       8/1/2023    07/31/2026         3,000         250      250.00      Base Rent                      ttkbrn       8/1/2023        3,000        250     250.00         -
                               Area
                                                                                                        3,000         250      250.00      Cost Recovery                                                            -          -           -
                                                                                                        3,000         250      250.00      Percentage Rent Terms          None        8/1/2023           -          -          -           -
                                                                                                        3,000         250      250.00      Future Base Increases          ttkbrn      8/1/2025         3,090        258     257.50         -
                                                                                                        3,000         250      250.00                                     ttkbrn      9/1/2025         3,183        265     265.23         -
                                                                                                        3,000         250      250.00                                     ttkbrn      10/1/2025        3,278        273     273.18         -
                                                                                                        3,000         250      250.00                                     ttkbrn      11/1/2025        3,377        281     281.38         -
                                                                                                        3,000         250      250.00                                     ttkbrn      12/1/2025        3,478        290     289.82         -
                                                                                                        3,000         250      250.00                                     ttkbrn      1/1/2026         3,582        299     298.51         -
                                                                                                        3,000         250      250.00                                     ttkbrn      2/1/2026         3,690        307     307.47         -
                                                                                                        3,000         250      250.00                                     ttkbrn      3/1/2026         3,800        317     316.69         -
                                                                                                        3,000         250      250.00                                     ttkbrn      4/1/2026         3,914        326     326.19         -
                                                                                                        3,000         250      250.00                                     ttkbrn      5/1/2026         4,032        336     335.98         -
                                                                                                        3,000         250      250.00                                     ttkbrn      6/1/2026         4,153        346     346.06         -
                                                                                                        3,000         250      250.00                                     ttkbrn      7/1/2026         4,277        356     356.44         -
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                                                                                                                             GROSS RENT                                                              TENANT DETAILS
TENANT                                     SPACE   TYPE      SF         PERM/TEMP      TCD         EXP         ANNUAL         MONTHLY        PSF                                          CODE        FROM       ANNUAL      MONTHLY        PSF          % PAY    TYP

Collectables and Cards                     2030     Inline    6,075       Temp       3/1/2022   02/28/2025        60,000          5,000            9.88   Base Rent                      ttibrn      11/1/2024      60,000       5,000         9.88         -
                                                                                                                  60,000          5,000            9.88   Cost Recovery                                                            -            -           -
                                                                                                                  60,000          5,000            9.88   Percentage Rent Terms         Breakpoint   11/1/2024     400,000      33,333        65.84       15.00   N
                                                                                                                  60,000          5,000            9.88   Future Base Increases           ttibrn     11/1/2024      60,000       5,000         9.88         -
                                                                                                                  60,000          5,000            9.88                                   ttibrn     12/1/2024     120,000      10,000        19.75         -
                                                                                                                  60,000          5,000            9.88                                   ttibrn     1/1/2025       24,000       2,000         3.95         -

Connecticut Department of Children and F                                  Temp       9/1/2020     HOLD                 -            -               -     Base Rent                                                                -               -        -
                                                                                                                       -            -               -     Cost Recovery                                                            -               -        -
                                                                                                                       -            -               -     Percentage Rent Terms          None                                      -               -
                                                                                                                       -            -               -     Future Base Increases                                                    -               -        -

Cotton Candy Flower                        6502     Kiosk         120     Temp      10/1/2024   10/31/2025         5,700           475         47.50      Base Rent                      ttven       10/1/2024       5,700         475        47.50         -
                                                                                                                   5,700           475         47.50      Cost Recovery                                                            -            -           -
                                                                                                                   5,700           475         47.50      Percentage Rent Terms         Breakpoint   10/1/2024      38,000       3,167       316.67       15.00   N
                                                                                                                   5,700           475         47.50      Future Base Increases                                                    -            -           -

Custom Hub                                 5538     Kiosk         280     Temp      10/1/2023   01/31/2026        18,000          1,500        64.29      Base Rent                      ttkbrn      11/1/2024      18,000       1,500        64.29         -
                                                                                                                  18,000          1,500        64.29      Cost Recovery                                                            -            -           -
                                                                                                                  18,000          1,500        64.29      Percentage Rent Terms         Breakpoint   11/1/2024      10,000         833        35.71       15.00   UN
                                                                                                                  18,000          1,500        64.29      Future Base Increases           ttkbrn     11/1/2024      18,000       1,500        64.29         -
                                                                                                                  18,000          1,500        64.29                                      ttkbrn     12/1/2024      21,600       1,800        77.14         -
                                                                                                                  18,000          1,500        64.29                                      ttkbrn     1/1/2025       16,800       1,400        60.00         -
                                                                                                                  18,000          1,500        64.29                                      ttkbrn     11/1/2025      18,000       1,500        64.29         -
                                                                                                                  18,000          1,500        64.29                                      ttkbrn     12/1/2025      21,600       1,800        77.14         -
                                                                                                                  18,000          1,500        64.29                                      ttkbrn     1/1/2026       16,800       1,400        60.00         -

Custom Hub Storage                         1170     Inline    3,674       Temp      10/1/2023   01/31/2026         1,200           100             0.33   Base Rent                                                               -                -        -
                                                                                                                   1,200           100             0.33   Cost Recovery                  ttsto       10/1/2024       1,200        100             0.33      -
                                                                                                                   1,200           100             0.33   Percentage Rent Terms          None                                     -                -
                                                                                                                   1,200           100             0.33   Future Base Increases                                                   -                -        -

Dollar N Things                            2138     Inline    3,573       Temp       1/1/2021   04/30/2025        24,720          2,060            6.92   Base Rent                      ttibrn      5/1/2024       24,720       2,060         6.92         -
                                                                                                                  24,720          2,060            6.92   Cost Recovery                                                            -            -           -
                                                                                                                  24,720          2,060            6.92   Percentage Rent Terms         Breakpoint   5/1/2024      247,200      20,600        69.19       10.00   N
                                                                                                                  24,720          2,060            6.92   Future Base Increases           ttibrn     12/1/2024      72,000       6,000        20.15         -
                                                                                                                  24,720          2,060            6.92                                   ttibrn     1/1/2025       24,720       2,060         6.92         -

ecoATM                                     5631     Kiosk         120     Temp      10/1/2024   10/31/2025         3,000           250         25.00      Base Rent                      ttven       11/1/2024       3,000        250         25.00         -
                                                                                                                   3,000           250         25.00      Cost Recovery                                                           -             -           -
                                                                                                                   3,000           250         25.00      Percentage Rent Terms          None                                     -             -
                                                                                                                   3,000           250         25.00      Future Base Increases          ttven       11/1/2024       3,000        250         25.00         -

Enzo Clothiers                                                            Temp       5/1/2021     HOLD            37,080          3,090             -     Base Rent                      ttibrn      1/1/2024       37,080       3,090             -        -
                                                                                                                  37,080          3,090             -     Cost Recovery                                                            -               -        -
                                                                                                                  37,080          3,090             -     Percentage Rent Terms         Breakpoint   1/1/2023      247,200      20,600             -      15.00   N
                                                                                                                  37,080          3,090             -     Future Base Increases                                                    -               -        -

Enzo Clothiers STR                         1194     Inline    3,001       Temp       4/1/2023   03/31/2025             600              50         0.20   Base Rent                                                                -               -        -
                                                                                                                       600              50         0.20   Cost Recovery                  ttsto       4/1/2024         600              50         0.20      -
                                                                                                                       600              50         0.20   Percentage Rent Terms          None                                      -               -
                                                                                                                       600              50         0.20   Future Base Increases                                                    -               -        -
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                                                                                                                                    GROSS RENT                                                              TENANT DETAILS
TENANT                               SPACE       TYPE           SF            PERM/TEMP      TCD          EXP         ANNUAL         MONTHLY        PSF                                          CODE        FROM        ANNUAL      MONTHLY        PSF          % PAY    TYP

GGSI-Solar Panels                     SOLAR      Non-Fronting        -          Temp      2/23/2016    02/22/2031        48,264          4,022             -     Base Rent                                                                 -               -        -

                                                                                                                         48,264          4,022             -     Cost Recovery                  ttmisinc    2/23/2024       48,264       4,022             -        -
                                                                                                                         48,264          4,022             -     Percentage Rent Terms           None                                      -               -
                                                                                                                         48,264          4,022             -     Future Base Increases                                                     -               -        -

Global Gecko                          2092       Inline          1,200          Temp      11/26/2021   12/31/2024             -            -               -     Base Rent                                                                 -               -        -
                                                                                                                              -            -               -     Cost Recovery                                                             -               -        -
                                                                                                                              -            -               -     Percentage Rent Terms          None                                       -               -
                                                                                                                              -            -               -     Future Base Increases                                                     -               -        -

Go! Calendars Go! Games Go! Toys      1060       Inline          6,423          Temp      8/10/2023    01/31/2025        43,992          3,666            6.85   Base Rent                       ttibrn     11/1/2024       39,000       3,250         6.07         -
                                                                                                                         43,992          3,666            6.85   Cost Recovery                   ttutil     3/1/2024         4,992         416         0.78         -
                                                                                                                         43,992          3,666            6.85   Percentage Rent Terms         Breakpoint   3/1/2024       230,000      19,167        35.81        7.00   UN
                                                                                                                         43,992          3,666            6.85   Future Base Increases           ttibrn     11/1/2024       39,000       3,250         6.07         -
                                                                                                                         43,992          3,666            6.85                                   ttibrn     12/1/2024       39,000       3,250         6.07         -
                                                                                                                         43,992          3,666            6.85                                   ttibrn     1/1/2025        12,000       1,000         1.87         -

Gong Cha STR                          STR06      Storage             100        Temp       9/1/2023    09/30/2025         1,200           100         12.00      Base Rent                                                                -             -           -
                                                                                                                          1,200           100         12.00      Cost Recovery                  ttsto        9/1/2024        1,200        100         12.00         -
                                                                                                                          1,200           100         12.00      Percentage Rent Terms          None                                      -             -
                                                                                                                          1,200           100         12.00      Future Base Increases                                                    -             -           -

Heritage Amusements                   6501       Kiosk                          Temp      2/12/2021    02/28/2025        36,000          3,000             -     Base Rent                      ttkbrn       3/1/2024       36,000       3,000             -        -
                                                                                                                         36,000          3,000             -     Cost Recovery                                                             -               -        -
                                                                                                                         36,000          3,000             -     Percentage Rent Terms         Breakpoint    3/1/2023      240,000      20,000             -      15.00   N
                                                                                                                         36,000          3,000             -     Future Base Increases                                                     -               -        -

Innovative Foto (VEND-10)           VEND-10      Vending                 60     Temp       7/1/2021    07/31/2025         4,440           370         74.00      Base Rent                      ttven        7/1/2024        4,440        370         74.00         -
                                                                                                                          4,440           370         74.00      Cost Recovery                                                            -             -           -
                                                                                                                          4,440           370         74.00      Percentage Rent Terms         Breakpoint    7/1/2024        2,467        206         41.11       15.00   UN
                                                                                                                          4,440           370         74.00      Future Base Increases                                                    -             -           -

Innovative Foto (VEND-8)             VEND-8      Vending                 60     Temp       7/1/2021    07/31/2025         3,240           270         54.00      Base Rent                      ttven        7/1/2024        3,240        270         54.00         -
                                                                                                                          3,240           270         54.00      Cost Recovery                                                            -             -           -
                                                                                                                          3,240           270         54.00      Percentage Rent Terms         Breakpoint    7/1/2024        1,800        150         30.00       15.00   UN
                                                                                                                          3,240           270         54.00      Future Base Increases                                                    -             -           -

Jasmine and Aladdin LLC Storage    STR04, STR08 Storage,             100        Temp      11/1/2024    01/15/2025             600              50         6.00   Base Rent                                                                 -               -        -
                                                Storage
                                                                                                                              600              50         6.00   Cost Recovery                  ttsto       11/1/2024         600              50         6.00      -
                                                                                                                              600              50         6.00   Percentage Rent Terms          None                                       -               -
                                                                                                                              600              50         6.00   Future Base Increases                                                     -               -        -

JC Natives                          5607, 5608   RMU, RMU            120        Temp      11/26/2024   12/31/2024        12,000          1,000       100.00      Base Rent                      ttrbrn      11/26/2024      12,000       1,000       100.00         -
                                                                                                                         12,000          1,000       100.00      Cost Recovery                                                             -            -           -
                                                                                                                         12,000          1,000       100.00      Percentage Rent Terms         Breakpoint   11/26/2024       6,667         556        55.56       15.00   UN
                                                                                                                         12,000          1,000       100.00      Future Base Increases           ttrbrn     11/26/2024      12,000       1,000       100.00         -
                                                                                                                         12,000          1,000       100.00                                      ttrbrn      12/1/2024      18,000       1,500       150.00         -

Jewelry & Watch Repair                5501       Kiosk               225        Temp      10/1/2024    09/30/2026        33,600          2,800       149.33      Base Rent                      ttkbrn      10/1/2024       33,600       2,800       149.33         -
                                                                                                                         33,600          2,800       149.33      Cost Recovery                                                             -            -           -
                                                                                                                         33,600          2,800       149.33      Percentage Rent Terms         Breakpoint   10/1/2024       18,667       1,556        82.96       15.00   UN
                                                                                                                         33,600          2,800       149.33      Future Base Increases                                                     -            -           -
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                                                                                                                           GROSS RENT                                                            TENANT DETAILS
TENANT                          SPACE      TYPE          SF            PERM/TEMP      TCD          EXP         ANNUAL       MONTHLY      PSF                                          CODE        FROM       ANNUAL      MONTHLY     PSF          % PAY    TYP

Keter Environmental Services    TRASH      Parking Lot        -          Temp       6/1/2019      HOLD            71,931        5,994           -     Base Rent                                                                -            -        -
                                                                                                                  71,931        5,994           -     Cost Recovery                  ttmisc      7/1/2021       71,931       5,994          -        -
                                                                                                                  71,931        5,994           -     Percentage Rent Terms          None                                      -            -
                                                                                                                  71,931        5,994           -     Future Base Increases                                                    -            -        -

KeyMe                                                                    Temp       1/1/2021      HOLD                 -          -             -     Base Rent                      ttven       1/1/2024          -           -            -        -
                                                                                                                       -          -             -     Cost Recovery                                                            -            -        -
                                                                                                                       -          -             -     Percentage Rent Terms         Breakpoint   1/1/2024          -           -            -      20.00   N
                                                                                                                       -          -             -     Future Base Increases                                                    -            -        -

Kiddie Koncepts                5518, V15   Vending,           -          Temp      5/23/2019    09/30/2025         8,100         675            -     Base Rent                      ttven       9/1/2024        2,700        225           -        -
                                           Vending
                                                                                                                   8,100         675            -                                    ttven       9/1/2024        5,400         450          -        -
                                                                                                                   8,100         675            -     Cost Recovery                                                            -            -        -
                                                                                                                   8,100         675            -     Percentage Rent Terms         Breakpoint   9/1/2024       11,146         929          -      40.00   UN
                                                                                                                   8,100         675            -                                   Breakpoint   9/1/2024       13,500       1,125          -      40.00   UN
                                                                                                                   8,100         675            -     Future Base Increases                                                    -            -        -

Kidz Riders                      5506      RMU                    60     Temp      8/15/2023    09/30/2025         6,600         550      110.00      Base Rent                      ttrbrn      9/1/2024        6,600        550     110.00         -
                                                                                                                   6,600         550      110.00      Cost Recovery                                                           -          -           -
                                                                                                                   6,600         550      110.00      Percentage Rent Terms         Breakpoint   9/1/2024        3,667        306      61.11       15.00   UN
                                                                                                                   6,600         550      110.00      Future Base Increases           ttrbrn     12/1/2024       9,000        750     150.00         -
                                                                                                                   6,600         550      110.00                                      ttrbrn     1/1/2025        6,600        550     110.00         -

Kings Jewelers Storage           1010      Inline         1,346          Temp      6/28/2024    11/30/2024         7,200         600           5.35   Base Rent                                                               -             -        -
                                                                                                                   7,200         600           5.35   Cost Recovery                  ttsto       7/1/2024        7,200        600          5.35      -
                                                                                                                   7,200         600           5.35   Percentage Rent Terms          None                                     -             -
                                                                                                                   7,200         600           5.35   Future Base Increases                                                   -             -        -

Kwoncepts Entertainment          V25       Vending                60     Temp      12/1/2019    03/31/2025        12,360        1,030     206.00      Base Rent                      ttven       4/1/2024       12,360       1,030     206.00        -
                                                                                                                  12,360        1,030     206.00      Cost Recovery                                                            -          -          -
                                                                                                                  12,360        1,030     206.00      Percentage Rent Terms         Breakpoint   4/1/2024       82,400       6,867   1,373.33      15.00   N
                                                                                                                  12,360        1,030     206.00      Future Base Increases                                                    -          -          -

Kwoncepts Truck Claw Machine     5601      Vending                25     Temp       8/1/2023    09/30/2025         6,000         500      240.00      Base Rent                      ttven       9/1/2024        6,000        500     240.00         -
                                                                                                                   6,000         500      240.00      Cost Recovery                                                           -          -           -
                                                                                                                   6,000         500      240.00      Percentage Rent Terms         Breakpoint   9/1/2024        1,250        104      50.00       40.00   UN
                                                                                                                   6,000         500      240.00      Future Base Increases                                                   -          -           -

L&L Fashion                      1014      Inline         5,488          Temp       2/1/2021    02/28/2025        58,200        4,850      10.60      Base Rent                      ttibrn      3/1/2023       58,200       4,850     10.60         -
                                                                                                                  58,200        4,850      10.60      Cost Recovery                                                            -         -           -
                                                                                                                  58,200        4,850      10.60      Percentage Rent Terms         Breakpoint   3/1/2024      485,000      40,417     88.37       10.00   UN
                                                                                                                  58,200        4,850      10.60      Future Base Increases                                                    -         -           -

LiLi's                           1034      Inline         4,805          Temp       4/1/2020    03/31/2025        51,912        4,326      10.80      Base Rent                      ttibrn      11/1/2024      51,912       4,326     10.80         -
                                                                                                                  51,912        4,326      10.80      Cost Recovery                                                            -         -           -
                                                                                                                  51,912        4,326      10.80      Percentage Rent Terms         Breakpoint   11/1/2024     519,120      43,260    108.04       10.00   N
                                                                                                                  51,912        4,326      10.80      Future Base Increases           ttibrn     11/1/2024      51,912       4,326     10.80         -
                                                                                                                  51,912        4,326      10.80                                      ttibrn     12/1/2024      75,276       6,273     15.67         -
                                                                                                                  51,912        4,326      10.80                                      ttibrn     1/1/2025       32,772       2,731      6.82         -

Lili's                           1092      Inline         2,997          Temp      11/10/2023   01/31/2025        12,000        1,000          4.00   Base Rent                      ttibrn      11/1/2024      12,000       1,000      4.00         -
                                                                                                                  12,000        1,000          4.00   Cost Recovery                                                            -         -           -
                                                                                                                  12,000        1,000          4.00   Percentage Rent Terms         Breakpoint   11/1/2024      10,000         833      3.34       10.00   UN
                                                                                                                  12,000        1,000          4.00   Future Base Increases           ttibrn     11/1/2024      12,000       1,000      4.00         -
                                                                                                                  12,000        1,000          4.00                                   ttibrn     12/1/2024      30,000       2,500     10.01         -
                                                                                                                  12,000        1,000          4.00                                   ttibrn     1/1/2025       12,000       1,000      4.00         -
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                                                                                                                    GROSS RENT                                                           TENANT DETAILS
TENANT                       SPACE       TYPE       SF         PERM/TEMP      TCD         EXP         ANNUAL         MONTHLY     PSF                                          CODE        FROM       ANNUAL      MONTHLY        PSF          % PAY    TYP

Ma Joli                       1134       Inline      3,662       Temp       1/1/2022   03/10/2025        15,000          1,250         4.10   Base Rent                      ttibrn      4/1/2024       15,000       1,250         4.10         -
                                                                                                         15,000          1,250         4.10   Cost Recovery                                                            -            -           -
                                                                                                         15,000          1,250         4.10   Percentage Rent Terms         Breakpoint   3/11/2024     100,000       8,333        27.31       15.00   N
                                                                                                         15,000          1,250         4.10   Future Base Increases           ttibrn     3/1/2025        4,838         403         1.32         -

Madhavi Joshi                STR01       Storage         100     Temp      10/1/2022   10/31/2025             600          50          6.00   Base Rent                                                                -               -        -
                                                                                                              600          50          6.00   Cost Recovery                  ttsto       10/1/2024        600              50         6.00      -
                                                                                                              600          50          6.00   Percentage Rent Terms          None                                      -               -
                                                                                                              600          50          6.00   Future Base Increases                                                    -               -        -

Massage Chairs             5504, 5514,   Vending,        140     Temp       5/1/2023   09/30/2025        17,100          1,425    122.14      Base Rent                      ttven       10/1/2024      17,100       1,425       122.14         -
                            V11, V13     Vending,
                                         Vending,
                                         Vending
                                                                                                         17,100          1,425    122.14      Cost Recovery                                                           -             -           -
                                                                                                         17,100          1,425    122.14      Percentage Rent Terms         Breakpoint   10/1/2024       3,563        297         25.45       40.00   UN
                                                                                                         17,100          1,425    122.14      Future Base Increases                                                   -             -           -

Metro PCS                     1172       Inline          700     Temp       3/1/2020   03/31/2025        31,200          2,600     44.57      Base Rent                      ttibrn      11/1/2024      31,200       2,600        44.57         -
                                                                                                         31,200          2,600     44.57      Cost Recovery                                                            -            -           -
                                                                                                         31,200          2,600     44.57      Percentage Rent Terms         Breakpoint   11/1/2024      17,333       1,444        24.76       15.00   UN
                                                                                                         31,200          2,600     44.57      Future Base Increases           ttibrn     11/1/2024      31,200       2,600        44.57         -
                                                                                                         31,200          2,600     44.57                                      ttibrn     12/1/2024      33,600       2,800        48.00         -
                                                                                                         31,200          2,600     44.57                                      ttibrn     1/1/2025       26,400       2,200        37.71         -

Mini Arcade                   1126       Inline          330     Temp       2/1/2022   03/11/2025         4,800           400      14.55      Base Rent                      ttven       3/12/2024       4,800        400         14.55         -
                                                                                                          4,800           400      14.55      Cost Recovery                                                           -             -           -
                                                                                                          4,800           400      14.55      Percentage Rent Terms         Breakpoint   3/12/2024       2,667        222          8.08       15.00   UN
                                                                                                          4,800           400      14.55      Future Base Increases                                                   -             -           -

Mini Melts                    5505       Vending         12      Temp       9/1/2020   09/30/2025         5,808           484     484.00      Base Rent                      ttven       9/1/2024        5,808        484        484.00         -
                                                                                                          5,808           484     484.00      Cost Recovery                                                           -             -           -
                                                                                                          5,808           484     484.00      Percentage Rent Terms         Breakpoint   9/1/2024        1,467        122        122.22       33.00   UN
                                                                                                          5,808           484     484.00      Future Base Increases                                                   -             -           -

Miracle Eyebrows              2124       Inline      1,344       Temp       8/1/2022   07/31/2026        30,000          2,500     22.32      Base Rent                      ttibrn      8/1/2024       30,000       2,500        22.32         -
                                                                                                         30,000          2,500     22.32      Cost Recovery                                                            -            -           -
                                                                                                         30,000          2,500     22.32      Percentage Rent Terms         Breakpoint   8/1/2024      200,000      16,667       148.81       15.00   N
                                                                                                         30,000          2,500     22.32      Future Base Increases           ttibrn     8/1/2025       31,500       2,625        23.44         -

Mocha Emporium                                                   Temp       7/1/2024     HOLD            18,900          1,575          -     Base Rent                      ttibrn      7/1/2024       18,900       1,575             -        -
                                                                                                         18,900          1,575          -     Cost Recovery                                                            -               -        -
                                                                                                         18,900          1,575          -     Percentage Rent Terms         Breakpoint   7/1/2024       14,000       1,167             -      15.00   UN
                                                                                                         18,900          1,575          -     Future Base Increases                                                    -               -        -

Mocha Emporium (Storage)     STR14       Storage         60      Temp       7/1/2024   02/27/2025         1,500           125      25.00      Base Rent                                                               -             -           -
                                                                                                          1,500           125      25.00      Cost Recovery                  ttsto       7/1/2024        1,500        125         25.00         -
                                                                                                          1,500           125      25.00      Percentage Rent Terms          None                                     -             -
                                                                                                          1,500           125      25.00      Future Base Increases                                                   -             -           -

MSR Fashions               RMU-5521      RMU             60      Temp      11/1/2021   04/30/2025         6,300           525     105.00      Base Rent                      ttrbrn      11/1/2024       6,300        525        105.00         -
                                                                                                          6,300           525     105.00      Cost Recovery                                                           -             -           -
                                                                                                          6,300           525     105.00      Percentage Rent Terms         Breakpoint   11/1/2024       3,500        292         58.33       15.00   UN
                                                                                                          6,300           525     105.00      Future Base Increases           ttrbrn     11/1/2024       6,300        525        105.00         -
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                                                                                                                  GROSS RENT                                                           TENANT DETAILS
TENANT                         SPACE   TYPE       SF         PERM/TEMP      TCD         EXP         ANNUAL         MONTHLY     PSF                                          CODE        FROM        ANNUAL      MONTHLY        PSF          % PAY    TYP

Native Crafts                  1130     Inline     3,520       Temp       6/1/2018   08/31/2025        12,720          1,060         3.61   Base Rent                      ttibrn       8/1/2024       12,720       1,060            3.61      -
                                                                                                       12,720          1,060         3.61   Cost Recovery                                                             -               -        -
                                                                                                       12,720          1,060         3.61   Percentage Rent Terms         Breakpoint    8/1/2024        7,067         589            2.01    15.00   UN
                                                                                                       12,720          1,060         3.61   Future Base Increases                                                     -               -        -

New Look Brows                                                 Temp      11/1/2023   12/31/2025        21,000          1,750          -     Base Rent                      ttibrn       1/1/2024       21,000       1,750             -        -
                                                                                                       21,000          1,750          -     Cost Recovery                                                             -               -        -
                                                                                                       21,000          1,750          -     Percentage Rent Terms         Breakpoint    1/1/2024      140,000      11,667             -      15.00   N
                                                                                                       21,000          1,750          -     Future Base Increases                                                     -               -        -

NYS Collection (5523)          5523     RMU            60      Temp       1/1/2021   03/31/2025        20,604          1,717    343.40      Base Rent                      ttrbrn       4/1/2024       20,604       1,717        343.40        -
                                                                                                       20,604          1,717    343.40      Cost Recovery                                                             -             -          -
                                                                                                       20,604          1,717    343.40      Percentage Rent Terms         Breakpoint    4/1/2024      137,360      11,447      2,289.33      15.00   N
                                                                                                       20,604          1,717    343.40      Future Base Increases                                                     -             -          -

Passport Candies               1026     Inline     1,000       Temp       4/1/2024   06/30/2025        33,000          2,750     33.00      Base Rent                      ttibrn       6/1/2024       33,000       2,750        33.00         -
                                                                                                       33,000          2,750     33.00      Cost Recovery                                                             -            -           -
                                                                                                       33,000          2,750     33.00      Percentage Rent Terms         Breakpoint    6/1/2024      330,000      27,500       330.00       10.00   N
                                                                                                       33,000          2,750     33.00      Future Base Increases           ttibrn      5/1/2025       66,000       5,500        66.00         -

Personalized Gifts             5522     RMU            60      Temp       9/1/2021   04/30/2025         7,500           625     125.00      Base Rent                      ttrbrn      11/1/2024        7,500        625        125.00         -
                                                                                                        7,500           625     125.00      Cost Recovery                                                            -             -           -
                                                                                                        7,500           625     125.00      Percentage Rent Terms         Breakpoint   11/1/2024        4,167        347         69.44       15.00   UN
                                                                                                        7,500           625     125.00      Future Base Increases           ttrbrn     11/1/2024        7,500        625        125.00         -

Personalized Gifts - Storage   STR02    Storage        100     Temp       1/1/2019   04/30/2025             300          25          3.00   Base Rent                                                                 -               -        -
                                                                                                            300          25          3.00   Cost Recovery                  ttsto       11/1/2024         300              25         3.00      -
                                                                                                            300          25          3.00   Percentage Rent Terms          None                                       -               -
                                                                                                            300          25          3.00   Future Base Increases                                                     -               -        -

Plush                          2188     Inline         739     Temp       4/1/2021   06/30/2025        24,720          2,060     33.45      Base Rent                      ttibrn       6/1/2024       24,720       2,060        33.45         -
                                                                                                       24,720          2,060     33.45      Cost Recovery                                                             -            -           -
                                                                                                       24,720          2,060     33.45      Percentage Rent Terms         Breakpoint   6/1/2024       164,800      13,733       223.00       15.00   N
                                                                                                       24,720          2,060     33.45      Future Base Increases           ttibrn     12/1/2024       30,000       2,500        40.60         -
                                                                                                       24,720          2,060     33.45                                      ttibrn     1/1/2025        24,720       2,060        33.45         -

Rudolph & Me                   5526     RMU            60      Temp      11/1/2021   12/31/2024        22,800          1,900    380.00      Base Rent                      ttrbrn      11/1/2024       22,800       1,900       380.00         -
                                                                                                       22,800          1,900    380.00      Cost Recovery                                                             -            -           -
                                                                                                       22,800          1,900    380.00      Percentage Rent Terms         Breakpoint    11/1/2024      16,000       1,333       266.67       25.00   UN
                                                                                                       22,800          1,900    380.00      Future Base Increases           ttrbrn      11/1/2024      22,800       1,900       380.00         -
                                                                                                       22,800          1,900    380.00                                      ttrbrn      12/1/2024      30,000       2,500       500.00         -
                                                                                                       22,800          1,900    380.00                                      ttrbrn     12/15/2024      37,200       3,100       620.00         -

Skybrite, INC                  1118     Inline     1,768       Temp      11/9/2024   12/31/2024        12,000          1,000         6.79   Base Rent                      ttibrn      11/9/2024       12,000       1,000         6.79         -
                                                                                                       12,000          1,000         6.79   Cost Recovery                                                             -            -           -
                                                                                                       12,000          1,000         6.79   Percentage Rent Terms          None                                       -            -
                                                                                                       12,000          1,000         6.79   Future Base Increases          ttibrn      11/9/2024       12,000       1,000         6.79         -
                                                                                                       12,000          1,000         6.79                                  ttibrn      12/1/2024       18,000       1,500        10.18         -
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                                                                                                                                            GROSS RENT                                                           TENANT DETAILS
TENANT                                      SPACE       TYPE             SF            PERM/TEMP      TCD         EXP         ANNUAL         MONTHLY        PSF                                       CODE        FROM       ANNUAL      MONTHLY        PSF       % PAY    TYP

Sleezys Station                              5615        RMU                      60     Temp      11/1/2024   01/12/2025         9,600           800        160.00   Base Rent                      ttrbrn      11/1/2024       9,600         800       160.00      -
                                                                                                                                  9,600           800        160.00   Cost Recovery                                                            -            -        -
                                                                                                                                  9,600           800        160.00   Percentage Rent Terms         Breakpoint   11/1/2024       5,333         444        88.89    15.00   UN
                                                                                                                                  9,600           800        160.00   Future Base Increases           ttrbrn     11/1/2024       9,600         800       160.00      -
                                                                                                                                  9,600           800        160.00                                   ttrbrn     12/1/2024      24,000       2,000       400.00      -
                                                                                                                                  9,600           800        160.00                                   ttrbrn     1/1/2025        3,720         310        62.00      -

Smarte Carte                               SC1, SC2     Vending,              -          Temp       7/1/2021   05/31/2026             -            -              -   Base Rent                      ttven       6/1/2024          -           -              -      -
                                                        Vending
                                                                                                                                      -            -              -   Cost Recovery                                                            -              -      -
                                                                                                                                      -            -              -   Percentage Rent Terms         Breakpoint   6/1/2024         800              67         -    13.00   UN
                                                                                                                                      -            -              -   Future Base Increases                                                    -              -      -

Smartlite                                1, 10, 11, 12, Advertising,          280        Temp       6/1/2023     HOLD             5,496           458         19.63   Base Rent                                                                -              -      -
                                        13, 14, 15, 16, Advertising,
                                        17, 3, 4, 7, 8, 9 Advertising,
                                                          Advertising,
                                                          Advertising,
                                                          Advertising,
                                                          Advertising,
                                                          Advertising,
                                                          Advertising,
                                                          Advertising,
                                                          Advertising,
                                                          Advertising,
                                                          Advertising,
                                                          Advertising

                                                                                                                                  5,496           458         19.63   Cost Recovery                   ttspn      6/1/2023        5,496        458         19.63      -
                                                                                                                                  5,496           458         19.63   Percentage Rent Terms         Breakpoint   6/1/2023        4,000        333         14.29    44.00   UN
                                                                                                                                  5,496           458         19.63   Future Base Increases                                                   -             -        -

Smoothie Naturale                            2106        Inline               593        Temp       6/1/2019   05/31/2027        31,827          2,652        53.67   Base Rent                      ttibrn      6/1/2024       31,827       2,652        53.67      -
                                                                                                                                 31,827          2,652        53.67   Cost Recovery                                                            -            -        -
                                                                                                                                 31,827          2,652        53.67   Percentage Rent Terms         Breakpoint   6/1/2024      212,180      17,682       357.81    15.00   N
                                                                                                                                 31,827          2,652        53.67   Future Base Increases                                                    -            -        -

Soccer Station                               5525        RMU                      60     Temp      11/1/2024   01/12/2025         9,600           800        160.00   Base Rent                      ttrbrn      11/1/2024       9,600         800       160.00      -
                                                                                                                                  9,600           800        160.00   Cost Recovery                                                            -            -        -
                                                                                                                                  9,600           800        160.00   Percentage Rent Terms         Breakpoint   11/1/2024       5,333         444        88.89    15.00   UN
                                                                                                                                  9,600           800        160.00   Future Base Increases           ttrbrn     11/1/2024       9,600         800       160.00      -
                                                                                                                                  9,600           800        160.00                                   ttrbrn     12/1/2024      24,000       2,000       400.00      -
                                                                                                                                  9,600           800        160.00                                   ttrbrn     1/1/2025        3,720         310        62.00      -

Soft Petalz                                  2080        Inline               459        Temp      12/1/2022   01/31/2025         9,000           750         19.61   Base Rent                      ttibrn      8/1/2024        9,000        750         19.61      -
                                                                                                                                  9,000           750         19.61   Cost Recovery                                                           -             -        -
                                                                                                                                  9,000           750         19.61   Percentage Rent Terms         Breakpoint   7/1/2024        5,000        417         10.89    15.00   UN
                                                                                                                                  9,000           750         19.61   Future Base Increases                                                   -             -        -

Soft Petalz Organic Cosmetics Storage       STR18        Storage              -          Temp      6/14/2024   06/13/2025             600              50         -   Base Rent                                                                -              -      -
                                                                                                                                      600              50         -   Cost Recovery                  ttsto       7/1/2024         600              50         -      -
                                                                                                                                      600              50         -   Percentage Rent Terms          None                                      -              -
                                                                                                                                      600              50         -   Future Base Increases                                                    -              -      -
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                                                                              The Shoppes at Buckland Hills
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                                                                                                                 GROSS RENT                                                              TENANT DETAILS
TENANT                     SPACE   TYPE       SF            PERM/TEMP      TCD         EXP         ANNUAL         MONTHLY        PSF                                          CODE        FROM       ANNUAL      MONTHLY        PSF          % PAY    TYP

Soft Petalz STR            STR05    Storage        -          Temp       5/1/2023   04/30/2025             600              50          -     Base Rent                                                                -               -        -
                                                                                                           600              50          -     Cost Recovery                  ttsto       5/1/2024         600              50          -        -
                                                                                                           600              50          -     Percentage Rent Terms          None                                      -               -
                                                                                                           600              50          -     Future Base Increases                                                    -               -        -

Soft Petalz TIK TOK SHOP   1008     Inline     1,800          Temp      11/1/2024   11/30/2025         2,400           200             1.33   Base Rent                      ttibrn      11/1/2024       2,400        200             1.33      -
                                                                                                       2,400           200             1.33   Cost Recovery                                                           -                -        -
                                                                                                       2,400           200             1.33   Percentage Rent Terms          None                                     -                -
                                                                                                       2,400           200             1.33   Future Base Increases          ttibrn      11/1/2024       2,400        200             1.33      -

Soma's Clothiers           2140     Inline     4,097          Temp       2/1/2021   01/31/2025        37,800          3,150            9.23   Base Rent                      ttibrn      2/1/2024       37,800       3,150         9.23         -
                                                                                                      37,800          3,150            9.23   Cost Recovery                                                            -            -           -
                                                                                                      37,800          3,150            9.23   Percentage Rent Terms         Breakpoint   2/1/2023      252,000      21,000        61.51       15.00   N
                                                                                                      37,800          3,150            9.23   Future Base Increases                                                    -            -           -

Stateline Video Games      2126     Inline     2,823          Temp      11/1/2022   03/31/2025        18,000          1,500            6.38   Base Rent                      ttibrn      11/1/2024      18,000       1,500            6.38      -
                                                                                                      18,000          1,500            6.38   Cost Recovery                                                            -               -        -
                                                                                                      18,000          1,500            6.38   Percentage Rent Terms         Breakpoint   11/1/2024      25,000       2,083            8.86    10.00   UN
                                                                                                      18,000          1,500            6.38   Future Base Increases           ttibrn     11/1/2024      18,000       1,500            6.38      -
                                                                                                      18,000          1,500            6.38                                   ttibrn     12/1/2024      21,600       1,800            7.65      -
                                                                                                      18,000          1,500            6.38                                   ttibrn     1/1/2025       15,000       1,250            5.31      -

Superior Amusements        ATM1     ATM's              9      Temp      11/1/2020   10/31/2026             -            -               -     Base Rent                      ttven       11/1/2024         -           -               -        -
                                                                                                           -            -               -     Cost Recovery                                                            -               -        -
                                                                                                           -            -               -     Percentage Rent Terms            PIL       11/1/2024         -           -               -      50.00   UN
                                                                                                           -            -               -     Future Base Increases          ttven       11/1/2024         -           -               -        -

Superior Amusements         V7      Vending        432        Temp       9/1/2020   09/30/2025             -            -               -     Base Rent                      ttven       9/1/2024          -           -               -        -
                                                                                                           -            -               -     Cost Recovery                                                            -               -        -
                                                                                                           -            -               -     Percentage Rent Terms         Breakpoint   9/1/2024          -           -               -      33.00   N
                                                                                                           -            -               -     Future Base Increases                                                    -               -        -

The Crafty Chicks          6507     Vending        -          Temp      5/22/2024   05/21/2025        10,800           900              -     Base Rent                      ttven       6/1/2024        5,400        450              -        -
                                                                                                      10,800           900              -                                    ttven       5/22/2024       5,400        450              -        -
                                                                                                      10,800           900              -     Cost Recovery                                                           -                -        -
                                                                                                      10,800           900              -     Percentage Rent Terms         Breakpoint   11/1/2024      10,000        833              -      15.00   UN
                                                                                                      10,800           900              -     Future Base Increases           ttven      5/1/2025        3,658        305              -        -

The Sneaker Company        1082     Inline     1,387          Temp       4/1/2023   04/30/2025        18,000          1,500        12.98      Base Rent                      ttibrn      5/1/2024       18,000       1,500        12.98         -
                                                                                                      18,000          1,500        12.98      Cost Recovery                                                            -            -           -
                                                                                                      18,000          1,500        12.98      Percentage Rent Terms         Breakpoint   5/1/2024      120,000      10,000        86.52       15.00   N
                                                                                                      18,000          1,500        12.98      Future Base Increases           ttibrn     12/1/2024      21,000       1,750        15.14         -
                                                                                                      18,000          1,500        12.98                                      ttibrn     1/1/2025       18,000       1,500        12.98         -

Time Gallery               5524     RMU                60     Temp       5/1/2021   05/31/2025        14,400          1,200       240.00      Base Rent                      ttrbrn      11/1/2024      14,400       1,200       240.00         -
                                                                                                      14,400          1,200       240.00      Cost Recovery                                                            -            -           -
                                                                                                      14,400          1,200       240.00      Percentage Rent Terms         Breakpoint   11/1/2024       8,000         667       133.33       15.00   UN
                                                                                                      14,400          1,200       240.00      Future Base Increases           ttrbrn     11/1/2024      14,400       1,200       240.00         -
                                                                                                      14,400          1,200       240.00                                      ttrbrn     12/1/2024      15,600       1,300       260.00         -
                                                                                                      14,400          1,200       240.00                                      ttrbrn     1/1/2025       13,200       1,100       220.00         -

Toffee                                                        Temp       5/1/2024     HOLD            11,400           950              -     Base Rent                      ttkbrn      11/1/2024      11,400         950             -        -
                                                                                                      11,400           950              -     Cost Recovery                                                            -               -        -
                                                                                                      11,400           950              -     Percentage Rent Terms         Breakpoint   5/1/2024      114,000       9,500             -      10.00   N
                                                                                                      11,400           950              -     Future Base Increases           ttkbrn     11/1/2024      11,400         950             -        -
                                                                                                      11,400           950              -                                     ttkbrn     12/1/2024      12,600       1,050             -        -
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                                                                                                                           GROSS RENT                                                            TENANT DETAILS
TENANT                                SPACE       TYPE       SF         PERM/TEMP      TCD         EXP         ANNUAL       MONTHLY      PSF                                          CODE        FROM       ANNUAL      MONTHLY     PSF          % PAY    TYP

Town of Manchester Service Center      1025       Inline          354     Temp      11/1/2020   04/30/2026             -          -             -     Base Rent                      ttibrn      5/1/2024          -           -            -        -
                                                                                                                       -          -             -     Cost Recovery                                                            -            -        -
                                                                                                                       -          -             -     Percentage Rent Terms          None                                      -            -
                                                                                                                       -          -             -     Future Base Increases                                                    -            -        -

Toy Box                                2148       Inline      4,328       Temp      11/1/2024   11/30/2025        20,400        1,700          4.71   Base Rent                      ttibrn      11/1/2024      20,400       1,700         4.71      -
                                                                                                                  20,400        1,700          4.71   Cost Recovery                                                            -            -        -
                                                                                                                  20,400        1,700          4.71   Percentage Rent Terms         Breakpoint   11/1/2024      11,333         944         2.62    15.00   UN
                                                                                                                  20,400        1,700          4.71   Future Base Increases           ttibrn     11/1/2024      20,400       1,700         4.71      -

Unsettled Geeks                        2012       Inline      3,747       Temp      10/1/2022   06/30/2025        28,356        2,363          7.57   Base Rent                      ttibrn      6/1/2024       28,356       2,363      7.57         -
                                                                                                                  28,356        2,363          7.57   Cost Recovery                                                            -         -           -
                                                                                                                  28,356        2,363          7.57   Percentage Rent Terms         Breakpoint   6/1/2024      189,040      15,753     50.45       15.00   N
                                                                                                                  28,356        2,363          7.57   Future Base Increases           ttibrn     12/1/2024      37,800       3,150     10.09         -
                                                                                                                  28,356        2,363          7.57                                   ttibrn     1/1/2025       28,356       2,363      7.57         -

Unsettled Geeks                        2018       Inline      2,513       Temp       5/4/2023   06/30/2025         1,800         150           0.72   Base Rent                                                               -             -        -
                                                                                                                   1,800         150           0.72   Cost Recovery                  ttsto       6/1/2024        1,800        150          0.72      -
                                                                                                                   1,800         150           0.72   Percentage Rent Terms          None                                     -             -
                                                                                                                   1,800         150           0.72   Future Base Increases                                                   -             -        -

V Perfumes LLC                         5510       RMU             60      Temp      4/26/2024   08/31/2025        10,200         850      170.00      Base Rent                      ttrbrn      11/1/2024      10,200         850     170.00        -
                                                                                                                  10,200         850      170.00      Cost Recovery                                                            -          -          -
                                                                                                                  10,200         850      170.00      Percentage Rent Terms         Breakpoint   8/1/2024      102,000       8,500   1,700.00      10.00   N
                                                                                                                  10,200         850      170.00      Future Base Increases           ttrbrn     11/1/2024      10,200         850     170.00        -
                                                                                                                  10,200         850      170.00                                      ttrbrn     12/1/2024      11,400         950     190.00        -
                                                                                                                  10,200         850      170.00                                      ttrbrn     1/1/2025        9,000         750     150.00        -

Vending For Change                      V3        Vending         20      Temp      11/1/2022   05/31/2025             -          -             -     Base Rent                      ttven       6/1/2024          -           -            -        -
                                                                                                                       -          -             -     Cost Recovery                                                            -            -        -
                                                                                                                       -          -             -     Percentage Rent Terms            PIL       6/1/2024          -           -            -      10.00   UN
                                                                                                                       -          -             -     Future Base Increases                                                    -            -        -

Vendomatic                          5500, 5532,   Vending,        80      Temp       1/1/2021   01/31/2025             -          -             -     Base Rent                      ttven       2/1/2024          -           -            -        -
                                     5603, V28    Vending,
                                                  Vending,
                                                  Vending
                                                                                                                       -          -             -     Cost Recovery                                                            -            -        -
                                                                                                                       -          -             -     Percentage Rent Terms         Breakpoint   2/1/2024          -           -            -      40.00   N
                                                                                                                       -          -             -     Future Base Increases                                                    -            -        -

Verizon Wireless                      STR19       Storage         345     Temp       8/1/2015   07/31/2025        37,578        3,131     108.92      Base Rent                                                                -         -           -
                                                                                                                  37,578        3,131     108.92      Cost Recovery                  ttsto       8/1/2024       37,578       3,131    108.92         -
                                                                                                                  37,578        3,131     108.92      Percentage Rent Terms          None        8/1/2015          -           -         -           -
                                                                                                                  37,578        3,131     108.92      Future Base Increases                                                    -         -           -

Volta                                                                     Temp       7/1/2021     HOLD                 -          -             -     Base Rent                                                                -            -        -
                                                                                                                       -          -             -     Cost Recovery                  ttspn       7/1/2021          -           -            -        -
                                                                                                                       -          -             -                                    ttspn       7/1/2021          -           -            -        -
                                                                                                                       -          -             -     Percentage Rent Terms          None                                      -            -
                                                                                                                       -          -             -     Future Base Increases                                                    -            -        -

Wow Family Entertainment Center        1094       Inline      1,323       Temp       5/1/2021   04/11/2025        15,000        1,250      11.34      Base Rent                      ttibrn      5/1/2024       15,000       1,250     11.34         -
                                                                                                                  15,000        1,250      11.34      Cost Recovery                                                            -         -           -
                                                                                                                  15,000        1,250      11.34      Percentage Rent Terms         Breakpoint   4/12/2024       6,478         540      4.90       20.00   UN
                                                                                                                  15,000        1,250      11.34      Future Base Increases           ttibrn     4/1/2025        5,500         458      4.16         -
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                                                                                                                       GROSS RENT                                                           TENANT DETAILS
TENANT                          SPACE    TYPE            SF         PERM/TEMP      TCD         EXP         ANNUAL       MONTHLY     PSF                                          CODE        FROM       ANNUAL     MONTHLY    PSF          % PAY    TYP

Yankee Candle (Storage)         STR16     Storage             107     Temp      9/20/2021   12/31/2024         9,600         800      89.72      Base Rent                                                              -         -           -
                                                                                                               9,600         800      89.72      Cost Recovery                  ttsto       10/1/2024      9,600        800     89.72         -
                                                                                                               9,600         800      89.72      Percentage Rent Terms          None                                    -         -
                                                                                                               9,600         800      89.72      Future Base Increases                                                  -         -           -

Ziya                             1066     Inline          5,114       Temp       3/1/2022   02/28/2026        28,800        2,400         5.63   Base Rent                      ttibrn      3/1/2024      28,800      2,400         5.63      -
                                                                                                              28,800        2,400         5.63   Cost Recovery                                                          -            -        -
                                                                                                              28,800        2,400         5.63   Percentage Rent Terms         Breakpoint   3/1/2024      24,000      2,000         4.69    10.00   UN
                                                                                                              28,800        2,400         5.63   Future Base Increases           ttibrn     3/1/2025      33,600      2,800         6.57      -



VACANT SPACES
VACANT                    1018           Inline               600
VACANT                    1024           Inline           1,149
VACANT                    1028           Inline           5,641
VACANT                    1052           Inline           6,800
VACANT                    1080           Inline               696
VACANT                    1102           Inline               988
VACANT                    1104           Inline           1,090
VACANT                    1106           Inline           3,877
VACANT                    1150           Inline           3,604
VACANT                    1190           Inline           2,001
VACANT                    1191           Inline           1,244
VACANT                    1193           Inline           2,000
VACANT                    2020           Inline               642
VACANT                    2046           Inline           9,264
VACANT                    2057           Food Court           600
VACANT                    2166           Inline               812
VACANT                    2170           Inline               844
VACANT                    2180           Inline           4,675
VACANT                    2230           Inline           8,195
VACANT                    5512           RMU                   60
VACANT                    5520           RMU                   60
VACANT                    5541           RMU                  150
VACANT                    5613           RMU                  60
VACANT                    5624           Kiosk                840
VACANT                    5629           RMU                  60
VACANT                    6              Advertising          20
VACANT                    6508           Vending              10
VACANT                    8_L1           Retail Anchor   40,000
VACANT                    8_L2           Retail Anchor   40,000
VACANT                    FB1            ATM's                  2
VACANT                    LB1            Advertising           10
VACANT                    LB10           Advertising           10
VACANT                    LB2            Advertising           10
VACANT                    LB3            Advertising           10
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                                                                                                                                      GROSS RENT                              TENANT DETAILS
TENANT                                 SPACE      TYPE                  SF         PERM/TEMP        TCD          EXP         ANNUAL    MONTHLY       PSF               CODE    FROM    ANNUAL   MONTHLY   PSF   % PAY   TYP

VACANT                           LB4              Advertising                 10
VACANT                           LB5              Advertising                 10
VACANT                           LB6              Advertising                 10
VACANT                           LB8              Advertising                 10
VACANT                           LB9              Advertising                 10
VACANT                           PV1              Vending                     20
VACANT                           PV2              Vending                     20
VACANT                           STR07            Storage                    100
VACANT                           STR10            Storage                    100
VACANT                           STR12            Storage                    100
VACANT                           STR20            Storage                    100
VACANT                           V19              Vending                    20
VACANT                           V30              Vending                     2
VACANT                           V38              RMU                        60
VACANT                           V5               Vending                    15

                                                  Total Vacancy         136,611




UNIT SUMMARY
                                                                   TOTAL OWNED PROPERTY AREA                                           % OF TOTAL
                                       Perm           Temp            Occupied    Vacant           Total        % Occ         Perm        Temp      Vacant

               Advertising                  -               300             300           110           410       73.17%       0%        73%        27%
               ATM's                        -                  9               9             2            11      81.82%       0%        82%        18%
               Common Area                  -                 12              12          -               12     100.00%       0%        100%        0%
               Food Court                 5,343           1,256           6,599           600         7,199       91.67%      74%        17%         8%
               Inline                   219,365          91,433         310,798        54,122       364,920       85.17%      60%        25%        15%
               Kiosk                      1,273             745           2,018           840         2,858       70.61%      45%        26%        29%
               Non-Fronting               7,200             -             7,200           -           7,200      100.00%      100%        0%         0%
               Outparcel                    -               -               -             -             -          0.00%       0%         0%         0%
               Outparcel Owned           96,427             -            96,427           -          96,427      100.00%      100%        0%         0%
               Parking Lot                  -               -               -             -             -          0.00%       0%         0%         0%
               Retail Anchor                -               -               -          80,000        80,000        0.00%       0%         0%        100%
               RMU                          -               660             660           450         1,110       59.46%       0%        59%        41%
               Storage                      -             1,012           1,012           400         1,412       71.67%       0%        72%        28%
               Telecom                      -               -               -             -             -          0.00%       0%         0%         0%
               Vending                      -               949             949             87        1,036       91.60%       0%        92%         8%

                                        329,608          96,376         425,984       136,611       562,595       75.72%
                                         58.59%          17.13%                        24.28%

                                  Total Owned Property Area             425,984       136,611        562,595      75.72%
                                         Not Property Owned             612,219       141,467        753,686      81.23%
                                          Total Property Area         1,038,203       278,078      1,316,281      78.87%
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                                                                                                              The Shoppes at Buckland Hills
                                                                                                        Shoppes at Buckland Hills, LLC * Manchester, CT 06042
                                                                                                                    PROPERTY RENT ROLL
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                                                                                                                                               GROSS RENT                                                        TENANT DETAILS
TENANT                                               SPACE      TYPE             SF         PERM/TEMP      TCD         EXP         ANNUAL       MONTHLY     PSF                                       CODE        FROM       ANNUAL     MONTHLY    PSF       % PAY    TYP


BASE RENT AND COST RECOVERY SUMMARY
                                                      Code         Annual      Monthly

                                                                                     -
                 Base Rent                            brm          7,432,605     619,384
                 Base Rent-Floor                     brmflr          139,790      11,649
                 CAM Exterior                        came             55,056       4,588
                 CAM Interior                         cami            45,809       3,817
                 Co-tenancy Percent Rent in Lieu     cotenpil             24           2
                 Co-tenancy PIL - Cap               cotenCap              12           1
                 Common Area Charge                  camp            166,759      13,897
                 Common Area Charge Fixed             camf           805,821      67,152
                 Food Court Cam                      fccam             7,423         619
                 HVAC-Fixed                         hvafixed         238,762      19,897
                 Marketing Fund                      mkfd             31,178       2,598
                 Real Estate Tax                       ret           590,426      49,202
                 Temp. Tenant - ADV/Sponsorship       ttspn           10,296         858
                 Temp. Tenant - Base Rent Inline      ttibrn         828,243      69,020
                 Temp. Tenant - CAM Reimb              ttutil          4,992         416
                 Temp. Tenant - Kiosk Base Rent      ttkbrn          102,000       8,500
                 Temp. Tenant - Misc                 ttmisc           71,931       5,994
                 Temp. Tenant - Misc Income          ttmisinc         55,464       4,622
                 Temp. Tenant - RMU Base Rent         ttrbrn         119,604       9,967
                 Temp. Tenant - Storage Inco          ttsto           96,978       8,081
                 Temp. Tenant - Vending               ttven           88,848       7,404
                 Tenant - Utility - HVAC             tuhvac          261,292      21,774
                 Tenant-Utility - Trash Removal       tutrsh           2,090         174
                 Tenant-Utility - Water/Sewer Inc   tuwsw             56,364       4,697
                 Utility Consolidated                  utl             4,583         382

                                                     TOTAL        11,216,349     934,696



FUTURE ACTIVITY                                                                                                                                GROSS RENT                                                        TENANT DETAILS
TENANT                                               SPACE      TYPE             SF         PERM/TEMP      TCD         EXP         ANNUAL       MONTHLY     PSF                                       CODE        FROM       ANNUAL     MONTHLY    PSF       % PAY    TYP

Kwoncepts Entertainment - Boxer Machines            V19, V8     Vending,              20      Temp       1/1/2025   01/31/2026         4,800         400     240.00   Base Rent                      ttven       1/1/2025       4,800        400    240.00      -
                                                                Vending
                                                                                                                                       4,800         400     240.00   Cost Recovery                                                          -         -        -
                                                                                                                                       4,800         400     240.00   Percentage Rent Terms         Breakpoint   1/1/2025       1,000         83     50.00    40.00   UN
                                                                                                                                       4,800         400     240.00   Future Base Increases           ttven      1/1/2025       4,800        400    240.00      -

Matos Level Eminent Realty                           1018       Inline                600     Temp      12/1/2024   11/30/2026        11,400         950      19.00   Base Rent                      ttibrn      12/1/2024     11,400        950     19.00      -
                                                                                                                                      11,400         950      19.00   Cost Recovery                                                          -         -        -
                                                                                                                                      11,400         950      19.00   Percentage Rent Terms          None                                    -         -
                                                                                                                                      11,400         950      19.00   Future Base Increases          ttibrn      12/1/2024     11,400        950     19.00      -
                                                                                                           Case 3:21-cv-00864-JAM                             Document 60                       Filed 12/18/24                    Page 52 of 67


                                                                                                                                                         The Shoppes at Buckland Hills (BUC)
                                                                                                                                                          Sales and Occupancy Cost Report
                                                                                                                                                                  October 31, 2024


                                                                                                                         Monthly   Monthly    % Change                                                                                                                                                                               Occupan
                            Tenant Name (DBA)                     Comp                        Expiration    Opening                                         YTD Sales      YTD Sales     % Change       R12 Sales CY   R12 Sales PY   % Change    R12 Sales No. Mos. PY Annual Min Rent   Eff Rent                       Total Occ               Occ
  Property                                                                 SF       Unit ID                               Sales     Sales      Monthly                                                                                                                                               BP Amt       BP %                  cy
                 (*NR) - Non-Reporting tenant; Estimated Sales    Tenant                        Date         Date                                           Volume CY      Volume PY     YTD CY/PY        Volume         Volume       R12 CY/PY     PSF      Open    Sales PSF   PSF        PSF                            Cost                 Cost %
                                                                                                                        Volume CY Volume PY    CY/PY                                                                                                                                                                                 Cost PSF



buckland     Action Bulk Distributors 5519                       COMP         -       5519                  4/1/2021          449       230         95.4%        2,717           3,306         -17.8%          3,335          4,210     -20.78%         -        12       -         -         -             -       0%         -          -        0.0%
buckland     Action Bulk Distributors 5623                       COMP         -       5623    3/31/2025     4/1/2021          162       439        -63.1%        2,206           4,081         -45.9%          3,228          5,694     -43.31%         -        12       -         -         -             -       0%         -          -        0.0%
buckland     Aeropostale                                         COMP       4,000     1138    1/31/2026     9/15/2016      70,455    65,423          7.7%      914,195         903,526           1.2%      1,200,529      1,194,310       0.52%      300.13      12      0.08       -       27.01           -       9%     108,048      27.01      9.0%
buckland     Against All Odds                                    COMP       8,687     2108    4/30/2027     1/1/2017       69,165    83,423        -17.1%      842,923         966,854         -12.8%      1,151,419      1,275,432      -9.72%      132.55      12      0.02     17.96     17.96     1,560,600    10%     156,060      17.96     13.6%
buckland     All in Adventures                                   COMP       3,986     2004    7/31/2026     6/1/2019       13,002    15,738        -17.4%      213,115         211,418           0.8%        268,306        255,864       4.86%       67.31      12      0.02      4.52     12.12       100,000    18%      48,295      12.12     18.0%
buckland     Bath & Body Works                                   COMP       3,746     2156    1/31/2030     11/1/2019     200,829   172,269         16.6%    1,987,521       2,020,979          -1.7%      3,089,152      3,141,243      -1.66%      824.65      12      0.22      0.00     41.24           -       5%     154,470      41.24      5.0%
buckland     Bloodlines Tattooing                                COMP       1,975     2128    7/31/2025     6/1/2019       10,000    13,000        -23.1%      120,200         133,800         -10.2%        142,000        161,300     -11.97%       71.90      12      0.04       -         -             -       0%         -          -        0.0%
buckland     Box Lunch                                           COMP       4,180     2096    7/31/2029     7/20/2023      38,288    51,056        -25.0%      436,944         229,660          90.3%        664,504        229,660     189.34%      158.97      12      0.04     15.55     15.55       850,000     6%      65,000      15.55      9.8%
buckland     Brick Swap USA                                      COMP       1,161     1074    2/28/2025     4/1/2019        9,480    10,250         -7.5%      102,388         107,212          -4.5%        133,438        138,037      -3.33%      114.93      12      0.10       -         -             -       0%         -          -        0.0%
buckland     Build-A-Bear Workshop                               COMP       3,000     1086    1/31/2026     6/28/2016      40,014    36,126         10.8%      488,578         517,526          -5.6%        606,781        662,314      -8.38%      202.26      12      0.07     10.00     12.85       500,000     8%      38,542      12.85      6.4%
buckland     Cajun Café & Grill                                  COMP         558     2062                  1/1/2017       16,962    19,609        -13.5%      176,373         209,248         -15.7%        224,795        263,581     -14.72%      402.86      12      0.72     80.55     80.55       353,736     8%      44,946      80.55     20.0%
buckland     Cell Phone World                                    COMP       1,258     1072    4/30/2028     5/1/2017       13,700    10,200         34.3%      127,920         127,020           0.7%        154,920        156,890      -1.26%      123.15      12      0.10     43.67     43.67       300,000    15%      54,934      43.67     35.5%
buckland     CellFix                                             COMP         150     5528    3/11/2028     3/13/2023       7,234     9,811        -26.3%       77,072         104,596         -26.3%         93,972        104,596     -10.16%      626.48      12      4.18    412.00    412.00       300,000    15%      61,812     412.08     65.8%
buckland     Champs Sports                                       COMP       4,863     1110    1/31/2025     2/1/2013      128,177   137,608         -6.9%    1,707,907       1,799,854          -5.1%      2,168,648      2,330,837      -6.96%      445.95      12      0.09     49.09     49.09     2,500,000    10%     238,710      49.09     11.0%
buckland     Charleys Philly Steaks                              COMP         597     2058    10/31/2027    1/1/2017       92,733    92,801         -0.1%      897,262       1,013,471         -11.5%      1,128,031      1,264,895     -10.82%    1,889.50      12      3.16    187.90    187.90     1,233,682     8%     209,162     350.36     18.5%
buckland     Charlotte Russe                                     COMP       6,780     2088    1/31/2027     8/2/2019       64,207    82,789        -22.4%      761,986         781,135          -2.5%        992,781      1,012,731      -1.97%      146.43      12      0.02     11.80     14.64       800,000    10%      99,278      14.64     10.0%
buckland     China Wok                                           COMP         955     2070    3/31/2026     1/27/2021      51,234    63,705        -19.6%      588,020         673,842         -12.7%        741,974        836,507     -11.30%      776.94      12      0.81     29.57     66.80       445,707    12%     103,336     108.20     13.9%
buckland     Cinnabon/Carvel                                     COMP         900     2186    8/31/2029     9/1/2019       33,702    40,941        -17.7%      406,623         399,023           1.9%        510,780        510,286       0.10%      567.53      12      0.63     62.24     62.24       633,612    10%      69,697      77.44     13.6%
buckland     Claire's                                            COMP       1,243     1162    6/30/2028     5/17/2013      36,930    37,647         -1.9%      444,553         466,694          -4.7%        568,386        596,225      -4.67%      457.27      12      0.37     16.09     16.09       600,000    10%      78,186      62.90     13.8%
buckland     Clip Money                                          COMP          12     CLP1    7/31/2026     8/1/2023            0         0          0.0%            0               0         400.0%              0              0     450.00%        0.01      11      0.00       -         -             -       0%         -          -        0.0%
buckland     Collectables and Cards                              COMP       6,075     2030    2/28/2025     3/1/2022        6,256     9,354        -33.1%       85,772          80,671           6.3%        102,669        184,415     -44.33%       16.90      11      0.00       -         -             -       0%         -          -        0.0%
buckland     Custom Hub                                          COMP         280     5538    1/31/2026     10/1/2023       5,900         0   58999900.0%       60,387               0   603869900.0%         60,387              0 ###########      215.67      11      0.77       -         -             -       0%         -          -        0.0%
buckland     Dave & Busters                                      COMP      26,000    PAD6     9/30/2029     9/22/2014     468,959   535,552        -12.4%    6,590,385       7,133,221          -7.6%      8,050,332      8,474,319      -5.00%      309.63      12      0.01     24.48     24.48    15,400,000     4%     763,534      29.37      9.5%
buckland     Dollar N Things                                     COMP       3,573     2138    4/30/2025     1/1/2021       13,008    12,700          2.4%      125,337         117,965           6.2%        166,442        156,970       6.03%       46.58      12      0.01       -         -             -       0%         -          -        0.0%
buckland     EA Teriyaki Japanese Grill                          COMP         816     2056    5/14/2033     4/15/2023      99,076   101,173         -2.1%    1,036,859         696,663          48.8%      1,300,136        696,663      86.62%    1,593.30      12      1.95    276.19    284.05     1,236,000    10%     263,914     323.42     20.3%
buckland     Finish Line                                         COMP       4,516     2134                  6/25/2005     111,804   135,114        -17.3%    1,610,927       1,825,459         -11.8%      2,127,512      2,380,241     -10.62%      471.11      12      0.10     44.29     47.11     2,000,000    10%     212,751      47.11     10.0%
buckland     Foot Locker                                         COMP       3,957     2202    5/31/2026     3/1/2016      126,493   174,366        -27.5%    1,927,740       2,048,257          -5.9%      2,580,401      2,727,108      -5.38%      652.11      12      0.16      0.00     39.13           -       6%     185,373      46.85      7.2%
buckland     Forever 21                                          COMP      16,240     1038    1/31/2025     1/1/2017      123,867   146,606        -15.5%    1,232,166       1,306,555          -5.7%      1,572,990      1,635,935      -3.85%       96.86      12      0.01       -        4.84           -       5%      78,649       4.84      5.0%
buckland     Funny Bone Comedy Club & Restaurant                 COMP       7,003     1054    2/28/2027     2/1/2007      125,206   112,520         11.3%    1,597,441       1,905,843         -16.2%      2,036,674      2,189,049      -6.96%      290.83      12      0.04     29.42     29.42     2,929,002     7%     206,000      29.42     10.1%
buckland     GNC Live Well                                       COMP       1,575     2212    1/31/2027     1/1/1999       20,990    30,149        -30.4%      244,483         309,430         -21.0%        303,671        373,805     -18.76%      192.81      12      0.12     19.05     19.05       400,000     8%      30,000      19.05      9.9%
buckland     Go! Calendars Go! Games Go! Toys                    COMP       6,423     1060    1/31/2025     8/10/2023      10,557     9,791          7.8%      112,570          19,129         488.5%        219,941         19,129    1049.78%       34.24      12      0.01       -         -             -       0%       4,992       0.78      2.3%
buckland     H&M                                                 COMP      19,729     1156    1/31/2028    11/26/2014     192,118   211,105         -9.0%    2,002,912       2,231,469         -10.2%      2,540,523      2,864,695     -11.32%      128.77      12      0.01     21.51     21.51     4,182,824     8%     424,404      21.51     16.7%
buckland     Hot Topic                                           COMP       2,000     2200    1/31/2026     2/1/2016       58,989    62,082         -5.0%      666,988         702,441          -5.0%        894,058        942,314      -5.12%      447.03      12      0.22     28.12     28.12       937,327     6%     128,980      64.49     14.4%
buckland     Hungry Pot Korean BBQ & Hot Pot                     COMP       5,860     1050    7/31/2033     6/30/2023     250,685   261,236         -4.0%    2,596,483       1,461,727          77.6%      3,113,350      1,461,727     112.99%      531.29      12      0.09     31.60     42.07     2,500,000    10%     292,339      49.89      9.4%
buckland     Icing                                               COMP       1,131     2168    12/31/2025    6/15/1996      29,713    33,411        -11.1%      314,378         366,887         -14.3%        398,478        464,745     -14.26%      352.32      12      0.31     32.61     32.61       523,884    10%      55,769      49.31     14.0%
buckland     Innovative Foto (VEND-10)                           COMP          60   VEND-10   7/31/2025     7/1/2021          902     1,206        -25.3%        9,990          11,680         -14.5%         12,627         14,409     -12.37%      210.45      12      3.51       -         -             -       0%         -          -        0.0%
buckland     Innovative Foto (VEND-8)                            COMP          60   VEND-8    7/31/2025     7/1/2021          936       603         55.2%        8,336           6,749          23.5%          9,635          8,690      10.87%      160.59      12      2.68       -         -             -       0%         -          -        0.0%
buckland     IxpressFix                                          COMP          72    5508     1/26/2028    12/27/2022       6,113     6,091          0.4%       53,476          63,294         -15.5%         69,698         71,040      -1.89%      968.03      12     13.44    343.33    343.33       300,000    15%      24,732     343.50     35.5%
buckland     Journeys                                            COMP       1,810    2190     5/31/2025     4/18/2013     102,278   113,376         -9.8%      698,776         807,168         -13.4%      1,017,452      1,137,111     -10.52%      562.13      12      0.31     80.11     80.11     1,215,000    12%     145,000      80.11     14.3%
buckland     Journeys Kidz                                       COMP       1,650    2052     5/31/2026     4/27/2013      57,711    60,302         -4.3%      427,857         474,170          -9.8%        628,033        676,321      -7.14%      380.63      12      0.23     30.30     34.26       555,556     9%      56,523      34.26      9.0%
buckland     Kay Jewelers                                        COMP       2,378    2048     1/31/2025     9/23/2011     207,951   190,752          9.0%    1,643,119       1,626,726           1.0%      2,381,721      2,292,341       3.90%    1,001.56      12      0.42     75.69     79.02     2,250,000     6%     187,903      79.02      7.9%
buckland     Kidz Riders                                         COMP          60    5506     9/30/2025     8/15/2023         665         0    6649900.0%       11,204           3,700         202.8%         11,204          3,700     202.81%      186.73      11      3.11       -         -             -       0%         -          -        0.0%
buckland     L&L Fashion                                         COMP       5,488    1014     2/28/2025     2/1/2021       21,750    31,914        -31.8%      229,750         282,683         -18.7%        301,845        361,250     -16.44%       55.00      12      0.01       -         -             -       0%         -          -        0.0%
buckland     Lids                                                COMP       1,072    1070     1/31/2025     10/1/2014      46,716    53,525        -12.7%      417,053         453,023          -7.9%        540,296        566,970      -4.70%      504.01      12      0.47     46.64     62.35       400,000    12%      66,836      62.35     12.4%
buckland     LiLi's                                              COMP       4,805    1034     3/31/2025     4/1/2020       23,349    21,131         10.5%      257,674         240,685           7.1%        351,680        331,565       6.07%       73.19      12      0.02       -         -             -       0%         -          -        0.0%
buckland     Lucky Seven Nails Spa                               COMP       1,244    1191     2/20/2025     2/21/2022       8,900     8,900          0.0%      105,644         124,130         -14.9%        123,044        152,110     -19.11%       98.91      12      0.08     72.49     72.49       300,000    15%      90,177      72.49     73.3%
buckland     Maggie McFly's                                      COMP       7,200    1023     11/30/2027    11/3/2014     377,866   400,123         -5.6%    3,909,454       4,303,047          -9.1%      4,757,307      5,205,578      -8.61%      660.74      12      0.09     27.47     28.09     4,683,237     6%     334,950      46.52      7.0%
buckland     Market Grill                                        COMP       6,500    PAD5     8/31/2027     9/25/2012     317,054   323,914         -2.1%    3,440,721       3,603,265          -4.5%      4,244,033      4,337,036      -2.14%      652.93      12      0.10     18.30     18.30     4,500,000     2%     118,957      18.30      2.8%




                                                                                                                                                                         Page 1 of 4
                                                                                                                  Case 3:21-cv-00864-JAM                                      Document 60                          Filed 12/18/24                      Page 53 of 67


                                                                                                                                    Monthly   Monthly         % Change                                                                                                                                                                                    Occupan
                               Tenant Name (DBA)                   Comp                              Expiration      Opening                                                YTD Sales        YTD Sales       % Change      R12 Sales CY     R12 Sales PY   % Change     R12 Sales No. Mos. PY Annual Min Rent   Eff Rent                      Total Occ               Occ
  Property                                                                     SF        Unit ID                                     Sales     Sales           Monthly                                                                                                                                                     BP Amt      BP %                  cy
                  (*NR) - Non-Reporting tenant; Estimated Sales    Tenant                              Date           Date                                                  Volume CY        Volume PY       YTD CY/PY       Volume           Volume       R12 CY/PY      PSF      Open    Sales PSF   PSF        PSF                           Cost                 Cost %
                                                                                                                                   Volume CY Volume PY         CY/PY                                                                                                                                                                                      Cost PSF
buckland     Metro PCS                                            COMP           700       1172        3/31/2025       3/1/2020         3,799      18,784          -79.8%       64,911          180,573          -64.1%          97,998          216,082      -54.65%      140.00      12       0.20      -         -            -       0%         -          -        0.0%
buckland     Michael's Jewelers                                   COMP         1,632       1057        2/28/2026       11/1/2014       86,877      78,463           10.7%      923,406          977,129           -5.5%       1,304,419        1,432,098       -8.92%      799.28      12       0.49    36.76     36.76    1,318,238     6%      60,000      36.76      4.6%
buckland     Mini Arcade                                          COMP           330       1126        3/11/2025       2/1/2022           179         279          -35.8%        2,617            1,168          124.0%           3,259            3,296       -1.13%        9.87      11       0.03      -         -            -       0%         -          -        0.0%
buckland     Mini Melts                                           COMP            12       5505        9/30/2025       9/1/2020           702       1,210          -42.0%        8,412            9,135           -7.9%          10,747           12,090      -11.11%      895.58      12      74.63      -         -            -       0%         -          -        0.0%
buckland     Miracle Eyebrows                                     COMP         1,344       2124        7/31/2026       8/1/2022         8,245      11,056          -25.4%       85,486          104,615          -18.3%         104,800          125,713      -16.64%       77.98      12       0.06      -         -            -       0%         -          -        0.0%
buckland     mobileXPRESS                                         COMP           150       5534        1/26/2028 12/27/2022             7,981      11,119          -28.2%       81,002          117,644          -31.1%         105,123          126,763      -17.07%      700.82      12       4.67   424.36    424.36      300,000    15%      63,666     424.44     60.6%
buckland     MSR Fashions                                         COMP            60 RMU-5521 4/30/2025                11/1/2021        1,228           0     12279900.0%       11,870           12,272           -3.3%          15,616           16,458       -5.12%      260.27      12       4.34      -         -            -       0%         -          -        0.0%
buckland     Native Crafts                                        COMP         3,520       1130        8/31/2025       6/1/2018         5,200       3,980           30.7%       42,890           48,350          -11.3%          60,670           58,520        3.67%       17.24      12       0.00      -         -            -       0%         -          -        0.0%
buckland     New You Foot Spa                                     COMP         1,205       1022        4/26/2033       4/27/2023        4,051       3,881            4.4%       47,730           24,655           93.6%          57,964           24,655      135.10%       48.10      12       0.04    29.93     29.93      300,000    10%      55,000      45.64     94.9%
buckland     Newbury Comics                                       COMP         6,288       1186        1/31/2027 10/19/2013           143,762     147,486           -2.5%    1,595,008        1,732,246           -7.9%       2,249,709        2,430,381       -7.43%      357.78      12       0.06    26.72     28.62    2,100,000     8%     179,977      28.62      8.0%
buckland     Perfume Plus                                         COMP         1,815       1132        1/31/2026       1/1/2017        49,852      49,998           -0.3%      520,022          505,521            2.9%         758,571          727,307        4.30%      417.95      12       0.23    54.50     58.34      712,088    15%     133,473      73.54     17.6%
buckland     Personalized Gifts                                   COMP            60       5522        4/30/2025       9/1/2021         1,228           0     12279900.0%       19,290           18,596            3.7%          25,020           24,722        1.21%      417.00      12       6.95      -         -            -       0%         -          -        0.0%
buckland     Piercing Pagoda                                      COMP           160      K0001        1/31/2025       2/1/2014        39,374      41,243           -4.5%      387,429          427,870           -9.5%         539,301          553,839       -2.63%    3,370.63      12      21.07   531.25    531.25      800,000     8%      85,000     531.25     15.8%
buckland     Piercing Pagoda                                      COMP           160      K0002        1/31/2025       2/22/2005       65,095      52,989           22.8%      662,852          550,977           20.3%         916,100          692,158       32.35%    5,725.62      12      35.79   597.93    597.93      956,683    10%      95,668     597.93     10.4%
buckland     Plush                                                COMP           739       2188        6/30/2025       4/1/2021             0       2,356         -100.0%       19,277           22,268          -13.4%          44,873           44,312        1.27%       60.72      19       0.08      -         -            -       0%         -          -        0.0%
buckland     Pretzelmaker                                         COMP           709       2182                        5/1/2003        17,245      17,609           -2.1%      153,150          158,256           -3.2%         194,438          204,951       -5.13%      274.24      12       0.39    49.61     49.61      208,973    12%      47,014      66.31     24.2%
buckland     Rack Room Shoes                                      COMP         5,394       2194        1/31/2025       11/7/2009       85,370      89,557           -4.7%    1,250,233        1,385,361           -9.8%       1,565,749        1,777,658      -11.92%      290.28      12       0.05    36.85     39.27    1,457,000    12%     211,800      39.27     13.5%
buckland     Rainbow                                              COMP        10,472       1148        1/31/2032       11/1/2017       50,851      50,736            0.2%      564,064          658,259          -14.3%         707,283          832,230      -15.01%       67.54      12       0.01     0.00      4.05          -       6%      42,449       4.05      6.0%
buckland     Red Robin Gourmet Burgers and Brews                  COMP         6,350      PAR10       10/31/2028       3/8/2004       218,851     203,034            7.8%    2,324,074        2,319,706            0.2%       2,789,612        2,836,631       -1.66%      439.31      12       0.07    23.06     23.06          -       0%     146,852      23.13      5.3%
buckland     Sbarro                                               COMP           938       2072       12/31/2028       3/1/2000        41,786      46,519          -10.2%      471,878          506,601           -6.9%         605,921          643,680       -5.87%      645.97      12       0.69    79.96     79.96      650,000    15%      89,477      95.39     14.8%
buckland     Shoe Dept. Encore                                    COMP        11,589       2218       11/30/2025 11/23/2013            70,099      75,394           -7.0%      758,812          848,747          -10.6%         954,234        1,139,415      -16.25%       82.34      12       0.01     8.63      8.63    1,000,000    10%     100,000       8.63     10.5%
buckland     Smarte Carte                                         COMP           -       SC1, SC2      5/31/2026       7/1/2021         1,906         564          237.9%       18,636           16,590           12.3%          22,321           21,171        5.43%         -        12        -        -         -            -       0%         -          -        0.0%
buckland     Smartlite                                            COMP           280 13, 14, 15, 16, 17, 3, 4, 7, 8, 9 6/1/2023             0       1,425         -100.0%        9,912            9,766            1.5%          12,100            9,766       23.90%       43.21      12       0.15      -         -            -       0%       5,496      19.63     45.4%
buckland     Snipes                                               COMP         5,949       1178        1/31/2027       5/23/2012       74,304         -              0.0%      985,316          356,263          176.6%       1,273,560          589,308      116.11%      214.08      12       0.04    25.21     25.21    1,920,000    10%     150,000      25.21     11.8%
buckland     Soma's Clothiers                                     COMP         4,097       2140        1/31/2025       2/1/2021        13,694      13,476            1.6%      129,086          129,253           -0.1%         167,791          167,855       -0.04%       40.95      12       0.01      -         -            -       0%         -          -        0.0%
buckland     Spa Day                                              COMP         2,298       1090        4/21/2033       4/22/2023        7,048       4,886           44.2%       69,874           27,881          150.6%          80,121           27,881      187.37%       34.87      12       0.02     9.82      9.82      300,000    10%      50,008      21.76     62.4%
buckland     Spencer's                                            COMP         1,800       2010        1/31/2026       3/28/2002       57,712      51,162           12.8%      523,695          547,169           -4.3%         702,890          748,060       -6.04%      390.49      12       0.22    33.33     39.05      600,000    10%      70,289      39.05     10.0%
buckland     Superior Amusements                                  COMP           432        V7         9/30/2025       9/1/2020           836         660           26.7%        8,315            7,153           16.2%           9,357            9,010        3.85%       21.66      12       0.05      -         -            -       0%         -          -        0.0%
buckland     Superior Amusements                                  COMP             9      ATM1        10/31/2026 11/1/2020                708         644            9.9%        8,140            8,968           -9.2%          10,108           11,252      -10.17%    1,123.11      12     124.79      -         -            -       0%         -          -        0.0%
buckland     Sweet Water                                          COMP           902       2078        2/28/2028       2/12/2023       12,214      14,351          -14.9%      138,848          118,112           17.6%         171,065          118,112       44.83%      189.65      12       0.21    52.33     52.33      442,900    15%      61,645      68.34     36.0%
buckland     T-Mobile                                             COMP         1,300       1088        1/31/2025       1/1/2014       217,669     206,796            5.3%    2,208,920        1,645,705           34.2%       2,886,188        1,930,893       49.47%    2,220.14      12       1.71    66.92     66.92          -       0%     147,232     113.26      5.1%
buckland     Taco Bell                                            COMP           806       2074        6/30/2030       1/1/2017        53,035      51,621            2.7%      522,853          521,382            0.3%         657,951          654,828        0.48%      816.32      12       1.01   101.86    101.86      700,000     8%      82,100     101.86     12.5%
buckland     The Children's Place                                 COMP         4,160       1114        1/31/2026       4/1/2010        64,743      60,955            6.2%      791,042          832,263           -5.0%       1,015,311        1,094,544       -7.24%      244.07      12       0.06    33.60     45.81          -       5%     190,555      45.81     18.8%
buckland     The Sneaker Company                                  COMP         1,387       1082        4/30/2025       4/1/2023           780       9,992          -92.2%       30,332           43,094          -29.6%          46,097           43,094        6.97%       33.24      12       0.02      -         -            -       0%         -          -        0.0%
buckland     Time Gallery                                         COMP            60       5524        5/31/2025       5/1/2021         2,996       3,269           -8.4%       26,841           30,675          -12.5%          34,549           38,721      -10.77%      575.82      12       9.60      -         -            -       0%         -          -        0.0%
buckland     Track 23                                             COMP         8,195       2230       10/31/2024 12/1/2016             38,851      44,617          -12.9%      328,235          375,186          -12.5%         457,515          505,096       -9.42%       55.83      12       0.01     7.10      9.13      290,923    10%      74,844       9.13     16.4%
buckland     Unsettled Geeks                                      COMP         3,747       2012        6/30/2025       10/1/2022       17,391      18,665           -6.8%      171,644          200,987          -14.6%         236,590          229,475        3.10%       63.14      12       0.02      -         -            -       0%         -          -        0.0%
buckland     Vending For Change                                   COMP            20        V3         5/31/2025       11/1/2022          889         826            7.7%        8,649            8,200            5.5%          10,249           10,039        2.10%      512.47      12      25.62      -         -            -       0%         -          -        0.0%
buckland     Verizon Wireless                                     COMP           345      STR19        7/31/2025       8/1/2015             0           0            0.0%            0                0          100.0%               0                0      120.00%        0.00      11       0.00      -         -            -       0%         -          -        0.0%
buckland     Victoria's Secret                                    COMP        10,658       2160        1/31/2025       6/1/2002       231,881     221,895            4.5%    2,485,816        2,730,523           -9.0%       3,431,274        3,861,094      -11.13%      321.94      12       0.03    42.22     42.22    4,500,000    10%     450,000      42.22     13.1%
buckland     Wetzel's Pretzels 1176                               COMP           962       1176        9/30/2030       10/1/2013       42,316      44,663           -5.3%      451,734          342,913           31.7%         573,943          412,482       39.14%      596.61      12       0.62    77.53     77.53      678,000    10%      97,583     101.44     17.0%
buckland     Wetzel's Pretzels 5531                               COMP            80       5531        9/30/2030       10/1/2013       14,460      15,146           -4.5%      151,732          150,268            1.0%         191,543          180,287        6.24%    2,394.29      12      29.93   476.37    476.37      300,000    10%      38,110     476.37     19.9%
buckland     Windsor                                              COMP         3,036       1135        1/31/2025       6/19/2014       92,622      88,867            4.2%      701,148          692,801            1.2%         838,399          900,055       -6.85%      276.15      12       0.09    24.40     24.40    1,234,603     6%     206,615      68.06     24.6%
buckland     Wow Family Entertainment Center                      COMP         1,323       1094        4/11/2025       5/1/2021         1,460       1,825          -20.0%       20,576           22,627           -9.1%          24,338           27,439      -11.30%       18.40      12       0.01      -         -            -       0%         -          -        0.0%
buckland     Yankee Candle                                        COMP         1,550       2102        1/31/2025       8/1/2014        33,697      50,839          -33.7%      354,554          386,299           -8.2%         618,625          678,592       -8.84%      399.11      12       0.26    58.51     82.46          -       6%     224,490     144.83     36.3%
buckland     Zales Jewelers                                       COMP         1,201       2098        1/31/2025       3/14/1990       70,060      71,401           -1.9%      708,120          739,155           -4.2%       1,052,928        1,095,508       -3.89%      876.71      12       0.73    86.45     86.45    1,200,000     6%     119,241      99.28     11.3%
buckland     Ziya                                                 COMP         5,114       1066        2/28/2026       3/1/2022        19,350      20,750           -6.7%      197,975          184,750            7.2%         239,925          217,550       10.28%       46.92      12       0.01      -         -            -       0%         -          -        0.0%
buckland     Zumiez                                               COMP         2,453       2208        4/30/2025       4/24/2009       42,376      38,018           11.5%      468,725          485,606           -3.5%         597,518          619,949       -3.62%      243.59      12       0.10    37.15     37.15      900,000    10%      91,129      37.15     15.3%
             Total for COMP                                                  301,419                                                5,727,308   5,933,066           -3.5%   63,231,516       64,102,816           -1.4%      82,236,779       81,998,865        0.29%      272.83               0.00      -         -                                          -        0.0%

buckland                                                          NON-COMP     6,423      1060       10/31/2023     10/1/2022             -               0       -100.0%          -                     0       -100.0%            -                  0     -100.00%        -        -          -        -         -            -      0%          -          -        0.0%
buckland     208 Foot Spa                                         NON-COMP     1,205      1022       8/31/2024      9/1/2020              -               0       -100.0%              0                 0        -60.0%                0         21,790     -100.00%       0.00          3     0.00      -         -            -      0%          -          -        0.0%
buckland     Afrohairdentity                                      NON-COMP     1,746      2122       5/31/2023      5/31/2022             -           -              0.0%         -                      0       -100.0%            -                  0     -100.00%        -        -          -        -         -            -      0%          -          -        0.0%
buckland     Amyahs Nails                                         NON-COMP       779      1055       8/31/2025      8/1/2024            8,438         -              0.0%      21,371                -              0.0%         21,371              -          0.00%      27.43          3     0.04      -         -            -      0%          -          -        0.0%




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                                                                                                                Case 3:21-cv-00864-JAM                            Document 60                      Filed 12/18/24                   Page 54 of 67


                                                                                                                              Monthly   Monthly    % Change                                                                                                                                                                            Occupan
                             Tenant Name (DBA)                     Comp                           Expiration     Opening                                        YTD Sales      YTD Sales     % Change     R12 Sales CY   R12 Sales PY   % Change     R12 Sales No. Mos. PY Annual Min Rent   Eff Rent                      Total Occ               Occ
  Property                                                                   SF        Unit ID                                 Sales     Sales      Monthly                                                                                                                                             BP Amt      BP %                  cy
                  (*NR) - Non-Reporting tenant; Estimated Sales    Tenant                           Date          Date                                          Volume CY      Volume PY     YTD CY/PY      Volume         Volume       R12 CY/PY      PSF      Open    Sales PSF   PSF        PSF                           Cost                 Cost %
                                                                                                                             Volume CY Volume PY    CY/PY                                                                                                                                                                              Cost PSF
buckland     Barnes & Noble Booksellers                           NON-COMP   24,836       NS       1/31/2028     6/2/2003          -     246,306      -100.0%    1,319,890       2,996,829       -56.0%      2,556,277      4,333,244      -41.01%      102.93       7      0.00     15.10     15.10    5,000,000     5%     375,000      15.10    14.7%
buckland     BarQZ-Beauty                                         NON-COMP    1,257      1004      3/31/2025     7/1/2024        3,000       -           0.0%       10,800             -           0.0%         10,800            -          0.00%        8.59       4      0.01       -         -            -       0%         -          -       0.0%
buckland     Beautifit                                            NON-COMP    1,768      1118      2/29/2024     2/1/2023          -           0      -100.0%            0          72,252      -100.0%              0         72,252     -100.00%        0.00       2      0.00       -         -            -       0%         -          -       0.0%
buckland     Beautifit                                            NON-COMP    5,641      1028      12/31/2025    10/1/2023       4,329     3,300        31.2%       84,799           3,300      2469.7%         95,600          3,300     2796.98%       16.95      12      0.00       -         -            -       0%         -          -       0.0%
buckland     Bliss Brow Bar                                       NON-COMP      844      2170      1/31/2025     11/1/2014      10,000       -           0.0%      100,000          45,717       118.7%        100,000         65,717       52.17%      118.48      10      0.14     51.52     51.52      238,810    10%      80,923      95.88    80.9%
buckland     Bob's Stores/Eastern Mountain Sports                 NON-COMP   40,000      8_L2      4/30/2034     4/30/2024     205,135       -           0.0%    1,650,277             -           0.0%      1,650,277            -          0.00%       41.26       7      0.00       -         -      4,000,000     5%         -          -       0.0%
buckland     Bob's Stores/EMS                                     NON-COMP   40,000      8_L2      3/31/2024    11/15/2022         -     205,135      -100.0%      502,675       1,862,407       -73.0%      1,011,898      2,347,586      -56.90%       25.30       5      0.00       -         -            -       0%         -          -       0.0%
buckland     Burger Class                                         NON-COMP    1,256      2060      3/31/2024     6/1/2017       25,751    25,751         0.0%      266,923         281,553        -5.2%        334,668        357,421       -6.37%      266.46      12      0.21       -         -            -       0%         -          -       0.0%
buckland     Burger Class                                         NON-COMP    1,256      2060      3/31/2025     4/1/2024       19,715       -           0.0%      160,792             -           0.0%        160,792            -          0.00%      128.02       7      0.10       -         -            -       0%         -          -       0.0%
buckland     Caribbean Vacations                                  NON-COMP       20        2       3/31/2025     3/1/2024            0       -           0.0%            0             -           0.0%              0            -          0.00%        0.00       8      0.00       -         -            -       0%       4,800     240.00 ########
buckland     Chill Out's                                          NON-COMP      201      5536      7/21/2023     1/1/2023          -         -           0.0%          -            14,863      -100.0%            -           14,863     -100.00%         -       -         -         -         -            -       0%         -          -       0.0%
buckland     Cloud9Vape                                           NON-COMP      -        5516      7/31/2023     7/1/2023          -         -           0.0%          -                 0      -100.0%            -                0     -100.00%         -       -         -         -         -            -       0%         -          -       0.0%
buckland     Collectibles & Cards (storage)                       NON-COMP    2,823      2126      1/31/2023     1/1/2022          -         -           0.0%            0             -           0.0%          1,626         20,119      -91.92%        0.58       3      0.00       -         -            -       0%         -          -       0.0%
buckland     Cotton Candy Flower                                  NON-COMP      120      6502      10/31/2025    10/1/2024         706       -           0.0%          706             -           0.0%            706            -          0.00%        5.89       1      0.05       -         -            -       0%         -          -       0.0%
buckland     Creative Faces Salon and Spa                         NON-COMP    1,149      1024      9/20/2024     8/1/2022          -           0      -100.0%       18,863          33,372       -43.5%         18,863         41,586      -54.64%       16.42       8      0.01       -         -            -       0%         -          -       0.0%
buckland     Ctrylink Centurylink                                 NON-COMP      -      CTRYLNK     5/30/2023     5/31/2020         -         -           0.0%          -                 0      -100.0%            -                0     -100.00%         -       -         -         -         -            -       0%         -          -       0.0%
buckland     Custom Creations                                     NON-COMP      -                  12/31/2023    9/1/2023          -           0      -100.0%          -                 0      -100.0%              0              0      -50.00%         -         1       -         -         -            -       0%         -          -       0.0%
buckland     Custom Hub                                           NON-COMP      280      5538      9/30/2023     10/1/2020         -         -           0.0%          -            64,982      -100.0%            -           90,214     -100.00%         -       -         -         -         -            -       0%         -          -       0.0%
buckland     Custom Hub Storage                                   NON-COMP    3,674      1170      1/31/2026     10/1/2023         -           0      -100.0%            0               0       800.0%              0              0      900.00%        0.00      10      0.00       -         -            -       0%         -          -       0.0%
buckland     DO NOT USE                                           NON-COMP      225      5501      9/30/2024     7/1/2018          -      15,800      -100.0%      141,630         157,990       -10.4%        173,350        189,590       -8.57%      770.44      11      3.42       -         -            -       0%         -          -       0.0%
buckland     Eatz On Demand                                       NON-COMP      -                  11/1/2024    11/23/2022         -         -           0.0%            0             123      -100.0%              3            123      -97.54%         -         4       -         -         -            -       0%         -          -       0.0%
buckland     Enzo Clothiers                                       NON-COMP      -                                5/1/2021       14,985    14,681         2.1%      164,532         175,979        -6.5%        202,927        216,926       -6.45%         -        12       -         -         -            -       0%         -          -       0.0%
buckland     Enzo Clothiers STR                                   NON-COMP    3,001      1194      3/31/2025     4/1/2023          -           0      -100.0%            0               0       -40.0%              0              0      -20.00%        0.00       4      0.00       -         -            -       0%         -          -       0.0%
buckland     Express                                              NON-COMP    9,264      2046      1/31/2025    11/14/2002     111,455    78,251        42.4%      951,513         915,496         3.9%      1,186,513      1,225,306       -3.17%      128.08      12      0.01     10.79     10.79    1,250,000     8%     100,000      10.79     8.4%
buckland     Fun4All                                              NON-COMP      840      5624       8/4/2024     1/1/2021          -           0      -100.0%       10,480          15,740       -33.4%         10,480         18,810      -44.28%       12.48       7      0.01       -         -            -       0%         -          -       0.0%
buckland     Fuzzy Slippers                                       NON-COMP       60      5629      4/30/2023    12/18/2021         -         -           0.0%          -             6,524      -100.0%            -           15,324     -100.00%         -       -         -         -         -            -       0%         -          -       0.0%
buckland     Georgie's Kitchen                                    NON-COMP      673      2068      1/31/2031     1/7/2024       55,000    55,000         0.0%      550,000         110,000       400.0%        660,000        110,000      500.00%      980.68      12      1.46     88.90    130.14      475,000    15%      97,750     145.25    14.8%
buckland     Georgie's Kitchen STR                                NON-COMP      100     STR10       5/7/2024     8/1/2023          -           0      -100.0%            0               0       -33.3%              0              0        0.00%        0.00       3      0.00       -         -            -       0%         -          -       0.0%
buckland     Go! Calendar Games & Toys                            NON-COMP    5,641      1028      1/31/2023     9/1/2021          -         -           0.0%          -            11,114      -100.0%            -          129,342     -100.00%         -       -         -         -         -            -       0%         -          -       0.0%
buckland     Gong cha Bubble Tea                                  NON-COMP      201      5536      10/31/2028   10/30/2023      25,411       -           0.0%      262,279             -           0.0%        324,261            -          0.00%    1,613.24      12      8.03    183.90    183.90      400,000    10%      40,000     199.00    12.3%
buckland     Gong Cha STR                                         NON-COMP      100     STR06      9/30/2025     9/1/2023          -           0      -100.0%            0               0       -50.0%              0              0        0.00%        0.00       2      0.00       -         -            -       0%         -          -       0.0%
buckland     Hair Hub                                             NON-COMP      -        5527       1/6/2025    11/21/2023         -         -           0.0%          -               -           0.0%              0            -          0.00%         -         1       -         -         -            -       0%         -          -       0.0%
buckland     Heritage Amusements                                  NON-COMP      -        6501      2/28/2025     2/12/2021       7,072     8,562       -17.4%      102,736         115,436       -11.0%        130,063        140,644       -7.52%         -        12       -         -         -            -       0%         -          -       0.0%
buckland     Jewelry & Watch Repair                               NON-COMP      225      5501      9/30/2026     10/1/2024      14,850       -           0.0%       14,850             -           0.0%         14,850            -          0.00%       66.00       1      0.29       -         -            -       0%         -          -       0.0%
buckland     K-Barbs                                              NON-COMP    1,200      2092      6/30/2024     11/1/2021         -         815      -100.0%        7,329          33,010       -77.8%         12,059         45,194      -73.32%       10.05       8      0.01       -         -            -       0%         -          -       0.0%
buckland     Kaisy Lia Collection                                 NON-COMP      -                  3/31/2024     4/7/2023          -           0      -100.0%            0               0       -33.3%              0              0        0.00%         -         3       -         -         -            -       0%         -          -       0.0%
buckland     KeyMe                                                NON-COMP      -                                1/1/2021          398       346        15.1%        4,197           3,657        14.8%          5,352          4,704       13.76%         -        12       -         -         -            -       0%         -          -       0.0%
buckland     Kiddie Koncepts                                      NON-COMP      -     5518, V15    9/30/2025     5/23/2019         435     1,174       -63.0%       10,149          10,866        -6.6%         12,476         14,462      -13.73%         -        18       -         -         -            -       0%         -          -       0.0%
buckland     Kids Entrepreneurs On The Rise                       NON-COMP      -                   9/2/2023     9/2/2023          -         -           0.0%          -                 0      -100.0%            -                0     -100.00%         -       -         -         -         -            -       0%         -          -       0.0%
buckland     Kwoncepts Entertainment                              NON-COMP       60      V25       3/31/2025     12/1/2019       3,800     3,520         8.0%       31,357          42,030       -25.4%         41,687         47,955      -13.07%      694.78      12     11.58       -         -            -       0%         -          -       0.0%
buckland     Kwoncepts Truck Claw Machine                         NON-COMP       25      5601      9/30/2025     8/1/2023          900       -           0.0%        3,550             -           0.0%          3,550            -          0.00%      142.00      10      5.68       -         -            -       0%         -          -       0.0%
buckland     Lenscrafters                                         NON-COMP    3,877      1106      8/31/2023     2/1/2015          -         -           0.0%          -         1,516,913      -100.0%            -        1,945,863     -100.00%         -       -         -         -         -            -       0%         -          -       0.0%
buckland     Lili's                                               NON-COMP    4,180      2096      1/31/2023     11/1/2022         -         -           0.0%          -             9,856      -100.0%            -           58,197     -100.00%         -       -         -         -         -            -       0%         -          -       0.0%
buckland     Lili's                                               NON-COMP    2,997      1092      1/31/2025    11/10/2023         -         -           0.0%        7,209             -           0.0%         26,493            -          0.00%        8.84       3      0.00       -         -            -       0%         -          -       0.0%
buckland     Luxury Vibez                                         NON-COMP      -                  12/31/2023    11/1/2022         -           0      -100.0%          -                 0      -100.0%              0              0      -80.00%         -         1       -         -         -            -       0%         -          -       0.0%
buckland     Ma Joli                                              NON-COMP    3,662      1134      3/10/2025     1/1/2022          -       7,234      -100.0%       62,721          59,167         6.0%         62,721         69,592       -9.87%       17.13      10      0.00       -         -            -       0%         -          -       0.0%
buckland     Madhavi Joshi                                        NON-COMP      100     STR01      10/31/2025    10/1/2022         -           0      -100.0%            0               0       800.0%              0              0      900.00%        0.00      10      0.00       -         -            -       0%         -          -       0.0%
buckland     Massage Chairs                                       NON-COMP       80 5504, V11, V13 9/30/2023     7/1/2021          -         -           0.0%          -            11,206      -100.0%            -           15,170     -100.00%         -       -         -         -         -            -       0%         -          -       0.0%
buckland     Massage Chairs                                       NON-COMP      140 4, 5514, V11, 9/30/2025      5/1/2023        3,015     3,087        -2.3%       27,534          18,974        45.1%         27,534         18,974       45.11%      196.67      11      1.40       -         -            -       0%         -          -       0.0%
buckland     Mocha Emporium                                       NON-COMP      812      2166      6/30/2024     11/1/2020      12,154    12,311        -1.3%      122,337         120,568         1.5%        156,018        156,388       -0.24%      192.14      12      0.24       -         -            -       0%         -          -       0.0%
buckland     Mocha Emporium                                       NON-COMP                                       7/1/2024       20,870       -           0.0%       73,076             -           0.0%         73,076            -          0.00%         -         4       -         -         -            -       0%         -          -       0.0%
buckland     New Look Brows                                       NON-COMP     844      2170      12/31/2025     11/1/2023      10,121       -           0.0%      110,136             -           0.0%        132,255            -          0.00%      156.70      12      0.19       -         -            -       0%         -          -       0.0%
buckland     NYS Collection (5523)                                NON-COMP      60      5523      3/31/2025      1/1/2021        3,669       -           0.0%       38,533             -           0.0%         38,533            -          0.00%      642.22      10     10.70       -         -            -       0%         -          -       0.0%
buckland     NYS Collection - Eye Frames                          NON-COMP      60      5615      4/30/2024      1/1/2022          -         100      -100.0%          325           2,000       -83.8%            655          2,400      -72.71%       10.92       5      0.18       -         -            -       0%         -          -       0.0%




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                                                                                                                              Monthly   Monthly       % Change                                                                                                                                                                            Occupan
                            Tenant Name (DBA)                     Comp                             Expiration    Opening                                           YTD Sales      YTD Sales    % Change      R12 Sales CY   R12 Sales PY   % Change     R12 Sales No. Mos. PY Annual Min Rent   Eff Rent                      Total Occ               Occ
  Property                                                                    SF       Unit ID                                 Sales     Sales         Monthly                                                                                                                                             BP Amt      BP %                  cy
                 (*NR) - Non-Reporting tenant; Estimated Sales    Tenant                             Date         Date                                             Volume CY      Volume PY    YTD CY/PY       Volume         Volume       R12 CY/PY      PSF      Open    Sales PSF   PSF        PSF                           Cost                 Cost %
                                                                                                                             Volume CY Volume PY       CY/PY                                                                                                                                                                              Cost PSF
buckland     Passport Candies                                    NON-COMP     1,000     1026       6/30/2025     4/1/2024       15,191         -            0.0%      138,563            -            0.0%        138,563            -          0.00%     138.56          7    0.14       -         -            -      0%          -          -        0.0%
buckland     Refreshed                                           NON-COMP        60     5527       1/31/2024     7/1/2023          -         2,053       -100.0%            0          5,869       -100.0%          3,541          5,869      -39.67%      59.02          2    0.98       -         -            -      0%          -          -        0.0%
buckland     Refreshed                                           NON-COMP       -       5527        9/9/2024     7/23/2024         -           -            0.0%        1,478            -            0.0%          1,478            -          0.00%        -            1     -         -         -            -      0%          -          -        0.0%
buckland     Rudolph & Me                                        NON-COMP        60     5526       12/31/2024    11/1/2021         -           -            0.0%          -              -            0.0%         24,595         27,311       -9.94%     409.92          2    6.83       -         -            -      0%          -          -        0.0%
buckland     Sarku Japan                                         NON-COMP       816     2056       1/31/2023     9/1/2007          -           -            0.0%          -          100,738       -100.0%            -          373,291     -100.00%        -        -         -         -         -            -      0%          -          -        0.0%
buckland     Shoe Charms                                         NON-COMP        60     5525       4/30/2023     5/1/2022          -           -            0.0%          -            6,524       -100.0%            -           15,324     -100.00%        -        -         -         -         -            -      0%          -          -        0.0%
buckland     Signs Etc.                                          NON-COMP     1,768     1118       12/31/2023   11/15/2022         -           -            0.0%          -              -            0.0%              0         13,767     -100.00%       0.00          1    0.00       -         -            -      0%          -          -        0.0%
buckland     Slime Academy                                       NON-COMP       -                  12/31/2023    12/1/2022         -             0       -100.0%          -                0       -100.0%              0              0      -80.00%        -            1     -         -         -            -      0%          -          -        0.0%
buckland     Slime Academy                                       NON-COMP     2,001     1190       10/10/2024    7/1/2023          -           631       -100.0%       14,694         11,412         28.8%         14,694         11,412       28.76%       7.34          7    0.00       -         -            -      0%          -          -        0.0%
buckland     Smartlite                                           NON-COMP       - 3, 14, 15, 16, 1 6/30/2023     7/1/2021          -           -            0.0%          -            6,506       -100.0%            -           10,166     -100.00%        -        -         -         -         -            -      0%          -          -        0.0%
buckland     Smoothie Naturale                                   NON-COMP       593     2106       5/31/2027     6/1/2019          -        16,540       -100.0%      106,499        141,616        -24.8%        133,777        167,292      -20.03%     225.59       10      0.38       -         -            -      0%          -          -        0.0%
buckland     Soft Petalz                                         NON-COMP       459     2080       1/31/2025     12/1/2022       4,915         -            0.0%       37,437            -            0.0%         37,437            -          0.00%      81.56       10      0.18       -         -            -      0%          -          -        0.0%
buckland     Soft Petalz STR                                     NON-COMP       -      STR05       4/30/2025     5/1/2023            0           0          0.0%            0              0        150.0%              0              0      175.00%        -         11       -         -         -            -      0%          -          -        0.0%
buckland     Soldier Solutions                                   NON-COMP        60 5608, 5609 12/31/2023        12/1/2022         -           -            0.0%          -              -            0.0%              0            -          0.00%       0.00        1      0.00       -         -            -      0%          -          -        0.0%
buckland     Sprint Store by Arch                                NON-COMP     1,000     1026       1/31/2024    11/18/2011         -           -            0.0%        6,348         38,361        -83.5%          6,348         51,871      -87.76%       6.35        1      0.01       -         -            -      0%          -          -        0.0%
buckland     Stateline Video Games                               NON-COMP     2,823     2126       3/31/2025     11/1/2022       9,536       9,253          3.1%      105,346        101,527          3.8%        134,474        124,634        7.89%      47.64       12      0.02       -         -            -      0%          -          -        0.0%
buckland     Sunglass Hut                                        NON-COMP       459     2080       12/31/2023    3/14/1990         -        14,948       -100.0%          -          243,822       -100.0%         54,102        297,924      -81.84%     117.87        2      0.26       -         -            -      0%          -          -        0.0%
buckland     Sweet Amanda's                                      NON-COMP       -       6500       2/29/2024     3/1/2021          -             0       -100.0%            0              0        -80.0%              0              0      -60.00%        -          2       -         -         -            -      0%          -          -        0.0%
buckland     Target Fun                                          NON-COMP     1,202     2184       6/30/2024     4/1/2022          -             0       -100.0%            0         57,065       -100.0%              0         82,115     -100.00%       0.00        3      0.00       -         -            -      0%          -          -        0.0%
buckland     Target Fun                                          NON-COMP     1,212     2184       7/31/2024     11/1/2023         -           -            0.0%       32,225            -            0.0%         39,325            -          0.00%      32.45        9      0.03       -         -            -      0%          -          -        0.0%
buckland     The Crafty Chicks                                   NON-COMP       -       6507       5/21/2025     5/22/2024         876         -            0.0%        4,871            -            0.0%          4,871            -          0.00%        -          6       -         -         -            -      0%          -          -        0.0%
buckland     The Lash Mortuary                                   NON-COMP       600     1018       5/31/2024     11/1/2023         -           -            0.0%            0            -            0.0%              0            -          0.00%       0.00        3      0.00       -         -            -      0%          -          -        0.0%
buckland     Toffee                                              NON-COMP                                        5/1/2024        5,212         -            0.0%       33,599            -            0.0%         33,599            -          0.00%        -          6       -         -         -            -      0%          -          -        0.0%
buckland     Toro Azteca Mexican Cantina                         NON-COMP     6,800       1052     6/30/2029     6/1/2019      135,266     135,266          0.0%    1,254,714      1,254,714          0.0%      1,365,418      1,490,888       -8.42%     200.80       11      0.03     33.00     33.00    2,200,000    4%      224,400      33.00     16.4%
buckland     Unsettled Geeks                                     NON-COMP     2,513       2018     6/30/2025     5/4/2023          -             0       -100.0%            0              0        -66.7%              0              0      -50.00%       0.00        3      0.00       -         -            -      0%          -          -        0.0%
buckland     V Perfumes LLC                                      NON-COMP        60       5510     8/31/2025     4/26/2024       4,375         -            0.0%       36,015            -            0.0%         36,015            -          0.00%     600.25        7     10.00       -         -            -      0%          -          -        0.0%
buckland     Vendomatic                                          NON-COMP        80 0, 5532, 5603, 1/31/2025     1/1/2021          369         488        -24.4%        4,403          4,476         -1.6%          5,255          4,867        7.96%      65.69       12      0.82       -         -            -      0%          -          -        0.0%
buckland     Voila Hair Salon                                    NON-COMP     1,257       1004     6/30/2024     2/1/2021          -         2,900       -100.0%            0         20,963       -100.0%              0         23,233     -100.00%       0.00        3      0.00       -         -            -      0%          -          -        0.0%
buckland     WOW Toys                                            NON-COMP     2,997       1092      5/3/2024     5/1/2022          -         4,508       -100.0%       12,824         55,883        -77.1%         38,196        100,649      -62.05%      12.74        5      0.00       -         -            -      0%          -          -        0.0%
buckland     Yankee Candle (Storage)                             NON-COMP       107      STR16     12/31/2024    9/20/2021         -           -            0.0%            0            -            0.0%              0            -          0.00%       0.00        2      0.00       -         -            -      0%          -          -        0.0%
buckland     Yes! Shoes                                          NON-COMP     2,298       1090     1/31/2023     2/1/2021          -           -            0.0%          -            6,436       -100.0%            -            6,436     -100.00%        -        -         -         -         -            -      0%          -          -        0.0%
buckland     Zillosh                                             NON-COMP     4,328       2148     3/31/2024     2/1/2022          -         5,237       -100.0%       14,342         75,985        -81.1%         28,968        101,387      -71.43%       6.69        5      0.00       -         -            -      0%          -          -        0.0%
             Total for NON-COMP                                             208,318                                            736,952     873,196        -15.6%    8,636,928     10,843,821        -20.4%     11,358,391     14,701,495      -22.74%      54.52               0.00       -         -                                          -        0.0%




             Comp In-Line < 10,000 sf                                       206,731          90   Tenants                     4,589,534   4,691,778        -2.2%   44,792,577     46,246,686         -3.1%     64,980,143     63,191,177        2.83%     314.32               0.00     23.92     27.66                       6,712,934      32.47     10.3%
             Total In-line < 10,000 sf                                      310,213         175   Tenants                     5,095,268   5,113,533        -0.4%   54,654,772     55,178,627         -0.9%     71,013,407     71,211,842       -0.28%     228.92               0.00     17.44     20.02                       7,260,807      23.41     10.2%
             Comp In-line 10,000+ sf                                         94,688           6   Tenants                     1,137,775   1,241,288        -8.3%   13,634,155     14,908,774         -8.5%     17,256,636     18,807,688       -8.25%     182.25               0.00     17.01     18.29                       1,859,036      19.63     10.8%
             Total In-line 10,000+ sf                                       199,524          11   Tenants                     1,368,992   1,692,729       -19.1%   17,213,672     19,768,010        -12.9%     22,581,763     25,488,518      -11.40%     113.18               0.00      9.95     10.56                       2,234,036      11.20      9.9%
             Comp In-line                                                   301,419          96   Tenants                     5,727,308   5,933,066        -3.5%   58,426,732     61,155,461         -4.5%     82,236,779     81,998,865        0.29%     272.83               0.00     21.75     24.72                       8,571,970      28.44     10.4%
             Total In-line                                                  509,737         175   Tenants                     6,464,260   6,806,262        -5.0%   71,868,443     74,946,637         -4.1%     93,595,170     96,700,360       -3.21%     183.61               0.00     16.04     17.85                       9,494,843      18.63     10.1%

             Grand Total                                                    509,737         184                               6,464,260   6,806,262        -5.0%   71,868,443     74,946,637         -4.1%     93,595,170     96,700,360       -3.21%     183.61               0.00     14.51     16.32                       9,494,843      18.63     10.1%




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